Case: 1:17-md-02804-DAP Doc #: 1974-9 Filed: 07/24/19 1 of 108. PageID #: 211305



                                                                      Page 1

 1                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF OHIO
 2                                 EASTERN DIVISION
 3
            ______________________________
 4
            IN RE: NATIONAL PRESCRIPTION                    MDL No. 2804
 5          OPIATE LITIGATION                               Case No. 17-md-2804
 6
            This document relates to:                       Judge Dan
 7                                                          Aaron Polster
 8          The County of Cuyahoga v. Purdue
            Pharma, L.P., et al.
 9          Case No. 17-OP-45005
10          City of Cleveland, Ohio vs. Purdue
            Pharma, L.P., et al.
11          Case No. 18-OP-45132
12          The County of Summit, Ohio,
            et al. v. Purdue Pharma, L.P.,
13          et al.
            Case No. 18-OP-45090
14          _______________________________
15
16
17                        Deposition of Matthew Baeppler
18                               Cleveland, Ohio
19                               January 17, 2019
20                                   9:05 a.m.
21
22
23
24          Reported by: Bonnie L. Russo
25          Job No. 3191692

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Case: 1:17-md-02804-DAP Doc #: 1974-9 Filed: 07/24/19 2 of 108. PageID #: 211306


                                                               Page 2                                                               Page 4
     1      Deposition of Matthew Baeppler held at:                      1   APPEARANCES (CONTINUED):
                                                                         2
     2                                                                       On behalf of McKesson Corporation:
     3                                                                   3   NEIL K. ROMAN, ESQ.
                                                                             COVINGTON & BURLING, LLP
     4                                                                   4   The New York Times Building
     5                  Zashin & Rich Co. LPA                                620 Eighth Avenue
     6                  950 Main Avenue                                  5   New York, New York 10018
                                                                             212-841-1221
     7                  4th Floor                                        6   nroman@cov.com
     8                  Cleveland, Ohio                                        -and-
                                                                         7   ASEEM P. PADUKONE, ESQ.
     9                                                                       COVINGTON & BURLING, LLP
    10                                                                   8   One Front Street
    11                                                                       San Francisco, California 94111
                                                                         9   415-591-7059
    12                                                                       apadukone@cov.com
    13                                                                  10
                                                                        11
    14                                                                  12
    15                                                                  13
    16                                                                  14
                                                                        15
    17                                                                  16
    18                                                                  17
                                                                             Also Present:
    19      Pursuant to Notice, when were present on behalf             18   Wesley Kretch, City of Cleveland, Assistant
    20      of the respective parties:                                       Director of Law
    21                                                                  19
                                                                        20
    22                                                                  21
    23                                                                  22
                                                                        23
    24                                                                  24
    25                                                                  25

                                                               Page 3                                                               Page 5
     1   APPEARANCES:                                                    1          CONTENTS
     2   On behalf of the City of Cleveland:                             2   EXAMINATION OF MATTHEW BAEPPLER                      PAGE
         DIANDRA S DEBROSSE ZIMMERMANN, ESQ
                                                                         3   BY MR. ROMAN            8
     3   ZARZAUR MUJUMDAR & DEBROSSE
         2332 2nd Avenue, North                                          4   BY MR. PADUKONE           152
     4   Birmingham, Alabama 35203                                       5   BY MR. McLAUGHLIN           213
         205-983-7985                                                    6   BY MS. BARBER           219
     5   fuli@zarzaur com                                                7
     6                                                                   8
         On behalf of Walmart, Inc
     7   CHRISTOPHER M MCLAUGHLIN, ESQ
                                                                         9             EXHIBITS
         JONES DAY                                                      10   Exhibit 1 E-Mail Chain             36
     8   North Point                                                                dated 2-27-18
         901 Lakeside Avenue                                            11          CLEVE_000180822-827
     9   Cleveland, Ohio 44114                                          12   Exhibit 2 E-Mail Chain             41
         216-586-3939                                                               dated 5-24-18
    10   cmmclaughlin@jonesday com
    11
                                                                        13          CLEVE_001477213-7218
         On behalf of Endo Pharmaceuticals, Inc , Endo                  14   Exhibit 3 E-Mail Chain             79
    12   Health Solutions, Inc , Par Pharmaceuticals,                               dated 6-22-17
         Inc and Par Pharmaceutical Companies, Inc :                    15          CLEVE_000189730
    13   GREGORY SCHINNER, ESQ                                          16   Exhibit 4 E-Mail Chain             85
         (Via Teleconference)
                                                                                    dated 5-25-18
    14   ARNOLD & PORTER
         601 Massachusetts Avenue, N W
                                                                        17          CLEVE_000179751
    15   Washington, D C 20001                                          18   Exhibit 5 Medical Examiner's            93
         202-942-5000                                                               Office
    16   gregory schinner@arnoldporter com                              19          Heroin/Fentanyl/Cocaine
    17                                                                              Related Deaths in
         On behalf of Teva Pharmaceutical Industries:
                                                                        20          Cuyahoga County
    18   MORGAN LEWIS & BOCKIUS, LLP
         MAUREEN BARBER, ESQ
                                                                                    2017 January Update
    19   One Oxford Centre                                              21          2-8-18
         Thirty Second Floor                                                        CLEVE_002231597-1607
    20   Pittsburgh, Pennsylvania 15219                                 22
         412-560-7463                                                        Exhibit 6 E-Mail dated 4-30-18          99
    21
                                                                        23          CLEVE_000267011
    22
    23                                                                  24   Exhibit 7 E-Mail Chain             101
    24                                                                              dated 2-26-18
    25                                                                  25          CLEVE_000267678

                                                                                                                           2 (Pages 2 - 5)
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Case: 1:17-md-02804-DAP Doc #: 1974-9 Filed: 07/24/19 3 of 108. PageID #: 211307


                                                             Page 6                                                                Page 8
    1   EXHIBITS (CONTINUED):
    2
                                                                       1           PROCEEDINGS
        Exhibit 8 E-Mail dated 3-27-18       107                       2
    3          CLEVE_001477582
    4   Exhibit 9 E-Mail Chain            111                          3            MATTHEW BAEPPLER,
               dated 3-20-18                                           4   was called for examination by counsel and,
    5          CLEVE_002257384-385
    6   Exhibit 10 Narcotics Realignment       116                     5   after having been duly sworn by the Notary, was
               11-25-12
    7          CLEVE_000011161-1163
                                                                       6   examined and testified as follows:
    8   Exhibit 11 Non-Fatal and Fatal Opioid 119                      7       EXAMINATION BY COUNSEL FOR DEFENDANT
               Overdoses
    9          CLEVE_000251552                                         8           McKESSON CORPORATION
   10   Exhibit 12 Heroin Invests          130                         9          BY MR. ROMAN:
               Fatals
   11          January 2017                                           10     Q.    Good morning, Sergeant Baeppler.
               CLEVE_001476069-6080
   12
                                                                      11          How are you?
        Exhibit 13 Heroin Invests              132                    12     A.    Very well.
   13          Fatals
               January 2018                                           13     Q.    Sergeant, before we begin, I'd just
   14          CLEVE_001476081-6092                                   14   like to put a statement on the record here, and
   15   Exhibit 14 E-Mail dated 1-5-18           134
               CLEVE_000182046                                        15   then we will begin with your deposition.
   16
        Exhibit 15 Letter dated 3-6-18          137
                                                                      16          Yesterday we received a production
   17          CLEVE_000247906                                        17   of more than 27,000 pages of documents from
   18   Exhibit 16 Cleveland Division of         146
               Police Anticipated Travel                              18   your custodial file. Obviously we have not had
   19          Expense Report                                         19   an opportunity to review all those documents.
               CLEVE_002366453-6461
   20                                                                 20   Therefore, although we're going to proceed with
        Exhibit 17 E-Mail Chain                149
   21          dated 5-10-18
                                                                      21   this deposition today, we reserve the right to
               Attachment                                             22   continue the deposition so that we can examine
   22          CLEVE_000366813-875
   23   Exhibit 18 E-Mail Chain                160                    23   you on the newly and belatedly produced
               dated 4-19-18                                          24   documents.
   24          CLEVE_000267663
   25                                                                 25          So do you understand that we're

                                                             Page 7                                                                Page 9
    1   EXHIBITS (CONTINUED):
    2
                                                                       1    going to have to -- you may likely have to come
        Exhibit 19 5th District Vice Unit       166                    2    back here?
    3          District Support
               Monthly Statistics                                      3       A. I don't have any control over that.
    4          November 2013                                           4       Q. I understand.
               CLEVE_002371733
    5                                                                  5           So, Sergeant, my name is Neil Roman.
        Exhibit 20 E-Mail Chain                179
    6          dated 2-7-18
                                                                       6    I'm with the law firm of Covington & Burling.
               CLEVE_000267609                                         7    We represent McKesson and the other two lawyers
    7
        Exhibit 21 E-Mail Chain                183                     8    or -- three lawyers, who will introduce
    8          dated 3-8-18                                            9    themselves.
               CLEVE_000267423
    9                                                                 10             MR. PADUKONE: Aseem Padukone from
        Exhibit 22 E-Mail Chain                190
   10          dated 3-28-18
                                                                      11    Covington & Burling on behalf of McKesson.
               CLEVE_000267124                                        12           MS. BARBER: Maureen Barber on
   11
        Exhibit 23 E-Mail Chain                194                    13    behalf of the Teva defendants. I'm with the
   12          dated 3-29-18                                          14    firm Morgan Lewis & Bockius.
               Attachment
   13          CLEVE_002231621                                        15           MR. McLAUGHLIN: Chris McLaughlin
   14   Exhibit 24 E-Mail dated 3-7-18           198
               CLEVE_000267426-429
                                                                      16    from Jones Day in Cleveland on behalf of
   15                                                                 17    Wal-Mart.
        Exhibit 25 Event Summary                205
   16          CLEVE_000251274-283                                    18           BY MR. ROMAN:
   17   Exhibit 26 Cleveland Police            211                    19       Q. Could you please state your name for
               Narcotics Unit
   18          Compliance Case Tracker                                20    the record.
               CLEVE_000345261-268
   19
                                                                      21       A. My name is Matthew Baeppler.
   20                                                                 22           MS. DEBROSSE: One moment. We've
   21
   22                                                                 23    got counsel on the phone.
   23                                                                 24           MR. ROMAN: I'm sorry.
   24
   25   (Exhibits included with transcript )                          25           Counsel on the phone, can you please

                                                                                                                         3 (Pages 6 - 9)
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Case: 1:17-md-02804-DAP Doc #: 1974-9 Filed: 07/24/19 4 of 108. PageID #: 211308


                                                  Page 10                                                  Page 12
     1   identify yourselves.                                1   reason, we'd be happy to take one. Just let us
     2          MR. SCHINNER: This is Greg Schinner          2   know. The only exception to that is that
     3   of Arnold & Porter on behalf of the Endo and        3   there's a question pending.
     4   Par defendants.                                     4          Do you understand that?
     5          MR. ROMAN: Thank you.                        5      A. Yes.
     6          Anybody else.                                6      Q. What did you do to prepare for your
     7          BY MR. ROMAN:                                7   deposition today?
     8      Q. Sergeant Baeppler, could you please           8      A. I met with my attorneys.
     9   give your work address.                             9      Q. Who specifically?
    10      A. 201 Payne Avenue in Cleveland, Ohio.         10      A. I met with Fu and Craig Bashein.
    11      Q. Do you also live in Cleveland?               11      Q. And what is Fu's full name?
    12      A. I've been advised not to tell you            12          MS. DEBROSSE: I'm sitting right
    13   where I live. I live in the Cleveland area.        13   here. That's a nickname everybody uses for me.
    14      Q. Is there any reason why you cannot           14          MR. ROMAN: Okay. I did not know
    15   give complete and truthful testimony today?        15   that.
    16      A. No.                                          16          BY MR. ROMAN:
    17      Q. Have you ever had your deposition            17      Q. Anyone besides those two?
    18   taken before?                                      18      A. No.
    19      A. Yes.                                         19      Q. When did you meet with them?
    20      Q. On how many occasions?                       20      A. Over the past three, four days.
    21      A. Two other occasions.                         21      Q. How many times?
    22      Q. When were those?                             22      A. Three or four times.
    23      A. I don't recall the years. Several            23      Q. What would you say is the total
    24   years ago.                                         24   number of hours you spent preparing?
    25      Q. Are you familiar with the process?           25      A. I didn't keep track like that. I'm
                                                  Page 11                                                  Page 13
     1      A. Yes.                                          1   guessing between eight to ten hours.
     2      Q. Were those depositions that were              2      Q. Was anyone else ever present during
     3   taken -- taken in your capacity as a decorative     3   these meetings?
     4   in the Cleveland police department or in            4      A. No. Sometimes people would walk in
     5   another capacity?                                   5   my office. But, you know, they were just in
     6      A. They were in my capacity as a police          6   there asking me a question about something.
     7   officer in the City of Cleveland.                   7   They weren't a part of any conversation.
     8      Q. Have you ever testified at trial?             8      Q. Was anybody on the phone during any
     9      A. Yes.                                          9   of these preparation sessions?
    10      Q. On how many occasions?                       10      A. Other than my attorneys, no.
    11      A. More than a hundred.                         11      Q. Oh, they weren't in the office with
    12      Q. Have you ever testified at any               12   you; they were on the phone?
    13   legislative hearings?                              13      A. Some were telephonic conversations,
    14      A. No.                                          14   and some were in person.
    15      Q. So just a couple quick ground rules.         15      Q. Have you discussed your expected
    16   If you have any questions about my question,       16   testimony today with anyone other than counsel?
    17   you don't hear me, you don't understand me,        17      A. My ex-wife, who I live with. I told
    18   please let me know. I'll be happy to restate       18   her I am getting deposed, and that was it.
    19   or rephrase or whatever is necessary so that       19      Q. Anybody else?
    20   we're on the same wavelength.                      20      A. Told my father I was being deposed.
    21          If you answer a question though, I'm        21   That was it.
    22   going to assume you understood it.                 22      Q. But you haven't discussed your
    23          Do you understand that?                     23   expected testimony with any of your colleagues
    24      A. Yes.                                         24   or your former colleagues?
    25      Q. And if you need a break for whatever         25      A. No.

                                                                                               4 (Pages 10 - 13)
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Case: 1:17-md-02804-DAP Doc #: 1974-9 Filed: 07/24/19 5 of 108. PageID #: 211309


                                                    Page 14                                                 Page 16
     1      Q. Have you reviewed any transcripts of            1   well, strike that.
     2   any depositions taken in this case?                   2          The documents you reviewed
     3      A. No.                                             3   presumably had in the lower right-hand corner
     4      Q. Have you reviewed any of the                    4   what we call a Bates number.
     5   pleadings in this case, the complaint,                5          Do you know what a Bates number is?
     6   interrogatory responses, anything like that?          6      A. No.
     7      A. No. I haven't seen a whole lot of               7      Q. It's an identification. I can show
     8   anything.                                             8   you one here. Where it says, for example,
     9      Q. Were you involved at all or did you             9   "CLEVE," and then there's a number down there.
    10   supply information at all in connection with         10      A. Uh-huh.
    11   the drafting of any of the pleadings, including      11      Q. Do you know whether or not the
    12   the complaint and interrogatory responses?           12   documents you reviewed had those numbers on it?
    13      A. I wouldn't know because I didn't see           13      A. I don't -- I wasn't looking for
    14   them.                                                14   that. No. I -- they may have had it; they may
    15      Q. During these preparations sessions             15   not. I really don't know because I wasn't -- I
    16   or otherwise, have you reviewed any documents        16   didn't pay attention to that.
    17   in preparation for your testimony today?             17      Q. Did you do anything else to prepare
    18      A. I reviewed a couple of documents the           18   for today, including did you conduct any
    19   other day, yesterday. None of them were very         19   independent research on the Internet or
    20   substantial.                                         20   otherwise or anything else?
    21      Q. Do you recall what they were?                  21      A. No. Just -- no. I really didn't.
    22      A. I looked over a couple of e-mails.             22   I didn't do -- I got to let you know. I mean I
    23   I looked over some printouts, some spreadsheets      23   haven't been in the HIDI task force for an
    24   of some sort.                                        24   extended period of time. So no.
    25      Q. Do you remember what the e-mails               25      Q. Okay. So you're from Cleveland,
                                                    Page 15                                                 Page 17
     1   were about?                                      1        right?
     2      A. I can't remember. I'm sure I'll            2           A. Yes.
     3   remember later. I mean that's it right now.      3           Q. Did you go to college?
     4   Like they there weren't -- it wasn't anything    4           A. Yes.
     5   earth shattering. It wasn't anything of any      5           Q. Where did you go to college?
     6   real substance.                                  6           A. The University of Findlay.
     7      Q. If I show you those e-mails today,         7           Q. University of Finland?
     8   will you please let me know?                     8           A. Findlay.
     9      A. Uh-huh. I will.                            9           Q. Findlay.
    10      Q. Do you recall what the spreadsheet        10           A. Findlay. Yep.
    11   showed?                                         11           Q. Okay. That's --
    12      A. Addresses.                                12           A. It's in western Ohio.
    13      Q. Addresses of what?                        13           Q. I was going to say that's in Ohio?
    14      A. Addresses in the City of Cleveland        14           A. About 40 minutes south of Toledo.
    15   that had some other coding along with it. But 15             Q. Did you graduate?
    16   I had never seen it before, and I wasn't sure   16           A. Yes.
    17   what to make of it.                             17           Q. In what year?
    18      Q. These weren't just random addresses. 18                A. '93 or '94.
    19          Were they associated with overdose       19           Q. With what kind of a degree?
    20   victims or some --                              20           A. With a degree in history. And also
    21      A. They could have been. I don't know. 21              certified in special education for teaching.
    22   I mean, like I said, I know they were addresses 22           Q. Have you received any other degrees
    23   because I recognized the street names. But I 23           or certifications or academic training?
    24   couldn't tell you precisely what they were for. 24           A. I have plenty of certificates in
    25      Q. Did you review any documents that -- 25             regarding my police work but none with -- in
                                                                                                5 (Pages 14 - 17)
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Case: 1:17-md-02804-DAP Doc #: 1974-9 Filed: 07/24/19 6 of 108. PageID #: 211310


                                                 Page 18                                                  Page 20
     1   terms of college credits.                        1   said, I can't remember the specifics on it.
     2      Q. What kind of certifications have you       2      Q. When did you take that?
     3   received in connection with your police work? 3         A. A few years ago.
     4      A. Most of them are gang training. And        4      Q. What do you recall about that
     5   other certificates -- numerous -- just for when 5    course?
     6   we -- whenever you complete something in the 6              Do you remember who sponsored it?
     7   City of Cleveland -- you know, it could be for 7        A. No.
     8   whatever computer program they have going -- 8          Q. Did you receive any certification
     9   you get a certificate for that or what have      9   for having taken that?
    10   you. Most of them were for minor things,        10      A. I don't recall.
    11   police related.                                 11      Q. Do you recall what it entailed?
    12          Most of them, though, are gang           12      A. No. I mean just -- the problem I'm
    13   stuff, ATF stuff for identifying persons        13   having is my personal experience and what I've
    14   carrying weapons, so forth.                     14   learned, you know, I know about opioids just
    15      Q. Have you served any specialized           15   like I know about crystal meth, just like I
    16   training relating to drug use or drug abuse or 16    know about marijuana. And most of it is
    17   opioid use or opioid abuse?                     17   on-the-job experience and in dealing with what
    18          MS. DEBROSSE: Object to form.            18   people tell me, users, dealers and so forth and
    19          You may answer, Sergeant.                19   in other classes and in articles that I read.
    20          THE WITNESS: Can you repeat the          20          If I read an article, it may not
    21   question. There are several parts to that.      21   necessarily be, you know, a class. And so over
    22   I'm not as smart as you are, I'm sure.          22   the years I can't tell you precisely where I
    23          BY MR. ROMAN:                            23   learned what from. It's a collection of
    24      Q. I wouldn't -- I would not assume          24   things.
    25   that.                                           25          And I want -- I don't want to be
                                                 Page 19                                                  Page 21
     1          Have you received any specialized         1   untruthful with you. I'm just trying to, you
     2   training relating to drugs or drug abuse?        2   know, lay it out, like I said. I mean I know
     3      A. I've received specialized training         3   about things, but I can't tell you exactly
     4   in drugs, several drugs throughout the years.    4   where I learned them all from.
     5      Q. Can you describe that training,            5      Q. Are you familiar with the term
     6   please.                                          6   "prescription drug diversion"?
     7      A. It runs the gamut of everything. I         7      A. I know what prescription drugs are,
     8   have had training specifically dealing with      8   and I know what diversion is.
     9   methamphetamines, producing methamphetamines, 9         Q. What is your understanding of
    10   how do deal with meth labs. Training in crack   10   diversion?
    11   cocaine, training in heroin, training in        11      A. It's obviously to send it in another
    12   marijuana and marijuana grows. Anything         12   direction. That the definition of diversion.
    13   related to drugs in narcotics for the most part 13      Q. To send what in another direction?
    14   I've dealt with.                                14      A. Anything. Whatever you're talking
    15      Q. I'm referring right now to kind of        15   about. To divert.
    16   specialized training where you're - the focus   16      Q. So prescription drug diversion would
    17   is on, you know, one or more street drugs.      17   be to send prescription drugs in another
    18      A. Throughout my career I've received        18   direction?
    19   training -- a lot of training. I can't recall   19      A. That would be one definition, yes.
    20   every single training course I've been to. So   20      Q. Would you use any others?
    21   I'm going to have to leave it at that.          21      A. Depending on the situation, I may.
    22      Q. Well, do you recall any trainings         22      Q. Have you received any specialized
    23   related specifically to opioids or opioid       23   training relating to prescription drug
    24   abuse?                                          24   diversion?
    25      A. I did take an online course. Like I       25      A. Not that I can recall.
                                                                                             6 (Pages 18 - 21)
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Case: 1:17-md-02804-DAP Doc #: 1974-9 Filed: 07/24/19 7 of 108. PageID #: 211311


                                               Page 22                                                  Page 24
     1      Q. When you've taken the trainings for        1      Q. I meant post college.
     2   drugs and opioids, do you know what the costs    2      A. Post college? No. I just did some
     3   have been associated with those trainings?       3   odd jobs here and there.
     4           Have there been charges for those        4      Q. Okay. So I'm right that the only
     5   trainings?                                       5   job you've -- full-time job you've had before
     6           MS. DEBROSSE: Object to form.            6   taking a job with the Cleveland Police
     7           THE WITNESS: I don't deal with the       7   Department was being a jailer for the city; is
     8   money part of it like that. So I have no idea    8   that correct?
     9   what the cost is.                                9      A. Yes.
    10           BY MR. ROMAN:                           10      Q. When did you begin working for the
    11      Q. And you don't know who pays for the       11   police department?
    12   cost -- who pays the cost?                      12      A. Well, as a guard, which is part of
    13      A. For the training?                         13   the division of police in the jail. That was
    14      Q. Yes.                                      14   in 1994, I think in November. And then in June
    15      A. Depends on -- sometimes the city          15   of 1995 I started at the police academy.
    16   pays for it. Sometimes we have to -- someone    16      Q. Okay. And for how long was that?
    17   else paying for it. Sometimes they're free.     17      A. The academy?
    18   But I don't know.                               18      Q. Yes.
    19      Q. When there's somebody else paying         19      A. A few months.
    20   for it, do you know who that is?                20      Q. And then after those few months were
    21           Is that grants, or what is that?        21   over, what was your position?
    22      A. All depends on the situation.             22      A. Patrolman.
    23   Sometimes they're grants. Sometimes the         23      Q. And for how long were you a
    24   federal government pays. Sometimes the city     24   patrolman?
    25   pays. It all depends on where it's at and       25      A. I was a patrolman for eight years.
                                               Page 23                                                  Page 25
     1   evening else.                                    1      Q. So for some time in '95 to 2003?
     2       Q. And do you have a sense of what           2      A. Somewhere about there. Then I was a
     3   percentage of your training has been paid for    3   detective in the first district.
     4   by the city as opposed to the federal            4      Q. When you were a patrolman, what were
     5   government as opposed to through grants or as    5   your responsibilities?
     6   opposed to just free?                            6      A. I was in a zone car. And the duties
     7           MS. DEBROSSE: Object to form.            7   are to patrol your assigned area, which would
     8           THE WITNESS: I have no idea.             8   be -- there's -- there were six -- now there's
     9           BY MR. ROMAN:                            9   five -- districts in the City of Cleveland.
    10       Q. After you graduated from the             10   And they're broken up into zones. And so each
    11   University of Findlay in '93 or '94, what was   11   zone car is responsible for a zone.
    12   your first full-time job?                       12      Q. And you were policing all types of
    13           Was it working for the police           13   crimes, I assume?
    14   department or something else?                   14      A. Uh-huh.
    15       A. I think I did an -- roof for a           15      Q. I need a "yes" or "no."
    16   little bit. But then went and got a job as a    16      A. Yes.
    17   jailer with the City of Cleveland. That was     17      Q. Then you became a detective sometime
    18   for about six months. Because I was on the      18   around 2003 in the first district, correct?
    19   list to become a policemen for the City of      19      A. Yes.
    20   Cleveland.                                      20      Q. Okay. And for how long were you a
    21       Q. Is that -- was being a jailer for        21   detective in the first district?
    22   the city your only job before joining the       22      A. Not long. Maybe a year, two years
    23   police department -- full-time job?             23   maybe.
    24       A. No. I've had -- worked my way            24      Q. And what were your responsibilities
    25   through college. I worked at Coca-Cola.         25   as a first district detective?
                                                                                            7 (Pages 22 - 25)
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Case: 1:17-md-02804-DAP Doc #: 1974-9 Filed: 07/24/19 8 of 108. PageID #: 211312


                                                   Page 26                                                  Page 28
     1      A. To investigate felony crimes.                  1   months, a year. Then I was brought back to the
     2      Q. Did that include drug crimes?                  2   gang unit as a supervisor.
     3      A. Sometimes, but usually not. But if             3          And then a little over a year ago I
     4   a felony were to happen, then we'd deal with         4   was brought back to the narcotics unit.
     5   it. But for the most part they were -- there's       5      Q. Okay. So I'm trying to figure all
     6   a -- the vice unit would handle the drug             6   this out. For those of us not in the
     7   crimes, and we would handle everything else.         7   department, it's hard to kind of keep
     8      Q. And did you go from being a                    8   everything straight.
     9   detective in the first district to the               9          Is it true or is it not that you've
    10   narcotics unit; is that right?                      10   been in the narcotics unit continuously from
    11      A. Yes.                                          11   2004, 2005 to the present?
    12      Q. When did you start in the narcotics           12      A. Not continuously.
    13   unit?                                               13      Q. What periods were you not in the
    14      A. 2004 or 2005. Somewhere in that               14   narcotics unit?
    15   area.                                               15      A. After I got promoted, I went to the
    16      Q. How did that come about?                      16   third district. It was four or five years ago.
    17      A. Came about -- when I was in the               17      Q. So that was around 2014, 2015?
    18   first district -- well, all right. The City of      18      A. Maybe '12 or '13.
    19   Cleveland, sometime in 2002 or '3 or somewhere      19      Q. Okay. So you were in the narcotics
    20   in that area, they downsized; they had layoffs;     20   unit from 2004 or 2005 to around 2012 or 2013;
    21   and they dismantled the city gang unit.             21   is that correct?
    22          In the meantime, I was a detective           22      A. Uh-huh.
    23   in the bureau, and I had noticed certain crimes     23      Q. And during this time, were you also
    24   were being committed by gangs. And so what I        24   in the gang unit at any point or not?
    25   did is I mapped out the gangs in the first          25      A. I worked with the gang unit, yes.
                                                   Page 27                                                  Page 29
     1   district and came up with the rosters and who 1          That's who -- the crew I was with was in the
     2   was in the gang, how many were in them, what 2           gang unit. I was still in the narcotics unit,
     3   crimes had they committed.                       3       but I was -- I would operate every day with the
     4          Downtown found out what I did, and        4       gang unit.
     5   then they wanted me to do that for the entire    5          Q. Okay. And what were your
     6   city. And since the gangs are closely            6       responsibilities during this period 2004, 2005
     7   connected to drugs, they sent me to the          7       to 2012 to 2013?
     8   narcotics unit. And that's what I did.           8              What exactly were you doing?
     9          So I did a gang assessment for the        9          A. We investigated gangs and narcotics.
    10   entire city. So I was transferred there. And    10       Because -- let me put it to you this way: Not
    11   I would do gang investigations and drug         11       every drug dealer is a gang member, but in my
    12   investigations from there. And that's where I 12         experience, every gang member is involved in
    13   was for several years.                          13       drugs or drug dealing. And so they're pretty
    14      Q. So you went to the -- are you still       14       closely connected.
    15   in the narcotics unit today?                    15              And so our goal would be to deal
    16      A. I'm in the narcotics unit today.          16       with the gang members that were committing
    17   But I hadn't always -- I mean there's been a    17       violent crimes. And we would investigate them
    18   couple of different places I've been since then 18       and figure out who they are, build the rosters,
    19   in the meantime.                                19       and get the most violent ones off the street
    20          But it's -- I've been in the             20       however we could in terms of, you know, putting
    21   narcotics unit. And then, when they did bring 21         a drug case, you know, on -- or building a drug
    22   the gang unit back, I was still in the          22       case against them, weapons cases, so forth.
    23   narcotics unit, but I was assigned as a detail  23          Q. And when you moved to the third
    24   to the gang unit. And then I was there. I got 24         district in 2012 or 2013, what was your title,
    25   promoted. I went to the third district for six 25        and what were your responsibilities?

                                                                                                8 (Pages 26 - 29)
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Case: 1:17-md-02804-DAP Doc #: 1974-9 Filed: 07/24/19 9 of 108. PageID #: 211313


                                                    Page 30                                                  Page 32
     1      A. I was what they -- what's considered            1   Involved Death Investigations squad, correct?
     2   a road boss. I worked on third shift. And my          2       A. Yes.
     3   responsibilities were to oversee the patrolmen        3       Q. And that's also known as HIDI?
     4   and make sure they were doing what they were          4       A. That's correct.
     5   supposed to be doing. Like make sure that they        5       Q. When did you become involved with
     6   responded to runs, correct their reports, so          6   that?
     7   forth.                                                7       A. In October or November 2017.
     8      Q. What was your formal title?                     8       Q. So that was in connection with your
     9      A. Sergeant.                                       9   move back to the narcotics unit?
    10      Q. When did you become a sergeant?                10       A. Yes. Directly in connection with
    11      A. 2012 or 2013. Somewhere around                 11   it.
    12   there.                                               12       Q. And are those parallel
    13      Q. And you're still a sergeant today?             13   responsibilities, your responsibilities in the
    14      A. Yes.                                           14   narcotics unit and to HIDI?
    15      Q. And, in fact, you're wearing on                15           MS. DEBROSSE: Object to the form.
    16   your -- a shirt that says "Sergeant in the Gang      16           Go ahead.
    17   Unit," correct?                                      17           THE WITNESS: When you say
    18      A. Uh-huh. This is the nicest police              18   "parallel," I mean I'm assuming that you mean
    19   shirt I had.                                         19   like it's one in the same. It's not one in the
    20      Q. So you're still a sergeant in the              20   same, but it's close to it.
    21   gang unit?                                           21           I still deal with other
    22      A. No. I'm a sergeant in the narcotics            22   investigations that aren't necessarily heroin.
    23   unit.                                                23   But our primary responsibilities is HIDI, which
    24      Q. Okay. So when did you return to the            24   is a whole -- you know, it takes up most of our
    25   narcotics unit?                                      25   time.
                                                    Page 31                                                  Page 33
     1      A. Returned to the narcotics unit in               1          BY MR. ROMAN:
     2   October or November of 2017.                          2      Q. When you say "our," you're referring
     3      Q. So from 2012 or 2013 until late                 3   to the narcotics unit?
     4   2017, you were in the gang unit -- or no. I'm         4      A. Yes. And also it involved HIDI.
     5   sorry -- you were the sergeant in the third           5   That's -- the guys that are on the HIDI unit,
     6   district?                                             6   you know, they're -- that's what they work on
     7      A. No. So I was in the third district.             7   almost like solely.
     8   I was there maybe a year, give or take, because       8      Q. How many officers are in the
     9   I was also detailed for several months back to        9   narcotics unit right now?
    10   the gang unit as a supervisor. And that lasted       10      A. I don't recall. There's maybe a
    11   for four or five months. I went back for             11   dozen or so actively. You know, they're
    12   another three, four months. Then I was               12   detectives.
    13   permanently brought back to the gang unit.           13      Q. And how many of those are members of
    14          So I was doing my thing in the gang           14   the HIDI squad?
    15   unit for -- I don't know -- three years before       15      A. About six or seven.
    16   I went back to the narcotics unit.                   16      Q. And of those six or seven, how many
    17      Q. And that's where you are today?                17   of them spend most of their time with HIDI?
    18      A. Yes. And I know it's a little                  18      A. Well, this -- those are on the HIDI
    19   complicated, a lot of movement. But going back       19   unit, six or seven -- that's what they do.
    20   and forth to the same group. Because the gang        20      Q. Okay.
    21   unit and the narcotic unit share the same            21      A. That's all they do.
    22   office space.                                        22      Q. And what do the other five or six
    23      Q. Okay. And now let's add another                23   members of the narcotics do?
    24   layer of complexity.                                 24      A. The other members are involved with
    25          You're also involved with the Heroin          25   other things. We have two detectives that are

                                                                                                9 (Pages 30 - 33)
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Case: 1:17-md-02804-DAP Doc #: 1974-9 Filed: 07/24/19 10 of 108. PageID #: 211314


                                                    Page 34                                                Page 36
     1   in the diversion program. And then other              1          (Deposition Exhibit 1 was marked for
     2   detectives are -- one of them is assigned to          2   identification.)
     3   the DEA, And a few more assigned to the -- to         3          BY MR. ROMAN:
     4   an FBI task force.                                    4      Q. Sergeant Baeppler, I'm handing you
     5      Q. So the two detectives who are                   5   what has been marked as Exhibit 1. It is a
     6   assigned to diversion are Detective Patena and        6   six-page document bearing production Nos. CLEVE
     7   Prince, correct?                                      7   000180822 to 27.
     8      A. Yes.                                            8          And as you can see, it's an e-mail
     9      Q. Who is the one who is assigned to               9   chain, the top one of which is an e-mail dated
    10   DEA?                                                 10   February 27, 2018, from Gary Gingell to Nicole
    11      A. He doesn't do that. And I don't                11   Carlton. And I'll note that you are not on
    12   really want to give out his name due to -- it's      12   this e-mail chain. So I don't know whether or
    13   -- he's in a very sensitive area, and he deals       13   not you've ever seen this document before.
    14   with cartels on a regular basis. I'd just            14          Have you?
    15   prefer not to give his name.                         15      A. No, I have not.
    16      Q. Who are the few who are assigned to            16      Q. Okay. I want to direct your
    17   the FBI task force?                                  17   attention -- you'll see the subject of the
    18      A. Detective Bino, Cudo, Negron, and              18   e-mail is "HIDI Strategy 2018."
    19   one more. I can't remember his name right now.       19          Do you see that?
    20   Edwards.                                             20      A. Where is that? No, I don't.
    21      Q. Do you know what they do for the FBI           21      Q. The subject line. Right there.
    22   or the FBI task force?                               22      A. Okay. Yeah. I see it.
    23      A. They do large-scale arrests                    23      Q. Okay. And go towards the bottom of
    24   involving wires.                                     24   the page.
    25      Q. All drug-related though?                       25          You see the Gingell e-mail of 2:21
                                                    Page 35                                                Page 37
     1      A. Yes.                                            1   p.m.?
     2      Q. Deal with drugs?                                2          You see that?
     3      A. All of them. You name it, they do               3      A. Right here?
     4   it. But most of them -- rarely marijuana, but         4      Q. Yep.
     5   usually heroin now, cocaine, ecstasy sometimes,       5      A. Uh-huh.
     6   fentanyl.                                             6      Q. And then you look at the first line,
     7      Q. What are your responsibilities as a             7   it says: "Sergeant Baeppler met with EMS
     8   HIDI supervisor?                                      8   commanders yesterday."
     9      A. My responsibilities are to supervise            9          Do you see that?
    10   the detectives and make sure they show up on         10      A. Uh-huh.
    11   runs, make sure they enter the proper documents      11      Q. And you go to the top -- the very
    12   and just -- my job is to make sure that they're      12   top e-mail on that page, and it says: "Matt
    13   doing their job basically.                           13   said the meeting went real well, and you guys
    14      Q. So do all of the six or seven                  14   were very much on board."
    15   detectives who are part of HIDI report to you?       15          Do you see that?
    16      A. Yes.                                           16      A. Uh-huh.
    17      Q. And to whom do you report?                     17      Q. Do you recall a HIDI strategy
    18      A. I did report to Lieutenant Connelly.           18   meeting in or around 2018?
    19   He's now a commander.                                19      A. Vaguely.
    20      Q. Who do you now report to?                      20      Q. What do you recall of that meeting?
    21      A. Sergeant Haven.                                21      A. I believe we went there, and were
    22      Q. How do you spell that, please?                 22   trying to get data regarding EMS responding to
    23      A. H-A-V-E-N.                                     23   overdoses so that we could more effectively
    24          And so -- yeah. That just started             24   respond ourselves.
    25   like a couple of weeks ago.                          25      Q. Let me step back for a moment.
                                                                                             10 (Pages 34 - 37)
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Case: 1:17-md-02804-DAP Doc #: 1974-9 Filed: 07/24/19 11 of 108. PageID #: 211315


                                                     Page 38                                             Page 40
     1        Do you recall where this meeting was        1    course of action is, if they think it's
     2   held?                                            2    possibly an overdose, they'll administer
     3      A. I believe it was at EMS. If it's           3    NARCAN. But sometimes it's ineffective because
     4   the right meeting I'm thinking of, it would be   4    it's not an overdose.
     5   at EMS.                                          5            And once they figure that out, I
     6      Q. Do you recall who else was there?          6    guess they wouldn't notify the police. Because
     7      A. I don't remember their names, no.          7    it could be another medical emergency. It
     8      Q. Do you recall with which                   8    could be a stroke or what have you.
     9   associations or organizations they were          9            So what I try to do is I try and
    10   affiliated?                                     10    track it. Because, like I said, I want to go
    11      A. I thought they were with EMS.             11    to as many of these overdoses as we can.
    12      Q. And do you recall whether you spoke       12        Q. Do you know how many of these NARCAN
    13   at that meeting?                                13    administrations are false positives?
    14      A. Uh-huh.                                   14        A. No.
    15      Q. Did you?                                  15        Q. Now, you're also a supervisor of the
    16      A. I did speak.                              16    compliance unit; is that right?
    17      Q. What did you say?                         17        A. Somewhat. Sergeant Ward does a
    18      A. Basically what I asked you -- or I        18    little more on that. But yeah, I am. I --
    19   told you. I asked if there's a way that we      19    technically, I guess I could be. I see what
    20   could get info regarding how many times the EMS 20    they do.
    21   responds and uses NARCAN so that we can better 21         Q. And the compliance unit is within
    22   track if we are responding to the overdoses.    22    the narcotics unit, correct?
    23      Q. And why did you want that                 23        A. That's correct.
    24   information?                                    24        Q. Why do they call it the compliance
    25      A. To make sure that we were responding      25    unit?
                                                     Page 39                                             Page 41
     1   to as many overdoses as possible so that we      1       A. I don't know.
     2   could gather information and combat the          2       Q. Do you know what its
     3   epidemic.                                        3    responsibilities are?
     4      Q. Was this the first time that you had       4       A. It has to do with prescription
     5   made this request of EMS?                        5    drugs.
     6      A. I think it was. Somewhere in that          6       Q. What about prescription drugs?
     7   time. I mean obviously -- I mean, yeah, this     7       A. They try and make sure that the
     8   is the first time I spoke to them about it that  8    prescription drugs, you know, aren't being
     9   I recall.                                        9    distributed in an unlawful way.
    10      Q. Have you since then been                  10       Q. How many detectives are there in the
    11   coordinating with EMS?                          11    compliance unit?
    12      A. I get e-mails every day.                  12       A. Two.
    13      Q. And what e-mails -- what information 13            Q. Detectives Patena and Prince?
    14   do the e-mails convey?                          14       A. Yes.
    15      A. The NARCAN usage.                         15       Q. Do you know when the compliance unit
    16      Q. What have you learned from that           16    was created?
    17   data?                                           17       A. No.
    18      A. Well, it's important for us to try        18           (Deposition Exhibit 2 was marked for
    19   and, you know, figure out if the NARCAN was 19        identification.)
    20   used, if the police were called; and then if    20           BY MR. ROMAN:
    21   the police deemed it an overdose so that HIDI 21         Q. Sergeant Baeppler, I'm handing you
    22   would be call so that we could investigate.     22    what has been marked as Baeppler Exhibit 2. It
    23           Sometimes the -- they use NARCAN, 23          is a six-page document bearing production Nos.
    24   but it's not necessarily and overdose; it's     24    CLEVE 001477213 through 18.
    25   something different. Because their first        25           Have you seen this document before,

                                                                                           11 (Pages 38 - 41)
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Case: 1:17-md-02804-DAP Doc #: 1974-9 Filed: 07/24/19 12 of 108. PageID #: 211316


                                                     Page 42                                                 Page 44
     1   at least parts of it?                                  1      Q. Did you participate in this
     2          MS. DEBROSSE: Take your time to                 2   conference?
     3   review it.                                             3      A. No, I did not.
     4          BY MR. ROMAN:                                   4      Q. Have you participated in other
     5      Q. Have you had a chance to review the              5   conferences related to the opioid crisis?
     6   document?                                              6      A. When you say "conference," I mean I
     7      A. Yes.                                             7   attend meetings. I can't really say they've
     8      Q. Have you seen it before, at least                8   been conferences.
     9   parts of it?                                           9      Q. You've never given any talks to
    10      A. Parts of it.                                    10   groups about opioids?
    11      Q. So you are indicated as having                  11      A. No.
    12   received the second-to-last e-mail in the chain       12      Q. Do you recall participating in a
    13   from -- it's an e-mail dated April 4th of 2018.       13   conference before the Ohio Tactical Officers
    14          Do you see that?                               14   Association regarding case investigations?
    15      A. Uh-huh.                                         15      A. I did. I -- that was -- that was
    16      Q. And you received this e-mail on or              16   basically like more of -- from my perspective,
    17   about that date in the ordinary course of             17   an officer safety issue with fentanyl and the
    18   business, correct?                                    18   dangers of fentanyl and what we're seeing and
    19      A. Uh-huh.                                         19   the forms that it's coming in.
    20      Q. I need a "yes," please.                         20          That was my part of the
    21      A. Yes.                                            21   presentation.
    22      Q. Thank you.                                      22      Q. The concern being officer exposure
    23          Now, this was Brian Bailys of Ascent           23   to fentanyl?
    24   reaching out to you and others about                  24      A. Yes. That's -- yes. Because that's
    25   participating in a conference entitled                25   a risk, especially for tactical officers and so
                                                     Page 43                                                 Page 45
     1   "Community Wellness, The Opioid Crisis in              1   forth. But, you know, others part -- you know,
     2   2018," correct?                                        2   were part of the investigations and how we give
     3      A. Uh-huh. Yes.                                     3   examples of investigations.
     4      Q. Do you know what is Ascent?                      4      Q. Have you ever participated in a
     5      A. Yes.                                             5   conference where Federal District Court Judge
     6      Q. What is Ascent?                                  6   Polster was also a participant?
     7      A. Basically it is a group of former                7      A. Not that I'm aware of. I don't know
     8   addicted persons. And they try and get help            8   what -- I mean, if he walked in the room, I
     9   for people that are addicted and provide them a        9   wouldn't know what he looked like. So if he
    10   way out --                                            10   was there, I was aware of it. I don't know
    11      Q. Do you know whether --                          11   what he looks like.
    12      A. -- from addiction.                              12      Q. Did you ever participate in a
    13      Q. I'm sorry.                                      13   conference titled "Defining The Epidemic, Human
    14          Do --                                          14   and Economic Costs"?
    15      A. I'm sorry. They try and provide                 15      A. Where would that be at?
    16   them a way out of addiction.                          16      Q. I presume somewhere in Cleveland.
    17      Q. Do you know if they have any                    17      A. I don't recall that.
    18   relationship with the Cleveland Police                18      Q. Do you also participate in any task
    19   Department, either formal or informal?                19   forces?
    20      A. I believe it's informal. I don't                20      A. I am not assigned to any task force.
    21   know if it's formal or not. I've dealt with           21      Q. In general, for how long have you
    22   them a couple of times.                               22   been involved in drug enforcement?
    23      Q. Do you know whether Ascent provides             23      A. My entire career I've been involved
    24   grant money to the police department?                 24   in drug enforcement.
    25      A. I have no idea.                                 25      Q. So close to a quarter of a century?

                                                                                               12 (Pages 42 - 45)
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Case: 1:17-md-02804-DAP Doc #: 1974-9 Filed: 07/24/19 13 of 108. PageID #: 211317


                                                    Page 46                                                  Page 48
     1      A. 24 years, yes.                                  1      Q. You understand that -- well, not all
     2      Q. Is it fair to say that you've                   2   -- not all opioids are prescription opioids,
     3   developed an understanding of which drugs are         3   correct?
     4   opioids and which drugs aren't?                       4      A. Yes.
     5      A. I have a fair understanding, yes.               5      Q. Now, do you use the terms "opioid
     6      Q. Which drugs do you understand to be             6   epidemic" and "opioid crisis"?
     7   opioids?                                              7      A. I've said "opioid epidemic," but I
     8      A. Well, you have fentanyl. You have               8   don't think I've ever said "opioid crisis."
     9   the prescription base, which is a decent amount       9      Q. Okay. When you use the phrase
    10   there. You have opium. You have heroin. You          10   "opioid epidemic," what does that mean to you?
    11   know, opioids are both synthetic and natural,        11      A. It means what I live every day.
    12   versus the opiates are the natural part of the       12   That's what it means to me. It means showing
    13   plant.                                               13   up to a run, dealing with people that are dead
    14      Q. And what illegal drugs do you                  14   or near death and then dealing with the
    15   understand not to be opioids?                        15   aftermath with their families and everything
    16      A. Can you repeat that question. I'm              16   else.
    17   not clear on that.                                   17          That would be an epidemic to me.
    18      Q. What illegal drugs do you understand           18   Because that's every day that I deal with it.
    19   not to be opioids?                                   19   I guess an epidemic would be something you deal
    20          MS. DEBROSSE: Object to form.                 20   with every day that's pretty much out of
    21          You may answer.                               21   control.
    22          THE WITNESS: Can I read the                   22      Q. Well, when you use the term "opioid
    23   question? I mean I'm having a hard time              23   epidemic," does this include all opioids,
    24   following it.                                        24   including nonprescription drugs?
    25          You're saying what illegal drugs --           25      A. Yes, it does.
                                                    Page 47                                                  Page 49
     1          BY MR. ROMAN:                                  1      Q. Do you have a belief or
     2      Q. Are not opioids.                                2   understanding of what caused the opioid
     3      A. The illegal drugs that are not                  3   epidemic?
     4   opioids are methamphetamines, cocaine, so             4      A. Yes, I do.
     5   forth, and everything that I didn't say.              5      Q. What is that belief or
     6      Q. Now, dealing specifically with the              6   understanding?
     7   opioids, you understand that some of them are         7      A. Every time that I deal with somebody
     8   available by prescription, whereas others are         8   that is a heroin addict or a -- another opioid
     9   available only illegally, correct?                    9   addict, I ask them questions. One of the
    10      A. Yes.                                           10   questions I ask of everybody is, "How did this
    11      Q. You understand that prescription               11   begin? How did this happen?"
    12   opioids are pills like Vicodin and Percocet and      12          Many people tell me that they
    13   OxyContin?                                           13   started taking pills for one reason or another,
    14      A. I do understand that.                          14   an injury. Many of them are -- were high
    15      Q. And that the nonprescription opioids           15   school athletes or doctors, lawyers, nurses,
    16   are illegal street drugs like heroin, illicit        16   other police officers.
    17   fentanyl and carfentanil, correct?                   17          And they began taking pills for a
    18      A. Yes.                                           18   surgery that they went in for. And they --
    19      Q. And so you understand that                     19   they started taking them, and they realized
    20   prescription opioids is a narrower category          20   that they couldn't stop. They were cut off at
    21   than opioids?                                        21   some point.
    22          MS. DEBROSSE: Object to form.                 22          The next closest thing they could
    23          THE WITNESS: Repeat the question              23   get to the pills would be the heroin,
    24   for me.                                              24   effect-wise, I mean the high that they would
    25          BY MR. ROMAN:                                 25   get from it. And that's what the majority of
                                                                                               13 (Pages 46 - 49)
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Case: 1:17-md-02804-DAP Doc #: 1974-9 Filed: 07/24/19 14 of 108. PageID #: 211318


                                                    Page 50                                                    Page 52
     1   them started with.                                    1   But most of them are a legitimate medical
     2          So yes. If you're asking me how did            2   reason or whatever it is. But most of them say
     3   this start, my belief and my personal                 3   pills.
     4   experience is that they started with the pills.       4      Q. Okay. Well, let's start at that
     5      Q. And do you record your conversations            5   point though when you're talking about pills.
     6   with them anywhere?                                   6          Do you know whether, with respect to
     7          I mean do you write down notes or              7   those who started on pills, how many of those
     8   anything like that?                                   8   started because they were lawfully prescribed
     9      A. No.                                             9   by a licensed physician?
    10      Q. Okay.                                          10      A. I don't know. I don't know that
    11      A. It's a general question. And this              11   answer.
    12   is also -- when we would make buys -- when I         12      Q. So you don't know, for example, what
    13   was undercover, we'd make buys with someone,         13   percent got diverted prescription drugs versus
    14   and -- or -- and I'd be sitting in the car with      14   who got pills through, you know, a properly
    15   the CI. So -- okay. The point being the CI           15   licensed doctor for a legitimate injury?
    16   would introduce me as a drug-addicted person         16      A. I really -- I didn't always delve
    17   and like one of their friends. And so the hope       17   into that. I couldn't give you an exact
    18   would be to get the CI out of the picture, and       18   number. Some of them were -- a lot of them
    19   then I would deal with the main drug dealer.         19   were from doctors. Some of them were -- you
    20          But in the meantime, you're sitting           20   know, they would get them in their parents'
    21   with this person for hours. So like when -- if       21   closets or -- you know, pill closets.
    22   a drug dealer says, "Hey, I'm around the             22      Q. I guess my question is you don't
    23   corner," most of the time he's spinning you.         23   know what percent of the 80 percent started off
    24   "Around the corner" could be he's around the         24   with prescriptions from a properly licensed
    25   corner in another state, for all we know.            25   doctor, do you?
                                                    Page 51                                                    Page 53
     1          But it's hours and hours you spend             1           MR SMITH: Objection.
     2   with these -- the drug-addicted persons. And          2           THE WITNESS: Over 50 percent of the
     3   that's part of the -- we have lots of                 3   80 percent, I would guess.
     4   conversations.                                        4           BY MR. ROMAN:
     5          So no, I don't write down the entire           5      Q. Is it a guess?
     6   conversations with have.                              6      A. Over -- over half. Okay. That's --
     7      Q. When you say "many," can you                    7   if you're asking me to put a percentage on it,
     8   quantify that?                                        8   that's -- that would be my percentage of that.
     9          Well, strike that.                             9      Q. So --
    10          When you say many started with                10      A. I mean that I -- that I got a
    11   prescription pills, can you quantify that? Is        11   definitive answer from. That it started from a
    12   it 50 percent? Is it 60 percent? 70? 80?             12   surgery or what have you.
    13          Do you have a sense?                          13      Q. Do you know how much over half?
    14      A. Over 80 percent. In my opinion. In             14           Is it 51 percent, is it 60 percent,
    15   my experience. I mean there's maybe others           15   is it 70 percent of the 80 percent?
    16   that have a different experience. But my own         16      A. Over 50 percent is the best I can
    17   personal experience is 80 percent,                   17   give you.
    18   approximately. That is -- like I said, that's        18      Q. Okay. Do you know how many of -- of
    19   my feeling.                                          19   that -- again, going back to the 80 percent who
    20      Q. And to be clear, those are people              20   went from prescription pills to heroin.
    21   who started on prescription pills because of an      21           Do you know what percentage of those
    22   injury or for some other medical reason --           22   got started on counterfeit pills, thinking that
    23   legitimate medical reason and then moved on          23   they were taking prescription pills but, in
    24   from there?                                          24   fact, they were taking something else?
    25      A. Or just pills in general, yes. Yes.            25      A. We've only just recently seen
                                                                                                14 (Pages 50 - 53)
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Case: 1:17-md-02804-DAP Doc #: 1974-9 Filed: 07/24/19 15 of 108. PageID #: 211319


                                                   Page 54                                                   Page 56
     1   counterfeit pills. In my experience, we've       1              But what I'm asking is, you know,
     2   only just recently seen counterfeit pills. And   2       you said that the -- it really started going in
     3   that's -- that's been a new trend.               3       2008 or 2009. You're aware that these pills
     4      Q. Starting when, do you think?               4       were on the market a long time before 2008 or
     5      A. In my experience, in the last year,        5       2009.
     6   that I've personally seen them.                  6              What happened, what changed such
     7      Q. In your mind, when did the opioid          7       that the opioid epidemic really started to
     8   epidemic begin?                                  8       gather steam around that time?
     9      A. I'm going to say in the -- sometime        9              MS. DEBROSSE: Object to form.
    10   in the 2000 -- we started -- we started to see  10              THE WITNESS: I can't answer that
    11   a real problem in about 2008, 2009. And it got 11        question. I don't have the exact answer.
    12   progressively worse.                            12              BY MR. ROMAN:
    13           And I base that on -- when I started    13          Q. In your work, do you distinguish
    14   in the narcotics unit, we dealt almost ex -- it 14       between lawful use of opioids and unlawful use
    15   was almost all crack or crack cocaine and       15       of opioids?
    16   cocaine in forms almost exclusively. Within a 16            A. Yes.
    17   matter of six years or so, it switched to -- it 17          Q. How so?
    18   like literally flip flopped into now everyone's 18          A. People have valid injuries. People
    19   selling heroin, dealer-wise.                    19       have cancer. They're in tremendous pain.
    20           So we'd have the same dealer that I     20       There are times when -- if someone's -- if
    21   dealt with, you know, in let's say 2008; and in 21       someone's on their death bed, you should make
    22   2015 now -- you know, in 2008 he's selling      22       them as comfortable as possible until their
    23   crack and cocaine. Now he's selling crack and 23         ultimate demise.
    24   heroin or just heroin.                          24              If someone is -- if someone no
    25      Q. Do you have a sense of what caused        25       longer has an injury but they're still taking
                                                   Page 55                                                   Page 57
     1   the switchover in around 2008 or 2009?               1   the same pills, then that would be unlawful.
     2      A. When you say do I have a sense,                2      Q. Well, have you or anyone else on the
     3   what's your exact question?                          3   police department ever arrested anyone who was
     4      Q. What happened? What changed?                   4   taking prescription opioids as prescribed by a
     5      A. My belief is that, when people                 5   doctor?
     6   stopped getting the pills with a --                  6          MS. DEBROSSE: Object to form.
     7   specifically with OxyContin, then -- you know,       7          THE WITNESS: I'm sure it's
     8   people couldn't get pills as readily, and, you       8   possible.
     9   know, now they were -- now they're addicted to       9          BY MR. ROMAN:
    10   these pills, these opioids. So then they're         10      Q. Do you recall any instance where
    11   cut off, but they still -- they were addicted.      11   you've done that?
    12   So they went to the next best thing, which          12      A. Not offhand.
    13   would be heroin.                                    13      Q. Have you ever encountered a
    14      Q. And when do you think they started            14   situation where someone is lawfully using
    15   really getting hooked on these prescription         15   prescription opioids as prescribed by a
    16   pills?                                              16   legitimate doctor, but that person comes to the
    17      A. When they were -- when they started           17   attention of the police because of addiction or
    18   using them. I mean I don't know if you're --        18   overdose?
    19   you've got to be aware of -- these pills are        19          MS. DEBROSSE: Object to form.
    20   extremely addictive. I mean in three days you       20          THE WITNESS: I can't recall anyone.
    21   can turn a regular person into an addict,           21          BY MR. ROMAN:
    22   depending on the person's body composition.         22      Q. For this next set of questions, I
    23          Some people become addicted easier           23   want to break down drugs into four categories:
    24   than others.                                        24   illegal nonopioids, cocaine, meth, things of
    25      Q. I understand that, sir.                       25   that nature; nonprescription opioids, heroin,

                                                                                               15 (Pages 54 - 57)
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Case: 1:17-md-02804-DAP Doc #: 1974-9 Filed: 07/24/19 16 of 108. PageID #: 211320


                                                    Page 58                                                  Page 60
     1   fentanyl; diverted or otherwise illicit               1           Now -- and so I've responded to
     2   prescription opioids; and then legal                  2   scenes where there's a crushed-up pill or
     3   prescription opioids.                                 3   tablet. I can't tell you what it is. Matter
     4          Do you understand that?                        4   of fact, if they crush up a tablet, I can't
     5      A. I do.                                           5   tell you if it's an illegal drug to begin with
     6      Q. Since you have been with the                    6   or what it is. We don't know what it is until
     7   narcotics unit, what percentages of the               7   it's tested. And we don't find out for weeks
     8   overdoses -- overdose cases to which you've           8   later.
     9   responded have involved prescription opioids,         9           So I can't give you a definitive
    10   categories three or four, as opposed to illegal      10   answer on that. Most of the ones we do respond
    11   nonopioids or nonprescription opioids,               11   to, many, are either heroin or heroin fentanyl
    12   categories 1 and 2?                                  12   or cocaine fentanyl.
    13          MS. DEBROSSE: Object to form.                 13       Q. That's lion's share?
    14          THE WITNESS: Can you repeat that              14       A. In my experience. But, like I said,
    15   question, please.                                    15   I mean I could be a little bit wrong on that.
    16          BY MR. ROMAN:                                 16   But yeah, that is what I -- that's my
    17      Q. Sure.                                          17   experience.
    18          What percentages -- what percentage           18       Q. By the way, when you earlier give me
    19   of the overdoses to which you have responded         19   that 80 percent figure -- do you recall that
    20   have involved prescription opioids, which is         20   from about ten minutes ago?
    21   the third and fourth categories, as opposed to       21       A. Uh-huh.
    22   illegal nonopioids or nonprescription opioids?       22       Q. For what period of time are we
    23      A. It's kind of hard to give a                    23   talking there when you were --
    24   percentage. And let me explain something here.       24       A. That's from when I was a detective
    25          Since I -- I'm a supervisor in the            25   in the first district and in my time in the
                                                    Page 59                                                  Page 61
     1   HIDI unit. I don't respond to every single            1   gang unit when we were -- when we would make
     2   nonfatal overdose. Matter of fact,                    2   buys for heroin.
     3   percentage-wise, I respond to only a few just         3      Q. So what years are we talking?
     4   to make sure -- or -- that the detectives are         4      A. 2003 or so all the way through 2012,
     5   asking the right questions and doing what             5   '13.
     6   they're supposed to be doing and, in the              6      Q. Do you know if that has been the
     7   beginning, just so I saw how they did what they       7   experience of the police department over the
     8   were supposed to do.                                  8   last five, six years?
     9           I respond mostly to fatals. I                 9      A. That's my experience.
    10   respond almost to all fatals. So frankly, if         10           MS. DEBROSSE: Object to form.
    11   these guys -- you would have to ask another          11          BY MR. ROMAN:
    12   detective what they are responding to. And           12      Q. But you don't know whether that has
    13   even then, they don't respond to all of them.        13   continued at that same rate since then?
    14           But in terms of my own experience,           14           MS. DEBROSSE: Object to form.
    15   if you're asking that -- how many people have I      15           THE WITNESS: I don't know.
    16   responded to that have used a prescription           16           MR. ROMAN: Just a few more
    17   drug -- correct? That was legally obtained or        17   questions, and then we'll take a break, if
    18   illegally obtained?                                  18   that's okay with you.
    19       Q. Either one. Either diverted or                19           THE WITNESS: Perfect.
    20   illicit prescription opioids or illegal              20          BY MR. ROMAN:
    21   prescription opioids.                                21      Q. Of the overdoses that have
    22       A. The other problem I have with that            22   involved -- again, where you've come to the
    23   is I don't know I'm seeing if it's a                 23   scene -- have involved prescription opioids, do
    24   counterfeit prescription drug or if it's a real      24   you know what percent of those have been
    25   prescription drug.                                   25   diverted as opposed to used lawfully?

                                                                                               16 (Pages 58 - 61)
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Case: 1:17-md-02804-DAP Doc #: 1974-9 Filed: 07/24/19 17 of 108. PageID #: 211321


                                                   Page 62                                                  Page 64
     1      A. I don't know.                                  1   alive, you ask those who are around about the
     2      Q. Now, you told me earlier about                 2   drug history.
     3   people who you believed began with prescription      3           How far back do you go?
     4   opioids.                                             4           Do you say -- you know, do you ask
     5          Do you know some -- has it ever been          5   what they were taking just that day? Do you
     6   the case where somebody starts with one drug,        6   ask for the past month? Do you ask for at the
     7   goes to prescription opioids, and then               7   beginning of time?
     8   overdoses on something else?                         8           How far back do you go?
     9      A. When you say "one drug," can you               9           MS. DEBROSSE: Object to form.
    10   define that more?                                   10           You may answer, Sergeant.
    11      Q. Start with cocaine.                           11           THE WITNESS: I ask many of them how
    12      A. So you're saying they start with              12   it started. And I ask family members how it
    13   cocaine, and then they...                           13   started. And many of them -- you know, many of
    14      Q. Go to a prescription -- a diverted            14   them, unfortunately, they're everyday people.
    15   prescription pill or a prescription -- or a         15   They get started -- you know, most of -- a lot
    16   prescription opioid of any type and then -- but     16   of them are -- are or were athletes that got
    17   overdose on heroin or fentanyl.                     17   hooked from their surgeries. So that does
    18      A. I can't think of any offhand. And I           18   happen.
    19   would think that would be kind of rare, just        19           BY MR. ROMAN:
    20   because cocaine is a different -- it's in a         20      Q. Right.
    21   different realm. I mean that's a different          21           But -- and just -- you don't
    22   class. It's an upper. And the heroin and the        22   record -- the Cleveland Police Department does
    23   opioids is a downer. They're almost two             23   not record this information anywhere or keep
    24   different worlds.                                   24   statistics about this, does it?
    25          So rarely do we have someone that            25      A. Not that I'm aware of. But
                                                   Page 63                                                  Page 65
     1   uses heroin and cocaine. Like I said, they're    1       that's -- but that is my own personal thing
     2   for different personality types. I personally    2       that I ask. And it's always because I'm
     3   don't know anyone that -- that that's happened 3         curious. That's a quirk that I have. I'm
     4   to. I'm sure it's happened.                      4       trying to figure out, trying to get in the mind
     5           And I can't tell you the exact order     5       of this addicted person.
     6   that it's happened. Like I've talked to people   6          Q. Do you know whether others do the
     7   that have used heroin and cocaine. But I don't 7         same, other detectives?
     8   know what they started with. So I can't answer 8            A. I don't know.
     9   that.                                            9               MR. ROMAN: Why don't we take a
    10      Q. Well, I was just using cocaine as         10       break.
    11   the example and obviously a bad one.            11               THE WITNESS: Thank you.
    12           But are you aware of cases where        12               (A short recess was taken.)
    13   somebody starts with one drug, uses             13               BY MR. ROMAN:
    14   prescription opioids, and then overdoses on     14          Q. Going back to where we were before
    15   heroin or fentanyl?                             15       the break, Sergeant Baeppler, when you gave me
    16           MS. DEBROSSE: Object to form.           16       that 80 percent figure.
    17           THE WITNESS: Based on your              17               That was based, was it not, on your
    18   question, I can't come up with anyone.          18       conversations with ICs in cars back when you
    19           MR. ROMAN: Last question, and then 19            were doing undercover, correct?
    20   we'll take a break.                             20          A. And when I was a detective as well
    21           BY MR. ROMAN:                           21       in the first district.
    22      Q. When you've come to the scene of an 22                Q. When you were a detective in the
    23   overdose and you're asking -- if the victim is 23        first district, with whom were those
    24   alive, I assume you asked the victim about his 24        conversations?
    25   drug history; or if he's not alive or she's not 25          A. Most of those conversations were

                                                                                              17 (Pages 62 - 65)
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Case: 1:17-md-02804-DAP Doc #: 1974-9 Filed: 07/24/19 18 of 108. PageID #: 211322


                                                    Page 66                                                   Page 68
     1   with addicted persons, you know, that were            1   terms of what drugs were the most prominent
     2   involved in other crimes. Let's say that they         2   drugs over the timing in the enforcement?
     3   were doing burglaries or what have you. And it        3          Was there a time when it was
     4   went from there.                                      4   cocaine? Was there a time when it was meth?
     5          Like so we'd arrest them. We would             5   Was there a time when it was heron? Was there
     6   arrest people, and then they would confess to         6   a time when it was prescription pills?
     7   committing these burglaries. And they say, "I         7          Can you kind of take us through
     8   do it because I'm an addict." It just starts          8   that?
     9   from there.                                           9          MS. DEBROSSE: Object to form.
    10      Q. And since 2012 or 2013, have you had           10          You can answer, Sergeant.
    11   any of these types of conversation either with       11          THE WITNESS: Some of these were
    12   CIs or with suspects?                                12   trends. Some of them were -- the meth was like
    13      A. Yes.                                           13   it splashed in and splashed back out, you know.
    14      Q. How many of those have you had since           14          But when I first started, crack
    15   then?                                                15   cocaine was king.
    16      A. It's hard the quantify it, but                 16          BY MR. ROMAN:
    17   several.                                             17      Q. So that's mid '90s?
    18      Q. Several like three or --                       18      A. Mid '90s, crack. Then -- a little
    19      A. Several dozen.                                 19   bit of heroin. Almost all crack. And even
    20      Q. Several dozen. Okay.                           20   then, heroin would only be during a certain
    21          And have you been asking the same             21   time of day and certain locations.
    22   types of questions?                                  22          I mean there's like two parts of the
    23      A. I asked -- this question I ask                 23   city, one east, one west. And that's pretty
    24   almost everyone: "How did this start? How did        24   much where everyone went to get heroin. And
    25   you start? How did this road to where you're         25   then the rest of the city was crack and like
                                                    Page 67                                                   Page 69
     1   at begin?"                                            1   cocaine a little bit here and there, like
     2       Q. And as the -- because I think you              2   powder form of cocaine as well.
     3   said before this 80 percent was up until 2012         3           And then we -- that went all the way
     4   or 2013.                                              4   through -- I want to say -- I can't remember
     5           Has the percentage, in your mind,             5   the years, but then we had some meth thrown in
     6   increased or decreased?                               6   there. And as meth started, there was also the
     7           I know the sample size is only three          7   -- we'd start to see more heroin and the
     8   dozen, but -- or several dozen?                       8   OxyContin pills.
     9       A. It's several. It's not just three.             9      Q. When did the OxyContin start to
    10   It's several.                                        10   appear on the scene?
    11           But your question is what now? I             11      A. To the best of my recollection, I
    12   mean how many --                                     12   want to say -- I remember seeing -- on the
    13       Q. Are you finding -- in the last                13   streets I started seeing some of them in 2008,
    14   six -- five, six, seven years, have you found        14   '9, '10. And then '11, '12, you know, I was
    15   the percentage of those who overdose who             15   doing a lot of meth search warrants and meth
    16   started on prescription pills increasing or          16   activity. And then, during the same period of
    17   decreasing from that 80 percent figure you gave      17   time, the changeover was when the heroin or
    18   me earlier?                                          18   opioids in general.
    19       A. It's about the same.                          19      Q. When was the first time that you
    20       Q. Okay. Now, during your three                  20   were aware of an overdose on a prescription
    21   decades in law enforcement in Cleveland, have        21   pill, prescription opioid?
    22   you ever known a time when abusive drugs has         22      A. I can't answer that definitively
    23   not been a problem in the community?                 23   because there -- because we don't -- I don't
    24       A. No.                                           24   know what people overdose from all the time.
    25       Q. Can you please provide a timeline in          25           And it's based on -- when you get to

                                                                                                18 (Pages 66 - 69)
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Case: 1:17-md-02804-DAP Doc #: 1974-9 Filed: 07/24/19 19 of 108. PageID #: 211323


                                                    Page 70                                                   Page 72
     1   a scene, you have a crushed-up pill or           1           Q. Well, it was before you were on the
     2   crushed-up whatever.                             2        police force, wasn't it?
     3       Q. Right.                                    3               MS. DEBROSSE: Object to form.
     4       A. It's a powder at that point. I            4               THE WITNESS: I don't know. I
     5   don't know what that is. I don't know if it's    5        assume it was.
     6   a pill. I don't know if it's -- if it's          6               BY MR. ROMAN:
     7   another controlled substance. We just don't -- 7             Q. Do you know why -- what change that
     8   all you know is it's a powder.                   8        made prescription pills a source of a -- of the
     9           So, you know, for me to answer that      9        -- a source of the opioid epidemic in
    10   accurately, I mean I can't. I just can't.       10        Cleveland --
    11   Because if you're asking me do I see pills      11               MS. DEBROSSE: Object to form.
    12   there also, you know, most people only get two 12                BY MR. ROMAN:
    13   or three -- most drug-addicted persons only get 13           Q. -- given that they were -- they've
    14   one or two, and they only get what they're      14        been available for decades?
    15   going to use at that point in time.             15               MS. DEBROSSE: Object to form.
    16       Q. Well, do you find out after the fact     16               THE WITNESS: Can you repeat that
    17   what that crushed powder was?                   17        question for me.
    18       A. Sometimes we do; sometimes we don't. 18                   BY MR. ROMAN:
    19   As a supervisor, I don't always do that. I      19           Q. Sure.
    20   mean because it's -- the detective whose case 20                 You testified this morning that --
    21   it is, they would know. I wouldn't know         21        or earlier this morning, I should say, that you
    22   offhand. And like I said, I can't give you a    22        believe that prescription pills have played a
    23   number like that. I can't give you like a       23        role in the opioid epidemic.
    24   total -- I mean one person or anything else     24           A. Yes.
    25   like that at in defining moment.                25           Q. And if I represent to you that there
                                                    Page 71                                                   Page 73
     1      Q. I understand that you -- that you               1   have been prescription pills available --
     2   don't always know what caused an overdose.            2   prescription opioids, such as Percocet and
     3          But sometimes you do, correct?                 3   Vicodin, available in the 1970s, OxyContin in
     4      A. Sometimes we do.                                4   the mid 1990s, why was it not until 2008, 2009
     5      Q. When you do know what caused the                5   that they started contributing to the opioid
     6   overdose, when was the first time you were            6   epidemic?
     7   aware of somebody overdosing on a prescription        7          MS. DEBROSSE: Object to form.
     8   pill, prescription opioid?                            8          THE WITNESS: Are you asking for my
     9      A. I don't know. I can't recall                    9   theory, my feeling on this? Is that what
    10   someone that I can definitively say overdosed        10   you're asking me?
    11   on a prescription pill.                              11          BY MR. ROMAN:
    12      Q. How often do you find people                   12      Q. What's your understanding?
    13   overdose on prescription pills as opposed to         13          MS. DEBROSSE: Object to form.
    14   overdosing on heroin or fentanyl?                    14          THE WITNESS: My belief is that
    15      A. My experience is -- whether it's a             15   there was a large number of these pills
    16   counterfeit pill, we don't know. But it's            16   available that were available to persons that
    17   usually the fentanyl-related that they overdose      17   would probably normally not have them, which
    18   on. That's my experience.                            18   then created a market.
    19      Q. Now, do you know when prescription             19          I mean it's like with anything. You
    20   opioids first started being prescribed in            20   flood the market with a product, get people
    21   Cleveland?                                           21   hooked on them, and it goes from there. That's
    22      A. I don't. I imagine -- you know,                22   what happens in business and everything else.
    23   prescription -- you know, how long has -- no.        23          BY MR. ROMAN:
    24   I don't know. I'm sure it's been several             24      Q. Do you know who flooded the market
    25   years.                                               25   with prescription opioids?

                                                                                               19 (Pages 70 - 73)
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Case: 1:17-md-02804-DAP Doc #: 1974-9 Filed: 07/24/19 20 of 108. PageID #: 211324


                                                   Page 74                                                Page 76
     1      A. I couldn't tell you. I don't --                1      A. For certain, no. I believe he has
     2   Counselor, I don't -- I don't have a cable TV.       2   but not -- I don't know for certain. I know he
     3   I don't even have an antenna. I don't watch          3   keeps tracks on the pharmacies. I mean he
     4   the news on a regular basis. Yes, I follow           4   works with the pharmacies.
     5   general trends and stuff like that. I mean I         5      Q. How about the pill mills; has you or
     6   read.                                                6   anyone else in the police department ever
     7          But I don't know the companies. I             7   investigated pill mills?
     8   don't know anything else like that.                  8           MS. DEBROSSE: Object to form.
     9          I do know that at one point                   9           THE WITNESS: Can you define a pill
    10   OxyContin was a big thing. We would see a lot       10   mill?
    11   of OxyContin. People would talk about               11           BY MR. ROMAN:
    12   single-sack and double-sack oxys. And -- but        12      Q. Well, are you familiar with the
    13   when I first came out, we didn't have that.         13   term?
    14      Q. When you were -- people were talking          14      A. It depends on what your definition
    15   about the oxys, do you recall about when that       15   of it is, I guess.
    16   was?                                                16           What's your definition of a pill
    17      A. Early 2000. Somewhere around there.           17   mill?
    18   I can't put an exact year to it. But somewhere      18      Q. Well, I would define it as a place
    19   in that time frame is when -- that would be         19   where prescriptions are basically
    20   when I first would -- I first saw that.             20   indiscriminately -- where opioids are
    21      Q. Have you or anyone else at the -- in          21   indiscriminately prescribed, where patients
    22   the Cleveland Police Department ever                22   come in for short visits and are given
    23   investigated doctors who may have                   23   prescriptions basically on demand.
    24   overprescribed opioids?                             24      A. Yes. I'm aware of investigations
    25      A. Detective Prince has.                         25   about that.
                                                   Page 75                                                Page 77
     1      Q. How about Detective Patena?                    1      Q. And do you know the results of any
     2      A. She may have been like on the                  2   of those investigations?
     3   periphery. But I believe she keeps track of          3      A. I think they were successful
     4   some other things.                                   4   investigations with either plea agreements or
     5      Q. Do you know how many doctors                   5   convictions.
     6   Detective Prince has investigated?                   6      Q. Have you shut down any pill mills
     7      A. No.                                            7   or...
     8      Q. Do you know the results of any of              8      A. I've never been the lead in any
     9   those investigations?                                9   investigation like that. I believe that they
    10      A. Yes.                                          10   have been shut down though.
    11      Q. What happened?                                11      Q. Do you know who was the lead in any
    12      A. I believe he's got convictions or             12   of those investigations?
    13   pleas on almost all of them.                        13      A. Detective Prince would do that.
    14      Q. Do you know how many?                         14      Q. What is the division
    15      A. No.                                           15   responsibilities between Detective Prince and
    16      Q. How about pharmacies; do you know             16   Detective Patena?
    17   whether anyone has ever -- you or has anyone        17          It seems like you keep on saying
    18   else in the Cleveland Police Department ever        18   Detective Prince.
    19   investigate a pharmacy for overfilling              19          What's she doing?
    20   prescriptions or engaging in other forms of         20      A. She helps him out with most of his
    21   diversion?                                          21   investigations and -- like the last thing that
    22      A. I think -- that would be Detective            22   I dealt with her on would be like there was a
    23   Prince's role, not mine.                            23   theft from a pharmacy, and so she was working
    24      Q. Do you know whether he's done that            24   on that.
    25   or not?                                             25      Q. Do you know whether the police
                                                                                             20 (Pages 74 - 77)
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Case: 1:17-md-02804-DAP Doc #: 1974-9 Filed: 07/24/19 21 of 108. PageID #: 211325


                                                    Page 78                                                   Page 80
     1   department has ever investigated a manufacturer       1   identification.)
     2   or distributor of prescription opioids?               2          BY MR. ROMAN:
     3      A. I don't know.                                   3      Q. Sergeant Baeppler, I'm handing you
     4      Q. You've never done that?                         4   what's been marked as Baeppler Exhibit 3. This
     5      A. I've never -- I've never                        5   is a one-page document bearing production No.
     6   investigated any like thing like-- no, I have         6   CLEVE 000189730.
     7   not.                                                  7          Have you seen this document before?
     8      Q. Have you ever done any diversion                8      A. No. Not that I can recollect.
     9   investigations?                                       9      Q. Okay. Well, I would like to direct
    10      A. I've been part of some diversion               10   your attention to the bottom of the -- well,
    11   investigations.                                      11   strike that.
    12      Q. What types?                                    12          Exhibit 3 is an e-mail exchanged
    13      A. I was a undercover in a pill mill.             13   dated June 22nd, 2017.
    14      Q. Where was that?                                14          Do you see that?
    15      A. I think Cleveland Height or                    15      A. Uh-huh.
    16   Shaker Heights or something like that.               16      Q. I'm sorry. I need a "yes."
    17      Q. When was it?                                   17      A. Yes.
    18      A. A few years ago.                               18      Q. And the bottom e-mail is an e-mail
    19      Q. And what did you find?                         19   from Gary Gingell to a whole bunch -- well, to
    20      A. I found I would go into a -- I was             20   Mr. Tomba and Mr. Drummond. And a whole bunch
    21   sent into a doctor's office, and a doctor would      21   of folks are copied, including you.
    22   give me a quick check and then ask if I was in       22          Do you see that?
    23   any pain. And he would give me a prescription        23      A. Yes.
    24   for pills.                                           24      Q. Do you have any reason to believe
    25      Q. Based simply on your say-so?                   25   that you did not receive that e-mail on or
                                                    Page 79                                                   Page 81
     1      A. Yes.                                            1   about June 22, 2017, in the ordinary course of
     2      Q. Did you arrest the doctor?                      2   business?
     3      A. I did not.                                      3      A. I'm sure I did receive it if it's on
     4      Q. Why not?                                        4   here.
     5      A. Because I wasn't part of the arrest.            5      Q. Okay. I'd like to direct your
     6      Q. Did the police department arrest the            6   attention to the second-to-last paragraph of
     7   doctor?                                               7   that bottom e-mail that begins "Not for media."
     8      A. Eventually they did. I think he                 8          Do you see that?
     9   fled to Hawaii or something.                          9      A. Uh-huh.
    10      Q. And you shut down the pill mill?               10      Q. Again, I'm sorry. I need a "yes."
    11      A. Yes.                                           11      A. Yes.
    12      Q. Now, we've talked about fentanyl               12      Q. And it reads: "Had a meeting with
    13   some this morning.                                   13   DEA boss Keith Martin yesterday. We both agree
    14          Are you aware that fentanyl is a --           14   this problem will continue to grow due to
    15   there is some forms of fentanyl that are             15   web-based trafficking out of China, Asian and
    16   available by prescription?                           16   European countries."
    17      A. Yes. And fentanyl can be a useful              17          Do you see that?
    18   tool in, you know, alleviating pain.                 18      A. Yes.
    19      Q. When you see the overdoses in                  19      Q. And the problem -- you understood
    20   Cleveland though, I take it that in every            20   that the problems to which Mr. Gingell refers
    21   case -- in virtually every case, if not every        21   is heroin overdoses.
    22   case, the fentanyl that's involved is illicit        22          That's the subject of this exchange,
    23   or illegal fentanyl, correct?                        23   correct?
    24      A. Most of them are, yes.                         24          MS. DEBROSSE: Object to form.
    25          (Deposition Exhibit 3 was marked for          25          THE WITNESS: The subject is heroin

                                                                                                21 (Pages 78 - 81)
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Case: 1:17-md-02804-DAP Doc #: 1974-9 Filed: 07/24/19 22 of 108. PageID #: 211326


                                                    Page 82                                                  Page 84
     1   stats, nonfatals and fatals, 2013 through '17.        1   from.
     2          BY MR. ROMAN:                                  2       Q. What are those ideas?
     3      Q. So we're talking about heroin                   3       A. Most of the heroin that we encounter
     4   overdoses, correct?                                   4   in Cleveland comes from Mexico.
     5      A. Yes.                                            5       Q. Is that the black tar heroin or
     6      Q. I just want to show you something               6   other forms?
     7   Sergeant Baeppler. This is the caption from           7       A. We don't secure a lot of black tar
     8   the complaint in this case. And I just -- I'm         8   anymore. Most of it is powder heroin.
     9   going to be referring to the defendants as a          9       Q. Okay. Are you aware of heroin also
    10   group. And I just want to make sure that you         10   coming in from China and other foreign
    11   see who the defendants are.                          11   countries?
    12      A. That's quite a lot.                            12       A. I'm sure it comes in. But the --
    13      Q. Yes, it is.                                    13   most of what we see in Cleveland, from what I
    14          MS. DEBROSSE: Are you making it as            14   understand, comes from Mexico and other -- you
    15   an exhibit?                                          15   know, it comes through Mexico. I'm sure that
    16          MR. ROMAN: No. Not our choice.                16   there's other ways to get it in. But it's my
    17          BY MR. ROMAN:                                 17   experience that it's Mexican-cartel based, as
    18      Q. Anyway, would you look at that list,           18   are most of the drugs we get.
    19   please.                                              19       Q. How about the fentanyl; where does
    20      A. I looked.                                      20   that come from?
    21      Q. Are you familiar with any of the               21       A. Most of the fentanyl, that I know
    22   companies on that list?                              22   of, most of it comes from China. That's where
    23      A. I've heard of them before, yes.                23   it's produced I believe. And -- but we're also
    24   Some of them, not all of them.                       24   seeing it coming in from the Mexican cartels
    25      Q. Which ones have you heard of?                  25   also.
                                                    Page 83                                                  Page 85
     1      A. Purdue, Johnson & Johnson, Discount             1       Q. Do you know why Mr. Gingell did not
     2   Drug Mart, CVS, Rite Aid, Walgreens.                  2   want to disclose the media that he and DEA boss
     3          I may have seen those other ones               3   Keith Martin agree that the heroin problem will
     4   before, but I don't recall.                           4   continue to grow due to web-based trafficking
     5      Q. Okay. Had you encountered any of                5   out of China, Asian and European countries?
     6   these companies in the course of your police          6           MS. DEBROSSE: Object to form.
     7   work?                                                 7           THE WITNESS: I don't know why -- I
     8      A. I may have dealt with Johnson &                 8   mean I can't answer for him. So it's difficult
     9   Johnson, but it was with a totally nonrelated         9   for me to say.
    10   thing. It had to with a baby formula case, a         10           (Deposition Exhibit 4 was marked for
    11   theft of baby formula.                               11   identification.)
    12      Q. Other than that, you've had no                 12           BY MR. ROMAN:
    13   dealing with any of these entities in your           13       Q. Sergeant Baeppler, I'm handing you
    14   police work?                                         14   what has been marked as Baeppler Exhibit 4.
    15      A. Not that I recall.                             15   It's a one-page document bearing production No.
    16      Q. And I take it you are not aware of             16   CLEVE 000179751.
    17   any of them being involved in the manufacture,       17           Have you seen this document before?
    18   distribution or sale of heroin?                      18       A. Yes.
    19          MS. DEBROSSE: Object to form.                 19       Q. So why don't we -- as you'll see
    20          THE WITNESS: Not that I'm aware of.           20   there, there are two e-mails on the page. I
    21          BY MR. ROMAN:                                 21   want to focus on the e-mail that you sent on
    22      Q. Do you have an understanding from              22   May 25, 2018, to Mr. Gingell.
    23   where the heroin that you've encountered in          23           Do you see that?
    24   Cleveland comes from?                                24       A. Yes.
    25      A. I have some ideas where it comes               25       Q. And you sent this e-mail to him on

                                                                                               22 (Pages 82 - 85)
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Case: 1:17-md-02804-DAP Doc #: 1974-9 Filed: 07/24/19 23 of 108. PageID #: 211327


                                                    Page 86                                                   Page 88
     1   or about that date in the ordinary course of          1   in here to be accurate, correct?
     2   business, correct?                                    2      A. Yes, I do.
     3      A. Yes.                                            3      Q. Now, in this e-mail you discuss ten
     4      Q. Now, I'd like to direct your                    4   overdoses, correct?
     5   attention to the first line of that e-mail            5      A. Yes.
     6   where you say: "Since Wednesday we've seen a          6      Q. Of those ten, only one of those
     7   sharp uptick in the overdoses reported on the         7   involved pills, correct?
     8   east side."                                           8      A. Yes.
     9          Do you see that?                               9      Q. And is that typical that, you know,
    10      A. Yes, I do.                                     10   a small percentage, you know, on the order of
    11      Q. And do you know to what that was               11   10 percent, of overdoses involve pills?
    12   referring?                                           12           MS. DEBROSSE: Object to form.
    13      A. Yes.                                           13           THE WITNESS: That would be -- that
    14      Q. What was that?                                 14   we believed to be pills. This -- you know,
    15      A. There had been several -- as I say,            15   when we get these -- when you notice it says
    16   "spike." There has been several overdoses in a       16   "heroin" or it says "crack," it doesn't really
    17   certain area. It's cause for concern because I       17   say I mean heroin/fentanyl or crack/fentanyl.
    18   mean obviously people are dying or they're near      18           So I'm merely assuming here that
    19   dying.                                               19   this is what they are. So yes, from what you
    20          It's also an officer safety issue.            20   can see from here, the -- like specifically the
    21   Because many officers are aware that there's         21   one on Fulton, pills and K2.
    22   fentanyl in all -- in virtually all the drugs        22      Q. Well, with nine of the ten cases you
    23   that we come across now. And if you touch            23   have no basis to believe that pills were
    24   fentanyl and you don't have the right                24   involved, correct?
    25   protection, you could possibly overdose.             25      A. Correct.
                                                    Page 87                                                   Page 89
     1           So obviously that's why I said, you           1       Q. And I'm asking is that typical, that
     2   know, it should be put out there to wear the          2   in most overdose cases there's no evidence that
     3   neoprene gloves when handing.                         3   pills were involved?
     4      Q. And where did you get the                       4       A. I can't tell you whether the pills
     5   information that's set forth in this e-mail?          5   are involved or not because I don't know when
     6   Where did it come from?                               6   they crush them. I mean like we have a powder.
     7           MS. DEBROSSE: Object to form.                 7   I'd love to be able to answer your question.
     8           THE WITNESS: It came from my                  8   But definitively, if it's a crushed powder --
     9   detectives.                                           9   it's a powder, it could have been a pill at one
    10           BY MR. ROMAN:                                10   point in time. We just don't know.
    11      Q. Do you know which detectives?                  11       Q. Okay. But here you're making --
    12      A. Not offhand. I mean I was on the               12       A. Because.
    13   fatals.                                              13       Q. Sorry. I shouldn't have interrupted
    14      Q. I'm sorry.                                     14   you.
    15           What about the fatals?                       15       A. No. I shouldn't have interrupted
    16      A. I would have responded -- I can tell           16   you. Go ahead, sir.
    17   you for sure that two of the fatals, if not all      17       Q. Well, I think I was the one
    18   of them -- I'm not positive about the Fulton         18   interrupting you, but I will continue.
    19   one, but I think was there too.                      19           Okay. Here, based on all your years
    20      Q. So some of these are based on                  20   of experience, you have made judgments as to
    21   personal experience, and some are your               21   what drugs you believe were involved in the
    22   detectives reporting to you in -- as part of         22   overdose, correct?
    23   their responsibilities, correct?                     23       A. Yes.
    24      A. Yes.                                           24       Q. Okay. And in nine of the ten cases,
    25      Q. And you believe all the information            25   pills weren't involved, correct?

                                                                                               23 (Pages 86 - 89)
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Case: 1:17-md-02804-DAP Doc #: 1974-9 Filed: 07/24/19 24 of 108. PageID #: 211328


                                                    Page 90                                                  Page 92
     1       A. That I can tell, yes.                          1      Q. And that's not an opioid, is it?
     2       Q. And that's what you do.                        2      A. No.
     3       A. Yes. With this -- with these                   3      Q. Directing your attention to the
     4   current cases at that time, yes, this is what I       4   third line, you see there's a parenthetical:
     5   believe them to be.                                   5   "Likely a crack fentanyl mix"?
     6       Q. And did you subsequently learn that            6          Do you see that?
     7   any of your preliminary assessments were              7      A. Yes, I do.
     8   incorrect?                                            8      Q. And that's something that you find
     9       A. I don't remember what the end result           9   with some frequency, isn't it, that fentanyl is
    10   was. But I believe that my -- I'm sure that          10   mixed in with other drugs?
    11   the -- the lab results would show that there's       11      A. In Cleveland, fentanyl is mixed with
    12   -- you know, they could break down the               12   almost every other drug. I've -- we've had
    13   compounds that were found. I don't know what         13   fentanyl mixed with everything now. Marijuana,
    14   they are offhand.                                    14   heroin, coke, crack. It's my experience that,
    15       Q. So what I'm asking is -- you know,            15   yeah, it's mixed with a lot of things.
    16   whether it's based on your preliminary               16          It's not mixed with -- every single
    17   assessment or after you've had confirmation          17   time you buy marijuana, there's not fentanyl in
    18   from the lab -- what percentage of overdoses do      18   it. But you just don't know if it's going to
    19   you find caused by pills as opposed to heroin        19   be in there or not.
    20   or crack or fentanyl or other drugs?                 20      Q. And when people buy these other
    21       A. I don't know how to answer that.              21   drugs -- marijuana, crack, coke -- they may or
    22   Because I don't know specifically what the           22   may not know if that fentanyl is in there,
    23   percentages are. I mean it's kind of hard --         23   correct?
    24   it's next to impossible for me to nail down          24      A. It's my belief, especially when
    25   what the percentages are without looking at all      25   they're buying cocaine or marijuana, that they
                                                    Page 91                                                  Page 93
     1   the lab results.                                      1   believe that there's not any in there. And
     2       Q. Well, you can say for sure, can't              2   there's a number of reasons why it could be in
     3   you, that it's less than half?                        3   there.
     4       A. More than likely, yes.                         4      Q. Okay. But when they -- so even
     5       Q. Can you go to less than a quarter?             5   though that person may overdose on an opioid,
     6       A. I'll stick with less than half.                6   fentanyl, the person taking that drug, the
     7   I'll go on the safe side.                             7   fentanyl -- I mean the marijuana or the coke,
     8       Q. Okay. Did you know the type of                 8   has no idea they're doing opioids, correct?
     9   crushed pill that was involved?                       9      A. That's my impression.
    10            Do you anything -- what was -- what         10      Q. Turning to your last sentence. I
    11   pill had been crushed?                               11   believe this is the -- this refers to the
    12       A. I don't recall.                               12   safety issues that you were talking about
    13       Q. Did you know whether it was a                 13   earlier.
    14   prescription opioid or not?                          14           You say: "I recommend all crack,
    15       A. I don't recall.                               15   cocaine, K2, and heroin confiscated be treated
    16       Q. Reading this e-mail, can you tell             16   as if it were laced with fentanyl and to wear
    17   what it was?                                         17   neoprene gloves when handling."
    18       A. No. Because I don't recall. I mean            18           Is that was you were -- that's the
    19   I -- if there's a crushed pill, it would be          19   safety concern you were expressing earlier?
    20   because of -- probably be part of it wasn't          20      A. Yes, it is.
    21   crushed all the way.                                 21      Q. And this is illicit fentanyl, not
    22       Q. Okay. And then the person who                 22   prescription fentanyl, correct?
    23   overdosed on the pills and K2 -- K2 is               23      A. Yes.
    24   synthetic marijuana, correct?                        24           (Deposition Exhibit 5 was marked for
    25       A. Yes.                                          25   identification.)
                                                                                               24 (Pages 90 - 93)
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Case: 1:17-md-02804-DAP Doc #: 1974-9 Filed: 07/24/19 25 of 108. PageID #: 211329


                                                Page 94                                                Page 96
     1          BY MR. ROMAN:                           1      now. I see there's and squares and triangles.
     2      Q. Sergeant Baeppler, I'm handing you       2         Q. Yeah. I think that's the helpful --
     3   what has been marked as Exhibit 5. It's a      3      I'm color-blind, so this is difficult for me as
     4   multi-page document bearing production Nos. 4         well.
     5   CLEVE 002231597 through 1607.                  5              But if you look at the symbols, I
     6          Have you seen this document before?     6      think that's the helpful part.
     7      A. I may have. I mean I see a lot of        7         A. Okay. I looked at it.
     8   documents. I mean I'm not saying I didn't.     8         Q. Okay. First of all, do you know
     9      Q. But you're familiar with these types     9      what falls under the category "All Opioids Not
    10   of documents?                                 10      Including Fentanyl"?
    11      A. Yes, I am.                              11         A. I have an idea.
    12      Q. Okay. And this is from the Cuyahoga 12             Q. What's that ideas?
    13   County medical examiner's office?             13         A. All other opioids, like we discussed
    14      A. Yes.                                    14      earlier, except for fentanyl. So that would
    15      Q. And Cleveland doesn't have its own      15      include any prescription drugs as well as
    16   medical examiner, does it?                    16      heroin.
    17      A. If they do, I'm unaware of it.          17         Q. Okay. If you look, for example, at
    18      Q. So the medical examiner that you use 18         -- let's go to 2017. And you have the top --
    19   in your overdose cases is the Cuyahoga County 19      the top cause of overdose deaths is fentanyl at
    20   medical examiner, correct?                    20      477.
    21      A. Yes.                                    21              Do you see that?
    22      Q. Do you know who collected the data 22              A. Yes.
    23   that's used in this report?                   23         Q. And then you go next to cocaine at
    24      A. I would imagine the medical examiner 24         349.
    25   or the Medical Examiner's Office.             25              Do you see that?
                                                Page 95                                                Page 97
     1      Q. Do you know how the data were               1      A. Yes.
     2   collected?                                        2      Q. Then you go to all opioids not
     3          MS. DEBROSSE: Object to form.              3   including fentanyl at 250.
     4          THE WITNESS: No. I don't know              4          Do you see that?
     5   precisely how they're collected.                  5          MS. DEBROSSE: Object to form.
     6          BY MR. ROMAN:                              6          THE WITNESS: Yes.
     7      Q. Let's go to Page 601, please.               7          MR. ROMAN: What'd I get wrong
     8   That's -- I'm looking at the Bates number in      8   there?
     9   the lower right-hand corner.                      9          MS. DEBROSSE: I'm trying to find --
    10      A. I got you.                                 10   where are you?
    11      Q. The top of the page says: "Cuyahoga        11          MR. ROMAN: 2017. It's the
    12   County Overdose Deaths 2006 to 2018."            12   second-to-last one.
    13          Do you see that?                          13          MS. DEBROSSE: Ask your question
    14      A. Yes, I do.                                 14   again for me.
    15      Q. And you will see that for 2018 those       15          MR. ROMAN: I was just going down
    16   figures are projected.                           16   the -- maybe -- if you hand me yours, I'll mark
    17          Do you see that?                          17   it up. I'll show you exactly what I'm doing if
    18      A. Yes.                                       18   you hand me yours.
    19      Q. Why don't you take a moment and look       19          BY MR. ROMAN:
    20   at the figures here, and let me know when        20      Q. So you saw the 250 for all opioids
    21   you've had an opportunity to look at that.       21   not including fentanyl. You have 250.
    22      A. I'm having a hard time tracking what       22          Than you have carfentanil of 192.
    23   lines. Because it just looks like -- there's a   23          Do you see that?
    24   gray line and a black line, and I can't really   24      A. Yes.
    25   tell the difference between all of them right    25      Q. And then you have heroin at 106.
                                                                                          25 (Pages 94 - 97)
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Case: 1:17-md-02804-DAP Doc #: 1974-9 Filed: 07/24/19 26 of 108. PageID #: 211330


                                                   Page 98                                                 Page 100
     1          Do you see that?                              1           So let's claw back 00026712 and
     2      A. Yes.                                           2   document 00026712. Under the rules, of course,
     3      Q. Do those numbers seem about right to           3   you can maintain one copy for your record.
     4   you?                                                 4   I'll take the rest back, please.
     5          This is all Cuyahoga County as                5           MR. ROMAN: (Proffered documents.)
     6   opposed to Cleveland.                                6           MS. DEBROSSE: Thank you, sir.
     7          MS. DEBROSSE: Object to form.                 7           MS. BARBER: Are you just clawing
     8          THE WITNESS: I don't know if                  8   back the second page or the first page as well?
     9   they're right or not. I mean because I didn't        9           MR. ROMAN: The first page is not
    10   -- didn't come over until the end of 2017.          10   the issue.
    11          BY MR. ROMAN:                                11           MS. DEBROSSE: The second page is
    12      Q. Let me ask, in your experience in             12   the issue.
    13   Cleveland -- in your experience in Cleveland,       13           MR. McLAUGHLIN: If you're not
    14   if you had to rate the drugs in terms of            14   clawing back --
    15   causing overdose deaths, how would you -- what      15           (Discussion held off the record.)
    16   is the order in which you would put them?           16           MS. DEBROSSE: Let me look at this
    17          What's number one? What's number             17   e-mail. Give me a second. I don't want to
    18   two? What's number three? What's number four?       18   overdesignate and make you guys pissed. So
    19   What's number five?                                 19   just give me a minute, and let me look at this
    20      A. I would put them at -- I would                20   e-mail.
    21   categorize them as drugs that have fentanyl in      21           Let's just redact the e-mail. And
    22   them, including fentanyl, as the number one.        22   we've clawed back the documents that were
    23      Q. How about number two and number               23   produced that I've identified.
    24   three?                                              24           MS. BARBER: Can we have an actual
    25      A. I don't know. I mean -- because I             25   copy of the e-mail.
                                                   Page 99                                                 Page 101
     1   believe that most of the overdoses are related       1          MS. DEBROSSE: Sure.
     2   to fentanyl. And so I think almost all of them       2          (Deposition Exhibit 6 was amended.)
     3   have fentanyl in them or another analog that         3          BY MR. ROMAN:
     4   we're unaware of.                                    4      Q. Okay. So, Sergeant Baeppler,
     5          (Deposition Exhibit 6 was marked for          5   Exhibit 6 is now just a one-page document,
     6   identification.)                                     6   CLEVE 000267011.
     7          BY MR. ROMAN:                                 7          Have you seen this document before,
     8      Q. Sergeant Baeppler, I've handed you             8   sir?
     9   what has been marked as Baeppler Exhibit 6, a        9      A. Yes.
    10   two-page document bearing production number         10      Q. Okay. Exhibit 6 is an e-mail from
    11   CLEVE 000267011 and 012.                            11   Quinn Austin to you, with copies to others,
    12          Have you seen this document before?          12   dated April 30 of 2018, correct?
    13      A. They gave you this?                           13      A. Correct.
    14      Q. I gather you have.                            14      Q. And you received this e-mail from
    15          MS. DEBROSSE: Let me see.                    15   Mr. Austin on or about that date in the
    16          THE WITNESS: These are suspects in           16   ordinary course of business, correct?
    17   an -- in active investigations.                     17      A. You are correct.
    18          MS. DEBROSSE: Sergeant, give me one          18      Q. And the e-mail, as you can see,
    19   moment.                                             19   refers to a priority target list.
    20          We're going to claw back this                20          Do you see that?
    21   document. I think we -- under the legislative       21      A. Yes.
    22   privilege, these are active and ongoing             22      Q. Okay. And that target list has been
    23   investigations. I believe Sergeant Baeppler         23   clawed back. And I understand that.
    24   has just testified that this is an ongoing          24          My question is simply are you aware
    25   investigation.                                      25   of any priority targets where those targets
                                                                                             26 (Pages 98 - 101)
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Case: 1:17-md-02804-DAP Doc #: 1974-9 Filed: 07/24/19 27 of 108. PageID #: 211331


                                                  Page 102                                                   Page 104
     1   were selling prescription opioids?                   1   We have ideas. That's it.
     2          MS. DEBROSSE: Subject to the                  2      Q. You anticipated my next question.
     3   legislative privilege, that you not disclose         3           What are your ideas as to how these
     4   anything about any active investigations, you        4   two suspects got the Percocet?
     5   can generally answer that question, Sergeant.        5      A. I can't tell you how because it's
     6          THE WITNESS: I'm unsure if any of             6   still in an active investigation and that could
     7   them had to do with prescriptions. It's              7   kind of give it away.
     8   possible. I can't tell you for sure.                 8      Q. Well, let me ask do you know for a
     9          BY MR. ROMAN:                                 9   fact that these are not counterfeit Percocets
    10      Q. Can you name any priority targets at          10   that they're selling?
    11   any time -- well, strike that.                      11      A. I do not believe they're
    12          What is a priority target?                   12   counterfeit. I believe they're -- I believe
    13      A. Priority targets are suspects that            13   they're absolutely bona fide pills.
    14   are involved with fatal overdoses or a large        14      Q. Can you disclose the basis for that
    15   number of nonfatal overdoses.                       15   belief or not?
    16      Q. And the reason they're priority is            16      A. No.
    17   you want to get them off the street as quickly      17           MS. DEBROSSE: Same instruction.
    18   as possible?                                        18           BY MR. ROMAN:
    19      A. Yes, because they're killing people.          19      Q. Other than these two instances that
    20      Q. Okay. And are you aware of any                20   have arisen in the last two or three months
    21   priority target, in your time at -- in the          21   with respect the Percocets, can you identify
    22   police department, where that target was            22   any -- or not can you identify -- are you aware
    23   selling prescription opioids?                       23   of any priority target of the Cleveland Police
    24      A. I know of at least one that was               24   Department who has been selling prescription
    25   selling prescription opioids, two actually.         25   opioids?
                                                  Page 103                                                   Page 105
     1   But I can't give you their names.                    1      A. Other than those?
     2      Q. I'm not asking for their names, sir.           2      Q. Right.
     3          But when were these people priority           3      A. Not that I know of.
     4   targets?                                             4      Q. And for how long has the Cleveland
     5      A. I'm not sure if they were priority             5   Police Department been keeping priority target
     6   targets for them. But they're priority targets       6   lists?
     7   for the Cleveland Police narcotics unit. And         7          MS. DEBROSSE: Object to form.
     8   this would be in the past, oh, two, three            8          THE WITNESS: This is -- this
     9   months.                                              9   meeting would be like the -- that was the start
    10      Q. And what were they selling, or what           10   of what I knew to be target lists for this
    11   are they selling?                                   11   specific purpose of -- between the DEA and the
    12      A. Percs, Percocets.                             12   HIDI task force.
    13      Q. How did they come to your attention?          13          BY MR. ROMAN:
    14      A. CIs, confidential informants.                 14      Q. I understood.
    15      Q. I'm glad you said that.                       15          But was this -- was the list that
    16          So when you referred earlier to CIs,         16   was clawed back that was attached to the
    17   you were talking about confidential informants?     17   memorandum of --
    18      A. Yes.                                          18      A. This?
    19      Q. How did these two priority targets            19      Q. -- April 30th of 2018, was that the
    20   come to your attention?                             20   first priority target lists, or were there
    21      A. Obviously confidential informants             21   other ones before that?
    22   tells us -- they tell us a lot of things. And       22      A. The first one that I saw.
    23   they specifically told us about some pills that     23      Q. I think there's a reference in there
    24   -- I can only assume where they got them or how     24   to an updated priority target list.
    25   they got them. They may have -- we don't know.      25      A. And --

                                                                                            27 (Pages 102 - 105)
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Case: 1:17-md-02804-DAP Doc #: 1974-9 Filed: 07/24/19 28 of 108. PageID #: 211332


                                                Page 106                                                   Page 108
     1      Q. Do you see that?                             1      Q. You sent and received these e-mails
     2      A. Yes. And I think the DEA may have            2   on or about that date in the ordinary course of
     3   had another list. But this is what I believe       3   business, correct?
     4   -- this was our first meeting where I saw the      4      A. Yes.
     5   list. So if they had another one before that,      5      Q. And Mr. Sekerak is the clinical
     6   I didn't know about it.                            6   quality care manager of the department of
     7      Q. Have you seen priority target lists          7   public safety in the division of the emergency
     8   since this one?                                    8   medical service, correct?
     9      A. Yes.                                         9      A. Yes.
    10      Q. How many of those have you seen?            10      Q. I I'd to direct your attention to
    11      A. A half dozen or so.                         11   your e-mail to Mr. Sekerak, which is the top
    12      Q. They come out roughly once a month?         12   e-mail.
    13      A. I don't meet with them once a month.        13          And the third sentence reads: "The
    14   Whenever I meet with them. Like I say, a half     14   info will greatly help us focus our efforts in
    15   dozen times maybe. But they come out every        15   the next phase of targeting the drug dealers
    16   month; I don't see them every month.              16   involved in the fatal overdoses."
    17      Q. How often do the names change from          17          Do you see that?
    18   list to list?                                     18      A. Yes, I do.
    19      A. If they get arrested, they're taken         19      Q. What information -- strike that.
    20   off the list. Or if they're arrested, then        20          To what information were you
    21   they get out, then sometimes they get put back    21   referring?
    22   on the list.                                      22      A. The NARCAN list.
    23           As long as they're active, and            23      Q. Okay. What is the NARCAN list?
    24   then -- you know, we believe that they're         24      A. NARCAN list is the amount of NARCAN
    25   connected, they'll be on the list.                25   that EMS administered and the locations of
                                                Page 107                                                   Page 109
     1      Q. With respect to the two priority           1     where they're administered is very important us
     2   targets who were selling these Percocets, can    2     to, where the people are picked up at.
     3   you say whether or not they're being             3        Q. Now, in that -- in your e-mail you
     4   investigated for illegal activity?               4     refer to the next phase of targeting the drug
     5      A. Yes.                                       5     dealers.
     6      Q. And they're suspected of committing        6            Do you see that?
     7   crimes, correct?                                 7        A. Yes.
     8      A. Yes. They're committing crimes.            8        Q. To what -- what are the other
     9      Q. So they're not lawfully selling            9     phases?
    10   Percocet.                                       10        A. Well, this would be like a new phase
    11      A. They are not lawfully selling             11     because we didn't have it before. I mean that
    12   Percocets. That's correct.                      12     would be -- that is what I meant by that.
    13          (Deposition Exhibit 7 was marked for     13     Versus before were -- this is just one more
    14   identification.)                                14     resource that's really going to help us
    15          BY MR. ROMAN:                            15     pinpoint. So that would be the next phase.
    16      Q. Sergeant -- I'm handing you what's        16            So this is -- so we could see with
    17   been marked as Exhibit 7. It's a one-page       17     the Exhibit 1 it talks about this meeting that
    18   document bearing production No. CLEVE           18     I had. And this is what we were given because
    19   000267678.                                      19     of that meeting. So I wanted to take it up
    20          Have you seen this document before?      20     another level and target the areas that are
    21      A. Yes.                                      21     having the most problems.
    22      Q. Okay. Exhibit 7 is an e-mail chain        22        Q. This may seem like an obvious
    23   between you and James Sekerak on February 26 of 23     question, but it is, in fact, the drug dealers
    24   2018, correct?                                  24     who are the primary causes of the fatal
    25      A. Yes.                                      25     overdoses.

                                                                                          28 (Pages 106 - 109)
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Case: 1:17-md-02804-DAP Doc #: 1974-9 Filed: 07/24/19 29 of 108. PageID #: 211333


                                                   Page 110                                                 Page 112
     1          People are getting their -- the                1   identification.)
     2   drugs that are causing the overdoses come from        2       Q. Sergeant Baeppler, I'm handing you
     3   drug dealers and not from pharmacies, right?          3   what has been marked as Baeppler Exhibit 8.
     4          MS. DEBROSSE: Object to form.                  4   It's a one-page document bearing production No.
     5          THE WITNESS: The drug dealers are              5   CLEVE 001477582.
     6   the final nail in the coffin of these people's        6           Have you seen this document before?
     7   addiction. All right? I think this whole              7       A. Yes.
     8   things starts somewhere else, but this is where       8       Q. Exhibit 8 is an e-mail dated March
     9   it ends.                                              9   27, 2018, from you to the Ohio Tactical
    10          Yes. The drug dealers are the ones            10   Officers Association, correct?
    11   that sell them fatal doses of drugs, I mean          11       A. Yes.
    12   whether that's cocaine with fentanyl or heroin       12       Q. And you sent that e-mail on or about
    13   with fentanyl or whatever it is.                     13   March 27 of 2018 in the ordinary course of
    14          BY MR. ROMAN:                                 14   business, correct?
    15      Q. Okay. But they're not always just              15       A. Yes.
    16   the final nails in the coffin, right?                16       Q. In the e-mail you write -- and
    17          Sometimes they're the first nails in          17   actually at the -- strike that.
    18   the coffin, correct?                                 18           The person at the Ohio Tactical
    19      A. What you mean by that? I would have            19   Officers Association to whom you were writing
    20   to disagree. Because this isn't the first --         20   was Patrick Fiorilli, correct?
    21   most people this isn't their first rodeo with        21       A. That's correct.
    22   drugs. I mean this -- I mean that would be the       22       Q. And you write: "Pat, as far as the
    23   final nail. The first and final -- if someone        23   narcotics guys go, Klamert, Moran and I are
    24   never did drugs before, and they did this            24   planning on attending and spending a night at
    25   heroin with heroin with fentanyl, that would be      25   the park. I would prefer we go at the
                                                   Page 111                                                 Page 113
     1   the final nail. That's my interpretation of           1   beginning of the presentation. I was also
     2   it.                                                   2   going to talk about the new trends and how we
     3       Q. Well, what I was -- actually, I was            3   are finding half of our cocaine overdoses also
     4   asking a slightly different question. And             4   contain fentanyl and the influx of counterfeit
     5   forgive me if I confused you.                         5   pills containing the fentanyl. This should be
     6          What I was saying is that sometimes            6   followed by the prosecutors and then the
     7   people -- you testified earlier that sometimes        7   intelligence aspect with the analysts. We are
     8   people start because they have an athletic            8   excited to be a part of this event. Let me
     9   injury, they get hooked on whatever                   9   know if there's anything else you need."
    10   prescription drug it is, and eventually they         10          Do you see that?
    11   end up with heroin.                                  11      A. Yes.
    12       A. Yes.                                          12      Q. First of all, so Sergeant Moran is
    13       Q. But some people start off just                13   with -- or Detective Moran is with the
    14   because a drug dealer convinces them to take an      14   Cleveland police department, correct?
    15   illegal drug, correct?                               15      A. Yes, he is.
    16       A. In my experience, it rarely happens           16      Q. And is Mr. Klamert also a detective
    17   where a drug dealer walks up to a person, say,       17   in the Cleveland Police Department?
    18   "Here. Take this drug," and then all of a            18      A. Yes, he is.
    19   sudden they -- that's not how things start off.      19      Q. What division is he in?
    20       Q. Or the friend who has bought drugs            20      A. He is part of the HIDI team.
    21   from a drug dealer gives it to the friend,           21      Q. As is Detective Moran?
    22   says, "Hey, you'll love this. It'll make you         22      A. Yes.
    23   feel great."                                         23      Q. Okay. Direct your attention to the
    24       A. I'm sure that happens sometimes.              24   third sentence about the new trends.
    25          (Deposition Exhibit 8 was marked for          25          Do you see that?
                                                                                            29 (Pages 110 - 113)
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Case: 1:17-md-02804-DAP Doc #: 1974-9 Filed: 07/24/19 30 of 108. PageID #: 211334


                                                   Page 114                                                 Page 116
     1      A. Yes.                                            1   offhand. I mean there's lots of ideas, but...
     2      Q. And it was, in fact, the case that,             2          (Deposition Exhibit 9 was marked for
     3   as of spring of 2018, half of the cocaine             3   identification.)
     4   overdoses that the Cleveland Police Department        4          BY MR. ROMAN:
     5   was finding were also containing -- that the          5      Q. Sergeant Baeppler, I'm handing you
     6   drugs in the person's system also contained           6   what has been marked Baeppler Exhibit 9. It is
     7   fentanyl, correct?                                    7   a two-page document bearing production Nos.
     8      A. That's correct.                                 8   CLEVE 002257384 and 385.
     9      Q. And again, as we discussed earlier,             9          Have you seen this document before?
    10   those people taking the cocaine may never know       10      A. I'm sure I saw it. I don't recall,
    11   that they were also take fentanyl, correct?          11   but I see it now, and I see my name is on it.
    12      A. That's correct.                                12      Q. Okay. So this is an -- Exhibit 9 is
    13      Q. Now, you also refer to the influx of           13   an e-mail exchange from March 20, 2018,
    14   counterfeit pills.                                   14   correct?
    15          Do you see that?                              15      A. Yes.
    16      A. Yes.                                           16      Q. And the top e-mail, the most recent
    17      Q. Those pills are made using fentanyl,           17   one, is an e-mail from Jennifer Gedeon?
    18   correct?                                             18      A. Yes.
    19      A. There's fentanyl in them, yes. It              19      Q. To a whole bunch of folks including
    20   would be -- my experience, we've seen Percocets      20   you, correct?
    21   and OxyContins -- they -- they look like             21      A. Yes.
    22   Percocets or OxyContins, but they actually           22      Q. And do you have any reason to
    23   contain fentanyl and other binders.                  23   believe that you did not receive this e-mail
    24      Q. And did you say when you started               24   from Ms. Gedeon or about March 20, 2018, in the
    25   seeing the counterfeit pills?                        25   ordinary course of business?
                                                   Page 115                                                 Page 117
     1          I think you testified earlier about            1      A. I have no reason to believe I did
     2   that. You said in the last year you --                2   not receive it.
     3      A. I've seen a lot in the last year, so            3      Q. Thank you for fixing the bad
     4   yes. More than -- you know, I knew that               4   question.
     5   they've been around before. Because they've           5          So going to the bottom e-mail, the
     6   had pill presses and so forth. But we haven't         6   -- the -- see there's a reference to -- it
     7   seen them in the numbers that we have recently.       7   says: "The attached FBI SIR pertains to
     8      Q. Do you know who's making them?                  8   fentanyl being disguised as oxycodone
     9      A. I have some ideas.                              9   hydrochloride pills."
    10      Q. What those the ideas?                          10          Do you see that?
    11      A. I think the Mexican cartel is                  11      A. Yes.
    12   producing them in mass. And I think they're          12      Q. What is an FBI SIR?
    13   also being produced locally.                         13      A. I don't know.
    14      Q. Who is producing them locally?                 14      Q. Are you familiar with fentanyl being
    15      A. Drug dealers locally. Local drug               15   disguised as oxycodone hydrochloride pills?
    16   dealers.                                             16      A. Yes, I do. Or I'm familiar.
    17      Q. And do you know why there would be             17          In thinking further on your question
    18   an influx of counterfeit pills?                      18   as to why they're doing pills, it's probably
    19          Is it because there are fewer                 19   because -- twofold. That normally people think
    20   prescription pills out in the streets now, or        20   that pills are pharmaceutical grade; they're
    21   what's your theory?                                  21   pure and can be trusted. And so that's why
    22      A. Frankly, I -- I don't know why                 22   people may like them, for that reason alone.
    23   they're being produced like that. I can't            23          Or it's just another way to disguise
    24   answer that. I mean I know that they're out          24   a drug. So if a police officer would pull them
    25   there. I can't really say why. Not off -- not        25   over, the police officer would think it's just

                                                                                            30 (Pages 114 - 117)
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Case: 1:17-md-02804-DAP Doc #: 1974-9 Filed: 07/24/19 31 of 108. PageID #: 211335


                                                 Page 118                                                  Page 120
     1   a prescription pill and nothing more, nothing       1      Q. Okay. As you can see, this is a
     2   less, which may be totally legal to have,           2   document entitled "Narcotics Realignment," and
     3   versus a fentanyl pill is not.                      3   the date is November 25 of 2012, correct?
     4       Q. But why would that just have started         4      A. Yes.
     5   in -- or really started to get going in the         5      Q. Are you familiar what was -- what
     6   last year or so?                                    6   realignment was being done within the narcotics
     7       A. I couldn't tell you. It's a new              7   unit in November of 2012?
     8   trend. That's what we're seeing.                    8      A. Yes.
     9       Q. How do you identify the counterfeit          9      Q. What was that -- what was the nature
    10   pill? How do you determine it's counterfeit?       10   of that realignment?
    11       A. It has to be tested in the lab.             11      A. Like I would be doing interdiction
    12   Sometimes I can look at a pill; I could tell       12   versus my other -- so I went -- basically from
    13   it's counterfeit just because of the way it's      13   there I went directly from working hand in hand
    14   made. Sometimes, if you break it open, it's        14   with the gang unit, and then we'd do
    15   like white on the inside -- or it's -- the         15   interdiction, which I would do -- would mean I
    16   color would be the same throughout, versus a       16   would spend lots of time that FedEx and mail
    17   authentic pill would be white on the inside and    17   terminals. And we'd be looking for packages
    18   blue on the outside or something along those       18   coming through containing drugs and/or money.
    19   lines.                                             19      Q. How could you tell that?
    20           Or the imprint is not crisp. It            20      A. How could I tell what?
    21   doesn't -- you know, it's -- and the whole         21      Q. What packages contained drugs or
    22   process on how they press pills is they            22   money.
    23   literally press them. And sometimes it's not a     23      A. A number of factors. The size of
    24   -- you know, they got a substandard press.         24   the package, the way it's packaged, the
    25           Some of them are really good. Some         25   addresses, the names on the addresses. I mean
                                                 Page 119                                                  Page 121
     1   of the pills look really good, and you can't        1   there's a number of factors.
     2   tell the difference if they're side by side         2          And when everything adds up, then
     3   with an authentic pill.                             3   you have a drug dog sniff the package. And if
     4       Q. And when they're really good, the            4   the dog hits on it, then you get a search
     5   people using them don't know they're taking         5   warrant, open up the package, see if there's
     6   fentanyl, correct?                                  6   drugs in there. Every time that I've known
     7       A. Sometimes they do. I don't know. I           7   there's been drugs in there then.
     8   -- you know what? I'm sure some people do, and      8          And then, you know, we would attempt
     9   some people don't. That's my experience.            9   to deliver the package.
    10           (Deposition Exhibit 10 was marked          10      Q. Now, this is a bit of a detour here,
    11   for identification.)                               11   but sometimes you got money from this?
    12           BY MR. ROMAN:                              12          You would -- you would get packages
    13       Q. Sergeant Baeppler, I'm handing you          13   of money?
    14   what has been marked as Baeppler Exhibit 10.       14      A. On the outbound. That would be
    15   It's a three-page document. My copy doesn't        15   you're looking for something else. So in
    16   have Bates numbers on it.                          16   Cleveland how it works is we're a destination
    17           Can I get that back from you so I          17   drug point. Drugs aren't produced here,
    18   can put that on the record? Thank you.             18   especially not marijuana. And that's what most
    19           It's CLEVE 000011161 through 63.           19   of this is coming -- you know, you have a lot
    20           Have you seen this document before?        20   of marijuana, cocaine and heroin getting
    21       A. I don't remember seeing it, but I --        21   delivered through the mail.
    22   I'm reading it now. I could have seen it at        22          And so it's delivered from other
    23   some point in time.                                23   areas, sent here. And then people have to get
    24       Q. Have you had a chance to review it?         24   their money back another way. You can do it
    25       A. Yes.                                        25   with crypto currency, or they'll send cash, or

                                                                                           31 (Pages 118 - 121)
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Case: 1:17-md-02804-DAP Doc #: 1974-9 Filed: 07/24/19 32 of 108. PageID #: 211336


                                                 Page 122                                                  Page 124
     1   they will literally put it on themselves and        1      Q. Was the focus of the unit on all
     2   fly back with the money. Because it's --            2   drugs, or were there certain drugs on which you
     3   money's not illegal.                                3   were particularly focused?
     4          And so people -- you know, some              4      A. All drugs.
     5   people would prefer to send it in the mail.         5      Q. What did you primarily find?
     6   And so you'd look for it, and you look for          6          You said marijuana.
     7   certain characteristics from like emanating         7      A. Marijuana, cocaine, heroin.
     8   address to the end address, and see if the          8      Q. Did you see the heading N-O-L-E-T-F
     9   names match up.                                     9   on the first page?
    10      Q. Do you have a sense of how much cash         10      A. Yes.
    11   the police department has seized from illegal      11      Q. And that stands for Northern Ohio
    12   drug buys?                                         12   Law Enforcement Task Force, correct?
    13          MS. DEBROSSE: Object to form.               13      A. Yes.
    14          Go ahead.                                   14      Q. And the Cleveland Police Department
    15          THE WITNESS: I don't know. I don't          15   is a participant in that task force, correct?
    16   -- do you know why I don't know? Because I         16      A. Yes.
    17   don't count the money. Like I don't count the      17      Q. And that task force is aimed at
    18   money like that. I don't keep track of how         18   dismantling drug organizations, correct?
    19   much money we get. That's irrelevant to me.        19      A. Correct.
    20          I don't -- I don't do my job from --        20      Q. If you look under the section, it
    21   to see how much money I can take from people.      21   appears that the seizures were principally of
    22   So I don't keep track of it.                       22   marijuana and heroin, correct?
    23          BY MR. ROMAN:                               23      A. On -- at the first page, correct?
    24      Q. But do you know what happens to the          24      Q. Yes.
    25   money that's seized?                               25      A. Primarily, yes. I think there was
                                                 Page 123                                                  Page 125
     1      A. I wish I did.                              1      also some ectasy in there, but -- as well as
     2      Q. Do you know if it goes to pay off --       2      some heroin. But I don't see it on here. It
     3   pay for police department operations or...       3      wouldn't be nearly as much as the cocaine or
     4          MS. DEBROSSE: Object to form.             4      marijuana though.
     5          THE WITNESS: I don't know where it 5                Q. Do you know if they ever seized any
     6   goes.                                            6      prescription opioids?
     7          BY MR. ROMAN:                             7         A. I don't recall. It's possible.
     8      Q. So going back to Exhibit 10, there's       8         Q. Go, please, to the bottom of the
     9   a reference in there to, as you know,            9      second page, the very last sentence. It says:
    10   interdiction.                                   10      "Due to recent trends in pharmaceutical drug
    11          Was there an interdiction unit?          11      abuse, the compliance unit frequently handles
    12      A. Yes. That would be -- I was with          12      pill cases that lead to heroin traffickers."
    13   Lieutenant Purcell, myself, Detective Cuadra, 13                Do you see that?
    14   Tommy Hall, Frank Lake, Pat Andrejeak.          14         A. Yes.
    15      Q. Do you know when it started and why? 15              Q. How did the -- or how does the
    16      A. It was just a realignment. Kind of        16      compliance unit investigate pill cases that
    17   went with the flow. And, you know, I was        17      lead to heroin traffickers?
    18   getting promoted to sergeant at the time. I     18         A. They're both opiates. And so they
    19   was just waiting.                               19      kind of go hand in hand. Typically, in my
    20      Q. Do you know why they started the          20      experience, people that are addicted to opiate
    21   interdiction unit in 2012 and why not sooner or 21      pills -- or I'm sorry -- opioid pills, they
    22   why not later?                                  22      generally go to heroin eventually. They don't
    23          MS. DEBROSSE: Object to form.            23      -- I mean, it's -- it's rare for someone to
    24          THE WITNESS: I don't know.               24      just stay on pills. It starts with the pills
    25          BY MR. ROMAN:                            25      and ends with heroin, in my experience. Unless

                                                                                           32 (Pages 122 - 125)
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Case: 1:17-md-02804-DAP Doc #: 1974-9 Filed: 07/24/19 33 of 108. PageID #: 211337


                                                  Page 126                                                 Page 128
     1   you're very rich and can afford pills all the        1      A. I don't know.
     2   time.                                                2      Q. Do you know what drugs were
     3      Q. Do you know if that's the experience           3   considered opioids for purposes of inclusion in
     4   of other police -- Cleveland police department       4   this chart?
     5   detectives?                                          5      A. I would imagine all opioids.
     6      A. I would imagine so. I can't speak              6      Q. Both prescription and
     7   for anyone else though.                              7   nonprescription?
     8      Q. So you don't know one way or the               8      A. I don't know. All right? I can
     9   other?                                               9   only assume. And, you know, that's not
    10          MS. DEBROSSE: Object to form.                10   accurate. It'd be just assuming.
    11          THE WITNESS: I answered I can't --           11          So I wasn't privy to how they
    12   I can't speak for anyone else but myself.           12   collected their data before through all these
    13   That's my experience. I would imagine that          13   other years. Because I was in the gang unit.
    14   would be the same as others.                        14          So I don't want to answer one way or
    15          BY MR. ROMAN:                                15   the other because I really -- I want to be as
    16      Q. Do you -- do you know to what the             16   honest and truthful with you on this. So I
    17   reference was "recent trends in pharmaceutical      17   can't give you a definitive answer.
    18   drug abuse"?                                        18      Q. Do you know why data wasn't
    19      A. I don't recall at that point in               19   available before 2013 and, in the case of
    20   time.                                               20   nonfatals, before 2014?
    21      Q. Do you know what kinds of pill cases          21          MS. DEBROSSE: Object to form.
    22   the compliance unit was handling?                   22          THE WITNESS: I don't know.
    23      A. I believe Percocets, Vicodin.                 23          BY MR. ROMAN:
    24      Q. And what's the basis for that?                24      Q. Do you know what qualifies as an
    25      A. That's what I bought. Or I                    25   overdose? How do you make that determination?
                                                  Page 127                                                 Page 129
     1   shouldn't say that's what I bought. That's           1          I know if it's a fatal over -- well,
     2   what I got prescriptions for.                        2   actually I shouldn't even say that. Strike
     3          (Deposition Exhibit 11 was marked             3   that.
     4   for identification.)                                 4          How does Cleveland Police Department
     5          BY MR. ROMAN:                                 5   determine that there's an overdose involved?
     6      Q. Sergeant Baeppler, I'm handing you             6      A. A couple of different things. One,
     7   what has been marked as Exhibit 11, a one-page       7   the police get there or if EMS gets there, EMS
     8   document bearing production No. CLEVE                8   will call if they believe it to be an overdose
     9   000251552.                                           9   for whatever reason. If the person is foaming
    10          Have you seen this document before?          10   at the mouth, they're falling out. If NARCAN
    11      A. I don't believe so.                           11   is given and it's effective, that would be a
    12      Q. Do you recognize it as statistics             12   good way to tell.
    13   maintained by the Cleveland Police Department       13          Personally, when I get calls from
    14   bureau of special service of nonfat and fatal       14   radio and they say the person is overdosing, I
    15   opioid overdoses from -- at least in part from      15   ask if they were given NARCAN. And if they say
    16   2013 to 2017?                                       16   no, then to me that is not an overdose because
    17      A. Yes.                                          17   they didn't need anything to come out. They
    18      Q. And can you please go back to                 18   weren't -- you know, that's -- it's just the
    19   Exhibit 3.                                          19   way it is. Of course, we have a lot of other
    20          Do you have that in front of you?            20   ones we have to respond to that are confirmed
    21      A. Yes, I do.                                    21   overdoses. So that would be one.
    22      Q. Do you know if this is the                    22          The other, fatal overdose, per se,
    23   attachments were the subject of exhibit -- do       23   there's usually some kind of evidence on scene,
    24   you know whether Exhibit 11 was either attached     24   or the conditions don't seem right if they were
    25   to or the subject of Exhibit 3?                     25   cleaned up.

                                                                                           33 (Pages 126 - 129)
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Case: 1:17-md-02804-DAP Doc #: 1974-9 Filed: 07/24/19 34 of 108. PageID #: 211338


                                                   Page 130                                                  Page 132
     1           There's certain things we look for,           1   below suspect? Is that what a person of
     2   foaming at the mouth. It doesn't necessarily          2   interest is?
     3   mean it's a fatal overdose, but that's the            3      A. They could be a suspect.
     4   easiest sign that it could very well be.              4      Q. Okay. And in the notes section, is
     5           There's a syringe sticking out of             5   that where the detective responding to the call
     6   their arm, called a clue. You know, a baggy           6   would record the evidence that was found at the
     7   with a powder in it or whatever else. Anything        7   scene?
     8   that we believe that, you know, drugs could be        8      A. Yes. They would see if they
     9   the cause of the overdose.                            9   collected any evidence or not.
    10      Q. Now, if you look at these                      10      Q. Did they also indicate the types of
    11   statistics, it appears that 2016 was the peak        11   drugs found at the scene?
    12   year for overdoses.                                  12      A. Sometimes they do; sometimes they
    13           Do you see that?                             13   don't. It depends on who the detective is.
    14      A. Not really. Because 2017 was at                14      Q. So where it says just "Evidence
    15   164, and there's still five months to go. So         15   Collected," you don't know what evidence has
    16   2017 would have been the peak year.                  16   been collected?
    17           Because -- you know, you see where           17      A. Not from this.
    18   I'm coming from.                                     18      Q. Where would you go find that
    19      Q. Yes.                                           19   information?
    20      A. Because you're missing five months.            20      A. I would imagine the report.
    21      Q. Okay. Do you have an understanding             21      Q. The police report?
    22   as to why 2016, 2017 were higher than 2015, for      22      A. Yes. It would be in the record
    23   example?                                             23   management system. Because they have to --
    24      A. No, I don't know.                              24   they'd have to enter it as evidence.
    25           (Deposition Exhibit 12 was marked            25          MR. ROMAN: Okay.
                                                   Page 131                                                  Page 133
     1   for identification.)                                  1          (Deposition Exhibit 13 was marked
     2          BY MR. ROMAN:                                  2   for identification.)
     3      Q. Sergeant Baeppler, I'm handing you              3          BY MR. ROMAN:
     4   what has been marked as Baeppler Exhibit 12, a        4      Q. Sergeant Baeppler, I'm handing you
     5   multipage document bearing production Nos.            5   what has been marked as Baeppler 13, multipage
     6   CLEVE 001476069 through 80.                           6   document bearing production Nos. CLEVE
     7          Have you seen this document before?            7   001476081 through 92.
     8      A. No.                                             8          Have you seen this document before?
     9      Q. Are you familiar with this document?            9      A. No. But I know what it is.
    10          Have you seen documents like this             10      Q. This is the same document as the
    11   one?                                                 11   previous one except for the next year, correct,
    12      A. Yes. I mean I've never seen this               12   2018?
    13   before, but I have an idea what this is.             13      A. Yes.
    14      Q. Okay. But what is Exhibit 33 -- I'm            14      Q. Everything else about it is the same
    15   sorry -- Exhibit 12?                                 15   in terms of type of document and types of
    16      A. I believe these are results of                 16   information collected?
    17   heroin overdoses that we went to and some of         17      A. Yes.
    18   the notes therefrom.                                 18      Q. Is it your belief,
    19      Q. Well, let's focus on those notes               19   Sergeant Baeppler, that heroin deaths in
    20   section.                                             20   Cleveland are on the decline?
    21          Do you know what -- it says "Notes,           21      A. It seems to be, yes.
    22   POI."                                                22      Q. When did that decline start?
    23          Do you know what "POI" stands for?            23      A. This year -- or 2018.
    24      A. Persons of interest.                           24      Q. Do you recall when in 2018?
    25      Q. So those -- is that kind of a level            25      A. No.

                                                                                             34 (Pages 130 - 133)
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Case: 1:17-md-02804-DAP Doc #: 1974-9 Filed: 07/24/19 35 of 108. PageID #: 211339


                                                  Page 134                                                  Page 136
     1      Q. Do you have an understanding as to         1       Nonfentanyl-related heroin deaths were at
     2   why heroin deaths are on the decline in          2       lowest levels in a decade."
     3   Cleveland?                                       3              Do you see that?
     4      A. My thoughts are that there's NARCAN        4          A. Yes.
     5   more readily available. And so the -- so         5          Q. Is that consistent with your
     6   people are overdosing, but they're not           6       experience and understanding?
     7   reporting it because they're savings themselves  7          A. Yes. And it would -- yeah. It
     8   or their friends are saving them. That's my      8       would go with my theory that the heroin addicts
     9   belief at least, my idea.                        9       or the people -- the persons addicted to heroin
    10      Q. Do you know whether heroin use is         10       are -- there's a thing called Project DAWN
    11   down?                                           11       where they give away NARCAN on a regular basis.
    12      A. I don't think it's down.                  12              And virtually every home that we go
    13          (Deposition Exhibit 14 was marked        13       into has NARCAN in it. Family members carry
    14   for identification.)                            14       NARCAN if they have a family member that's an
    15          BY MR. ROMAN:                            15       addicted person.
    16      Q. Sergeant Baeppler, I'm handing you        16              That's what I believe is the reason
    17   what has been marked as Exhibit 14. It's a      17       for this. Why they're not -- you're not seeing
    18   one-page document bearing production No. CLEVE 18        all these fatals go to overdoses with heroin is
    19   000182046.                                      19       because of that. And when the fentanyl is
    20          Have you seen this document before?      20       mixed with cocaine, they're not exactly
    21      A. I'm sure I read it. I don't recall        21       expecting that.
    22   specifically if I've seen this one. But I'm     22          Q. And I think you testified earlier
    23   sure on the list. I'm sure I received the       23       that you thought that the heroin deaths went
    24   e-mail.                                         24       down in the last year. This suggests that they
    25      Q. So Exhibit 14 is an e-mail from Hugh      25       actually went down in 2017.
                                                  Page 135                                                  Page 137
     1   Shannon to a whole bunch of folks, on which          1          Does that strike you as inconsistent
     2   even more folks are copied, including you,           2   in any way or just a matter of degree?
     3   correct?                                             3          MS. DEBROSSE: Object to form.
     4      A. Yes.                                           4          You may answer, Sergeant.
     5      Q. And you received this e-mail on or             5          THE WITNESS: Excuse me?
     6   about January 5th, 2018, in the ordinary course      6          MS. DEBROSSE: You may answer.
     7   of business, correct?                                7          THE WITNESS: As I said, I consider
     8      A. Yes.                                           8   that the whole thing with the fentanyl and the
     9      Q. Mr. Shannon is an administrator with           9   heroin was one in the same, you know, with the
    10   the Cuyahoga County medical examiner's officer,     10   -- when people just take strictly fentanyl -- I
    11   correct?                                            11   mean they may think it's -- they may think it's
    12      A. Yes.                                          12   heroin, but it's actually fentanyl.
    13      Q. Directing your attention to the               13          MR. ROMAN: I'll do one more
    14   second paragraph of Mr. Shannon's e-mail, he        14   document, and then we'll break for what I hope
    15   says: "December" -- and this is December of         15   is lunch. Hope it's here.
    16   2017, correct?                                      16          Is that okay with you to do one more
    17      A. Yes.                                          17   document?
    18      Q. -- "ended rather quietly with a               18          THE WITNESS: That'd be great.
    19   number of fentanyl cases, nearly all mixed with     19          MR. ROMAN: I can do more, if you
    20   either cocaine, heroin or both. Overall" --         20   like.
    21   this is now the next paragraph.                     21          THE WITNESS: No.
    22           "Overall, 2017 ended higher than            22          (Deposition Exhibit 15 was marked
    23   2016, not surprisingly. Cocaine was prolific.       23   for identification.)
    24   Heroin began to disappear. Even mixed with          24          BY MR. ROMAN:
    25   fentanyl, the numbers were lower than 2016.         25      Q. Sergeant Baeppler, I'm handing you

                                                                                            35 (Pages 134 - 137)
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Case: 1:17-md-02804-DAP Doc #: 1974-9 Filed: 07/24/19 36 of 108. PageID #: 211340


                                               Page 138                                                  Page 140
     1   what has been marked as Baeppler Exhibit 15, a    1   meeting?
     2   one-page document bearing production No. CLEVE    2      A. Basically to talk about the
     3   000247906.                                        3   detectives, you know, being able to interview
     4          Have you seen this document before?        4   people that come into the emergency room.
     5      A. I don't recall it. I'm reading it           5      Q. Who else was there besides you?
     6   now.                                              6      A. My commander and --
     7          Okay.                                      7      Q. Who is your commander?
     8      Q. Have you had an opportunity to              8      A. Commander Gingell, Deposition Chief
     9   review Exhibit 15?                                9   Harry Bertel. And I don't remember the other
    10      A. Yes.                                       10   people there.
    11      Q. Have you seen this before -- this          11      Q. Mr. or Ms. Gordon was there.
    12   document before?                                 12      A. Yes.
    13      A. No, I have not. Not that I recall.         13      Q. And then didn't we see Mr. Shannon
    14   I do not recall any of this. I recall -- I       14   earlier, in an earlier document?
    15   think I know what meeting they're talking        15           MS. DEBROSSE: Object to form.
    16   about, but I did not see this document.          16           THE WITNESS: Yeah, we did. I don't
    17      Q. Okay. Let's go back a second.              17   recall if he was there or not. He was probably
    18          This is an e-mail from M. Gordon at       18   was, but I don't specifically recall him.
    19   the Cleveland Department of Public Health,       19           BY MR. ROMAN:
    20   correct?                                         20      Q. Did you speak at this meeting?
    21      A. Yes.                                       21      A. I don't think I said a word at this
    22      Q. And it's dated March 6th of 2018,          22   meeting, other than my name.
    23   correct?                                         23      Q. Directing your attention to the
    24      A. Yes.                                       24   first sentence of the text, where it says:
    25      Q. Do you know who Mr. or Ms. Gordon          25   "Overdoses - both death and nonfatals continue
                                               Page 139                                                  Page 141
     1   is?                                             1     to grow at an unprecedented and unrelenting
     2      A. I just know the name Merrill Gordon.      2     rate, overwhelming all our resources."
     3      Q. I --                                      3            Was that, in fact, the case in March
     4      A. Yeah. I believe they were at the          4     2018, that overdoses in Cleveland were
     5   meeting.                                        5     continuing to grow at an unprecedented and
     6      Q. I'm sorry. Who's -- what was the          6     unrelenting rate?
     7   name?                                           7        A. Maybe by what she was looking at.
     8      A. Merrill Gordon.                           8     I'm not sure what she was basing that on -- or
     9      Q. Is that a man or a woman?                 9     he or she was basing that on.
    10      A. I don't recall, honestly. I've only      10        Q. Was that your experience in
    11   met them one time. And there was several -- 11        Cleveland or not?
    12   there was more than this at the meeting. There 12        A. All I knew was that there was a lot
    13   was some doctors there too.                    13     of them.
    14      Q. Do you recall that -- well, first of     14            And to go back, I don't track
    15   all, this memo recaps a meeting on March 6 of 15      every -- on a week-by-week or every month to
    16   2018, correct?                                 16     see, hey, are we above or below or anything
    17      A. I don't know if the meeting was on       17     else like that. Because I'm more concerned
    18   -- yes. It would have to be on the 6th, yes.   18     with completing the cases that we have and
    19   Because that's what they're talking -- a recap 19     trying to track town the drug dealers.
    20   of the meeting.                                20            So every six months I may look and
    21      Q. Where was this meeting held?             21     see what the latest trends are in terms of
    22      A. It was held at Metro Hospital.           22     total numbers. But I'm more concerned with
    23      Q. And you attended this meeting?           23     specific areas and where they are occurring.
    24      A. Yes.                                     24        Q. Well, --
    25      Q. And what was the purpose of the          25        A. So -- so my -- you're asking me what
                                                                                         36 (Pages 138 - 141)
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Case: 1:17-md-02804-DAP Doc #: 1974-9 Filed: 07/24/19 37 of 108. PageID #: 211341


                                                   Page 142                                               Page 144
     1   her experience is, my experience is. I know           1   no.
     2   that you're going to point to this -- you know,       2      Q. You said you were familiar with a
     3   the numbers being down, but that's not what I         3   couple of the ways a diversion occurs.
     4   was looking at.                                       4           What are those ways?
     5           And the other factor, I don't know            5      A. Well, my understanding, if they have
     6   if she was counting -- I'm sure that the              6   a doctor that they believe is prescribing a lot
     7   hospitals received overdoses that we don't get        7   of pills, then, you know -- or -- shouldn't say
     8   notified of. They may have a separate number          8   pills -- but prescriptions, then they will look
     9   that I don't know about. I don't know.                9   into them.
    10       Q. Well, it was your experience, wasn't          10           And a lot of times -- I mean the few
    11   it, that the fatals were going down by 2017,         11   cases I know of him, he's had people on the
    12   2018, wasn't it?                                     12   inside feeding him information. So maybe a
    13       A. My experience is that there were a            13   nurse that works in the office will say, "Hey,
    14   lot of them. I don't want to quantify -- I           14   there's something going on here," or something
    15   can't quantify like that other than we were          15   along those lines.
    16   still busy.                                          16           Or a pharmaceutical company, someone
    17           MR. ROMAN: Okay. Why don't we take           17   that -- one of the employees will say
    18   a lunch break.                                       18   something. Or the pharmacy itself will say,
    19           THE WITNESS: Thank you.                      19   "Hey, we have a problem with one of our
    20           (A short recess was taken.)                  20   employees. We're not sure what's going on."
    21           BY MR. ROMAN:                                21   Something along those lines.
    22       Q. Sergeant Baeppler, this morning we            22           The other thing is I know for a fact
    23   touched on pharmaceutical drug diversion.            23   that he's gotten calls from pharmacists saying,
    24           Do you recall that?                          24   "Hey, we got this prescription here, and it
    25       A. Yes.                                          25   looks a little funky." And it will the go
                                                   Page 143                                               Page 145
     1       Q. What are the ways in which                     1   along those lines.
     2   pharmaceutical drug diversion can occur?              2      Q. So are you aware of like doctor
     3       A. You know, I'm not very well versed             3   shopping? Do you know what that is?
     4   in that area. So I guess the -- it's my               4      A. I know what it is.
     5   understanding that diversion can occur a few          5      Q. What is it?
     6   different ways. But like I said, I don't --           6      A. It's when one person will go to
     7   it's hard for me to get into specifics because        7   several doctors and try and get the same
     8   I've never done an investigation specifically         8   prescription.
     9   like that.                                            9      Q. Are you familiar with prescription
    10       Q. Now, you do supervise Detective               10   forgery?
    11   Prince and Patena, correct?                          11      A. Yes.
    12       A. I supervise them in terms of making           12      Q. That's a form of diversion as well?
    13   sure that they're -- show up on time and that        13      A. Yes. Stolen script pads are not
    14   they do what they're supposed to do. And John        14   uncommon or manufactured script pads.
    15   tells me Detective Prince tells me, as well as       15      Q. Do you consider diversion to be a
    16   Detective Patena, some of the cases that             16   part of the cause of the opioid epidemic in
    17   they're on.                                          17   Cleveland?
    18           But especially Detective Prince              18      A. I'm not sure. Like I said, my grasp
    19   works hand in hands with the DEA. And so he'll       19   of the whole diversion program is limited.
    20   tell me what they have going on. But like I          20      Q. So you don't have a view one way or
    21   said, I don't know exactly what his methods are      21   the other?
    22   that he uses.                                        22      A. Not really.
    23       Q. So you don't really direct their              23      Q. When did you become aware of
    24   investigations?                                      24   prescription drug diversion?
    25       A. I do not direct his investigations,           25      A. When I started in the narcotics,
                                                                                          37 (Pages 142 - 145)
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Case: 1:17-md-02804-DAP Doc #: 1974-9 Filed: 07/24/19 38 of 108. PageID #: 211342


                                                  Page 146                                                  Page 148
     1   there was a detective named Greg Whitney. I          1     A.    That's not mine.
     2   know he was in the diversion program.                2     Q.    Where is your signature?
     3          Once again, I'm more concerned with           3     A.    At the top, "Examined by."
     4   gang investigations and gang members than I am       4     Q.    Ah, sorry. Thank you.
     5   with prescription drugs or even, realistically,      5          And that's on Page 2, correct?
     6   drugs in general.                                    6      A. Yes.
     7          I'm concerned with the weapons that           7      Q. Do you know who approved it?
     8   the gang members are carrying, the violence          8      A. Commander Gingell and another deputy
     9   that they are inflicting on the neighborhoods.       9   chief, but I can't read his signature.
    10   So that's my whole thinking for years,              10      Q. Now, directing your attention to the
    11   especially when I was in the narcotics unit         11   circled sentence on Page 2 or Page -- Page 454
    12   assigned to the gang unit, is that how can we       12   of the Bates number, it says, in the lower
    13   decrease the violence in neighborhoods. And if      13   left-hand corner: "NADDI grant money is
    14   it happened to be through narcotics, then it        14   available to pay for the training."
    15   worked.                                             15          Do you see that?
    16          (Deposition Exhibit 16 was marked            16      A. Uh-huh.
    17   for identification.)                                17      Q. And then below that in handwriting
    18          BY MR. ROMAN:                                18   it says: "NADDI will pay for all cost. No
    19       Q. Sergeant Baeppler, I'm handing you           19   cost to city. Recommend approval."
    20   what has been marked as Baeppler Exhibit 16.        20          Do you see that?
    21   It's a multi-page document bearing production       21      A. Yes, I do.
    22   Nos. CLEVE 002366453 through 61.                    22      Q. And do you see whose signature that
    23          Have you ever seen this document             23   is below that?
    24   before?                                             24      A. The initials of Commander Gingell.
    25       A. Yes.                                         25      Q. Okay. Now, I think we had a brief
                                                  Page 147                                                  Page 149
     1      Q. What is Exhibit 16?                            1   discussion earlier about grants made for
     2      A. It is a request to go to a seminar,            2   training for Cleveland Police Department
     3   looks likes, to the -- for a drug conference         3   detectives.
     4   and seminar issued by the National Association       4           Do you recall that?
     5   of Drug Diversion Investigators, Norfolk,            5      A. Yes.
     6   Virginia.                                            6      Q. This is an instance, is it not,
     7      Q. So this is a request dated -- or               7   where a Cleveland Police Department detective
     8   some time in August 2018 by Detective Patena to      8   was able to get trained in drug policing
     9   you to attend a conference, correct?                 9   without cost to the city, correct?
    10      A. Yes.                                          10      A. That's what it would appear to be,
    11      Q. And you -- that's your signature              11   yes.
    12   approving it on Page 2?                             12      Q. Do you know what -- for what other
    13      A. I didn't necessarily approve the              13   police department activities the department has
    14   traveling thing. All I did is sign it.              14   received grant money?
    15   Because my signature is required for it to go       15           MS. DEBROSSE: Object to form.
    16   to the commander. So I signed it, and I             16           THE WITNESS: Not offhand. I'm sure
    17   forward it to the commander without making a        17   that they've received plenty. I know that I've
    18   recommendation either way.                          18   received training for gang stuff through other
    19      Q. But that is your signature?                   19   grants.
    20      A. Yes.                                          20           BY MR. ROMAN:
    21      Q. To be clear, your signature is on             21      Q. And how about specifically with
    22   the bottom of the second page on the lower          22   respect to drug programs; do you know how much?
    23   right-hand corner?                                  23      A. I don't know how much money the
    24      A. Whose? You're asking if it's mine?            24   city's received from grants.
    25      Q. Yes.                                          25           MR. ROMAN: Okay.

                                                                                           38 (Pages 146 - 149)
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Case: 1:17-md-02804-DAP Doc #: 1974-9 Filed: 07/24/19 39 of 108. PageID #: 211343


                                                   Page 150                                                                 Page 152
     1          (Deposition Exhibit 17 was marked              1   Patena use OARRS?
     2   for identification.)                                  2     A    I believe they do
     3          BY MR. ROMAN:                                  3     Q    So you view it as something that
     4      Q. Sergeant Baeppler, I've handed you              4   could be used to detect diversion, but you're
     5   what has been marked as Exhibit 17, which is a        5   not involved in diversion, correct?
     6   two-page document to which is attached a much         6     A    No I mean my primary
     7   longer document. The two-page document bears          7   responsibility is HIDI I take care of
     8   production No. CLEVE 000266813 and 814. And           8   day-to-day overdoses, fatal, nonfatal and
     9   the attachment is CLEVE 000266815 through 875.        9   investigations going with that And that's
    10          Have you seen this document                   10   very -- it consumes most of my time, almost all
    11   before -- these documents before?                    11   my time
    12      A. No. I may have received an e-mail,             12         MR ROMAN: Thank you,
    13   but I certainly didn't read all that. I don't        13   Sergeant Baeppler
    14   deal with grants. I never had. And there             14         With respect to McKesson, Aseem here
    15   would be no reason for me to start, especially       15   is going to continue the examination
    16   with something as lengthy as this.                   16         THE WITNESS: Okay
    17      Q. I don't blame you.                             17         (Discussion held off the record )
    18          So let's start with the cover                 18   FURTHER EXAMINATION BY COUNSEL FOR DEFENDANT
    19   e-mail. That's an e-mail dated May 10, 2018,         19           McKESSON CORPORATION
    20   from Mr. Perhacs of the Ohio High Intensity          20         BY MR PADUKONE:
    21   Drug Trafficking Area to you, correct?               21     Q    Sergeant, have you ever had any
    22      A. Yes.                                           22   discussions with city officials about the
    23      Q. You received that e-mail on or about           23   opioid problem in Cleveland?
    24   that date in the ordinary course of business?        24     A    I think we have gone over I've been
    25      A. Yes.                                           25   at some meetings

                                                   Page 151                                                                 Page 153
     1       Q. And I'll represent to you that, if             1        Q. So I recall we discussed a meeting
     2   you click the link at the bottom of the bottom        2     with Merrill Gordon.
     3   e-mail on that page, what you get is the              3            Are there any other meetings you can
     4   attachment.                                           4     recall that you've been in with city officials?
     5           Do you understand that?                       5        A. Yeah. There's the other meeting
     6       A. Yes.                                           6     that we also discussed with the EMS people.
     7       Q. Do you know whether the police                 7        Q. So other than those two meetings
     8   department's ever applied for a Bureau of             8     that we've already discussed, have there been
     9   Justice assistance grant?                             9     any other meetings where you discussed the
    10       A. No, I don't know.                             10     opioid issue with --
    11       Q. Different subject.                            11        A. There may have been, but not that I
    12           Are you familiar with the Ohio               12     can recall. You may not get this, but I don't
    13   Automated Rx Reporting System, OARRS?                13     like meetings. I don't like being here. I
    14       A. I know what it is. I've never used            14     like being on the road. I like doing what I'm
    15   it.                                                  15     supposed to be doing. And so meetings aren't
    16       Q. What is it?                                   16     my thing, and I frankly avoid them.
    17       A. I'm not certain, but what I believe           17        Q. Is there anyone else within the
    18   it to be is it's a log of people getting             18     Cleveland Police Department who has
    19   controlled substances that -- you know, that --      19     responsibilities for these types of meetings?
    20   it's a way to track to make sure that people         20            MS. DEBROSSE: Object to form.
    21   are not abusing or doctor shopping or something      21            THE WITNESS: I'm sure there is. My
    22   along those lines.                                   22     commander would handle most of those.
    23           That may be wrong, but that's my             23            BY MR. PADUKONE:
    24   perception of it.                                    24        Q. And that's Commander Gingell?
    25       Q. Do you know if Detectives Prince and          25        A. Yes.
                                                                                                               39 (Pages 150 - 153)
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Case: 1:17-md-02804-DAP Doc #: 1974-9 Filed: 07/24/19 40 of 108. PageID #: 211344


                                                   Page 154                                                 Page 156
     1      Q. Have you ever requested additional        1         an overdose. I don't want anyone around me,
     2   resources or equipment for the narcotics unit? 2          you know, to accidentally overdose and me to be
     3      A. I may have. I ask for a lot of            3         powerless about it.
     4   things.                                         4               So no, I'm not going to wait for
     5      Q. Do you recall the first time that         5         anything, for that matter. I'm going to get it
     6   you made a request?                             6         as soon as I can, actually by any means
     7      A. No.                                       7         necessary, short of stealing.
     8      Q. Do you recall the last time you made      8            Q. So when you said you got the NARCAN
     9   a request?                                      9         on your own, was it just for yourself, your
    10      A. No.                                      10         personal use as an officer, or for --
    11      Q. Do you recall the types of requests      11            A. It was for me to carry.
    12   that you've made?                              12               MS. DEBROSSE: Object to form.
    13      A. No. If you can give me something to 13                    Go ahead.
    14   refresh my memory, that would be great. But I 14                BY MR. PADUKONE:
    15   can't -- those are kind of mundane things to   15            Q. For you to carry?
    16   me, and I don't keep track of them.            16            A. It was for me to carry and to have
    17      Q. Have you ever, for example,              17         with me on my person wherever I went.
    18   requested NARCAN?                              18            Q. Did you also get it for your
    19      A. Yes.                                     19         narcotics unit colleagues?
    20      Q. When did you make that request?          20            A. Most of them already had it.
    21      A. I don't recall. I ended up getting       21            Q. And do you know where they got it
    22   it on my own.                                  22         from?
    23      Q. Who did you make that request to?        23            A. No.
    24      A. I don't recall.                          24            Q. I have a few more questions about
    25      Q. Are there any other resource you've      25         NARCAN.
                                                   Page 155                                                 Page 157
     1   requested?                                            1          Did you receive any training to
     2      A. I'm sure I have. I don't recall                 2   administer NARCAN?
     3   every time I've made a request for anything. I        3      A. I believe I got it on-line.
     4   mean there's -- like I said, you're going to          4      Q. Was this training sponsored by the
     5   have to be -- you're going to have to refresh         5   Cleveland Police Department?
     6   my memory or something here.                          6      A. I'm not sure who it was sponsored
     7      Q. So you mentioned that you had to get            7   by. I think it might have been sponsored by
     8   the NARCAN on your own.                               8   the state. I could be wrong.
     9      A. I did. I'm kind of resourceful that             9      Q. Are you aware of what costs were
    10   way.                                                 10   associated with that treating program?
    11      Q. Was it because, when you put in the            11      A. I'm not.
    12   request, you didn't get NARCAN from the city?        12      Q. Was this a training that was
    13      A. I did get it -- I mean I got it from           13   required for all officers?
    14   EMS. I went to them. I explained the -- it           14      A. I think it was, but I'm not
    15   was when I first got here. I go, "Hey, I need        15   positive.
    16   some," explained why I needed it. They               16      Q. Do you know how the police
    17   understood, and I got it.                            17   department obtained NARCAN for its officers?
    18      Q. So when you say you got it on your             18      A. No.
    19   own, you got it from EMS?                            19          MS. DEBROSSE: Object to form.
    20      A. Yeah. I directly went to them and              20          BY MR. PADUKONE:
    21   said, "I'd like to have it," you know, and that      21      Q. Do you know whether they purchased
    22   was it. It wasn't some huge impediment like          22   it?
    23   that. But, you know, I'm not -- it's not             23      A. I don't know.
    24   something that you want to wait around for. If       24      Q. Previously we had looked at NARCAN
    25   I'm dealing with fentanyl, I don't want to have      25   use numbers.

                                                                                            40 (Pages 154 - 157)
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Case: 1:17-md-02804-DAP Doc #: 1974-9 Filed: 07/24/19 41 of 108. PageID #: 211345


                                                   Page 158                                                 Page 160
     1          Do you recall looking at that                  1      A. I was focused on gang stuff.
     2   exhibit?                                              2      Q. But you agree that, with NARCAN,
     3          You get weekly updates from EMS                3   fewer people overdose?
     4   about NARCAN usage; is that right?                    4      A. I still think they overdose. I
     5       A. Yes.                                           5   think the NARCAN -- I think the -- well, for
     6       Q. Is that a method by which the city             6   sure the NARCAN saves people from overdosing.
     7   would track NARCAN usage?                             7   But if they don't overdose, it doesn't do
     8       A. I don't know --                                8   anything to you. I mean if you take a NARCAN,
     9          MS. DEBROSSE: Object to form.                  9   it doesn't -- I mean it's not going to do
    10          THE WITNESS: I don't know how they            10   anything unless you're actually overdosing.
    11   -- other people do their tracking unless I'm --      11          Follow?
    12   yeah. I don't know -- I can't tell -- I can't        12          (Deposition Exhibit 18 was marked
    13   tell how anyone else tracks or other                 13   for identification.)
    14   departments. I don't know what their info is.        14          BY MR. PADUKONE:
    15          BY MR. PADUKONE:                              15      Q. I'm handing you a document marked
    16       Q. Does the Cleveland Police Department          16   Exhibit 18. And it is a document Bates
    17   track its NARCAN usage?                              17   numbered CLEVE 000267663. And it's an e-mail
    18       A. I'm not sure who tracks it. I'm not           18   dated April 19th, 2018 sent from you to James
    19   -- I'm not privy to that info. They may; they        19   Sekerak.
    20   may not. I don't know.                               20          Do you recall sending this e-mail?
    21       Q. Do you track your NARCAN usage?               21      A. I don't recall the exact time. But
    22       A. We've never -- we haven't used it.            22   yes, I'm sure I sent it. That's me. That's
    23   No one in my unit since I've been here has used      23   how we talk or write.
    24   it.                                                  24      Q. So this is an e-mail you would have
    25       Q. And that's been how long now?                 25   sent in the ordinary course of your business on
                                                   Page 159                                                 Page 161
     1          I know we've been through this                 1   April 19th?
     2   before, but...                                        2      A. Yeah. And I think I did figure out
     3      A. A year and a few months.                        3   what caused the sharp decrease.
     4      Q. Are you aware that Cleveland was                4      Q. And what is that?
     5   slower than other police departments in having        5      A. Project DAWN.
     6   its officers carry NARCAN?                            6      Q. And you touched on this earlier, but
     7          MS. DEBROSSE: Object to form.                  7   can you explain what Project DAWN is?
     8          THE WITNESS: I don't know what -- I            8      A. Project DAWN is -- they give out
     9   don't know what other police departments are          9   NARCAN in little blue packets. And they give
    10   doing. Once again, you know, I know that             10   -- and they also tell detail on how to get
    11   you're going on some off these things.               11   treatment and so forth.
    12          I was in the gang unit. I -- and if           12          But it's -- they give away NARCAN
    13   you're aware, Cleveland has a real gang              13   for free. And you give it to family members.
    14   problem. And there's over 130 homicides every        14   Anyone who asks for it pretty much gets it.
    15   year for the last three or four years. It's          15          And I -- it's my experience that --
    16   very violent. That's what I'm concerned with.        16   and from what I've been told through people
    17   That's what I've been concerned with until I         17   that are addicted, is that -- let's say the
    18   came there.                                          18   three of us are heroin addicts. What will
    19          So in terms of slower departments or          19   happen is you two will do heroin. You'll shoot
    20   anything else, I couldn't tell you what other        20   up or snort it, however. I'll sit back and
    21   departments are doing drug-wise really either        21   watch you guys. If neither one of you fall out
    22   for the most part.                                   22   or start foaming at the mouth, then I know it's
    23      Q. Because you're focused on --                   23   okay. Then -- but I'm waiting with the NARCAN
    24      A. Before I was -- yes.                           24   in case it does happen. And then I'll inject
    25      Q. I'm sorry. Go ahead.                           25   myself because I'm under the impression that

                                                                                            41 (Pages 158 - 161)
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Case: 1:17-md-02804-DAP Doc #: 1974-9 Filed: 07/24/19 42 of 108. PageID #: 211346


                                                   Page 162                                                 Page 164
     1   I'll be okay.                                         1   obviously. What I think, I think the problem
     2           And so that would be a -- considered          2   was already started before.
     3   a NARCAN party, which has been -- you know,           3          Once again, I'm going to go back to
     4   that's how it was explained to me.                    4   what started this. Okay? What I believe
     5           And so I think -- and so instead of           5   started it, at least. With the pills. You
     6   calling -- and so let's just say that one of          6   hook someone on an opioid. Now they're hooked
     7   you did overdose. I can be right there with           7   on it, and now they're going to try and do
     8   the NARCAN, and I can save you.                       8   whatever they can to continue that. So it's
     9           In the meantime, EMS is not called            9   just more of a continuation.
    10   for that. So there's no way that we can track        10       Q. How do you explain the instances
    11   that. That's my opinion.                             11   where an overdose victim is buying cocaine but
    12       Q. So what is it that you meant when             12   it's been laced with fentanyl?
    13   you wrote that you were trying to figure out         13          Because those people were not
    14   what caused a sharp decrease -- and you just         14   looking to buy an opioid; isn't that right?
    15   explained what you think was the reason -- but       15          MS. DEBROSSE: Object to form.
    16   what did you money by "sharp decrease"?              16          THE WITNESS: What is your question?
    17           MS. DEBROSSE: Object to form.                17          BY MR. PADUKONE:
    18           THE WITNESS: Exactly what that is,           18       Q. So you've testified many times today
    19   a sharp decrease in the amount of NARCAN             19   that your belief is that there's a link between
    20   administered.                                        20   prescription pills, which lead to people
    21           BY MR. PADUKONE:                             21   becoming addicted to those pills --
    22       Q. So, Sergeant, you've been in the              22       A. Uh-huh.
    23   police department for over 20 years now, almost      23       Q. -- and then eventually they turn
    24   25 years. And you've testified earlier that          24   towards heroin.
    25   drug abuse has been a problem in Cleveland for       25       A. Uh-huh.
                                                   Page 163                                                 Page 165
     1   quite a while and that the opioid epidemic may        1      Q. But there are some cases where
     2   have started around 2008 or 2009.                     2   people who overdose are purchasing cocaine, and
     3           That's when you saw an increase; is           3   that cocaine has been laced with the fentanyl,
     4   that right?                                           4   correct?
     5           MS. DEBROSSE: Object to form.                 5      A. Yes.
     6           THE WITNESS: That would be when I             6      Q. So are those people who have
     7   noticed that something was going on. Just like        7   previously been addicted to prescription
     8   I would notice that one gang starts showing up        8   opioids?
     9   in a different area. It's a point of interest.        9          MS. DEBROSSE: Object to form.
    10   It's a note. Okay?                                   10          THE WITNESS: They could have been.
    11           That's not where I'm liable to say,          11   But I mean that's not -- of course it's
    12   "Oh, my gosh. There's a huge problem here."          12   possible. But I'm not saying that. I'm not
    13   That's when I noticed there's a shift. That's        13   saying that they all have done that.
    14   what I meant by that.                                14          What I'm saying there is someone
    15           BY MR. PADUKONE:                             15   went to buy cocaine, and there's fentanyl mixed
    16       Q. So given that you noticed a shift             16   in it. That's all I'm saying.
    17   around that time, are there things that you          17          BY MR. PADUKONE:
    18   know now that you wish you had known ten years       18      Q. But in those cases, you can't
    19   ago, around the time that you discovered the         19   necessarily draw a link between prior
    20   shift, that would have helped you address that       20   prescription opioid use --
    21   problem?                                             21      A. I cannot.
    22       A. Yeah. Aside from like knowing the             22      Q. What exactly does the Cleveland
    23   winning lottery numbers, yeah, there have been       23   Police Department do when its officials become
    24   a few things that I would like -- I mean I           24   aware that diversion is occurring?
    25   don't know what I could have done, you know,         25          MS. DEBROSSE: Object to form.

                                                                                            42 (Pages 162 - 165)
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Case: 1:17-md-02804-DAP Doc #: 1974-9 Filed: 07/24/19 43 of 108. PageID #: 211347


                                                  Page 166                                                  Page 168
     1           BY MR. PADUKONE:                             1   seized that month and 1,059 that were seized
     2      Q. What are the steps you officers --             2   for the entire year to date.
     3   your officers take when they learn of potential      3          Do you see that?
     4   diversion?                                           4      A. Yes.
     5           MS. DEBROSSE: Object to form.                5      Q. Is that uncommon to see such --
     6           THE WITNESS: Diversion for what?             6   strike that.
     7           BY MR. PADUKONE:                             7          This number seems to suggest that
     8      Q. Diversion of prescription opioids.             8   there were 1,006 pills seized in November
     9           MS. DEBROSSE: Same objection.                9   versus just about 50 pills seized before then;
    10           THE WITNESS: I'm not following your         10   is that right?
    11   question.                                           11          MS. DEBROSSE: Object to form.
    12           You're asking me what the steps are         12          THE WITNESS: That's what it looks
    13   that Detective Prince would take for a              13   like.
    14   diversion program?                                  14          BY MR. PADUKONE:
    15           BY MR. PADUKONE:                            15      Q. Do you have any understanding of how
    16      Q. If you're aware, yes.                         16   that could happen?
    17      A. I'm not even going to go in there.            17      A. I was never in the fifth district
    18   Because I'm not sure exactly what steps he          18   vice unit. I can't begin to tell you what was
    19   takes.                                              19   going on in November of 2013 of that year. So
    20           (Deposition Exhibit 19 was marked           20   no. I mean I can't tell you -- I have no idea.
    21   for identification.)                                21   I wish I could answer it, but I'm kind of -- I
    22           BY MR. PADUKONE:                            22   can't help you there.
    23      Q. So I handed you a document that is            23      Q. Do you have any estimate on the
    24   Bates labeled CLEVE 002371733. And it's titled      24   number of prescription drugs that the Cleveland
    25   -- it's dated December 1st, 2013. And it's          25   Police Department seizes per month on average?
                                                  Page 167                                                  Page 169
     1   titled "Police Division Bureau of Special            1      A. No.
     2   Services District Support Monthly Statistics,        2      Q. Do you recall any year where the
     3   Fifth District Vice Unit." And it's for the          3   number of prescription drugs seized increased
     4   month of November 2013.                              4   or decreased?
     5          Do you recognize this document?               5          MS. DEBROSSE: Object to form.
     6       A. No. I've never seen it before.                6          THE WITNESS: I'm sure that -- of
     7       Q. Do you recognize this type of                 7   course they're going to increase or decrease by
     8   document?                                            8   month and by year. But I don't know whether --
     9       A. No. I've never -- don't recall ever           9   like I said, I'm sure I've seen documents. I
    10   filling one out like this either before.            10   can't recall any.
    11       Q. So you've never seen this type of            11          Like this is -- I can't help you on
    12   vice report before?                                 12   this. Like I said, I don't have an answer to
    13          MS. DEBROSSE: Object to form.                13   that. I don't recollect and I can't recall any
    14          THE WITNESS: I've never been in the          14   specific month they went up or went down, for
    15   vice unit, any vice unit.                           15   that matter.
    16          BY MR. PADUKONE:                             16          BY MR. PADUKONE:
    17       Q. So I have a question about what              17      Q. Is there anyone in particular we
    18   appears on this document under "Narcotics           18   should speak with to learn about that?
    19   Seized."                                            19      A. Probably the vice units that keep
    20          Do you see that about halfway down           20   these kind of statistics. I don't -- like I
    21   the page in the middle?                             21   said, I've never seen this form before.
    22       A. Yes.                                         22      Q. Do you know who would be in charge
    23       Q. So there's a listing for                     23   of these vice units?
    24   prescription drugs. And it says that there are      24          MS. DEBROSSE: Object to form.
    25   a 1,006 prescription drug pills that were           25          THE WITNESS: Each district has its

                                                                                            43 (Pages 166 - 169)
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Case: 1:17-md-02804-DAP Doc #: 1974-9 Filed: 07/24/19 44 of 108. PageID #: 211348


                                                  Page 170                                                  Page 172
     1   own vice unit. And whoever the sergeant or           1   communicated with the Board of Pharmacy or
     2   lieutenant is in charge of it.                       2   someone from the Board of Pharmacy?
     3          BY MR. PADUKONE:                              3      A. Well, if they did work for the Board
     4      Q. Do you know whether Detective Prince           4   of Pharmacy, which I thought they did, years
     5   would know about trends in prescription drug         5   ago. When I first went to the narcotics unit.
     6   seizures in Cleveland?                               6      Q. And around what year was that?
     7      A. I don't know what he knows.                    7      A. 2005 or so.
     8      Q. Have you ever heard of the ARCOS               8      Q. And what was the extent of your
     9   database?                                            9   communication with this individual who worked
    10      A. No.                                           10   at the Board of Pharmacy?
    11      Q. Do you know whether anyone at the             11      A. Not a whole lot. I was doing gang
    12   Cleveland Police Department has used ARCOS to       12   stuff. I was doing gang stuff. They do
    13   learn what drugs are being sold in Cleveland?       13   pharmaceutical stuff. Those are two different
    14          MS. DEBROSSE: Object to form.                14   worlds right there. So my interaction was very
    15          THE WITNESS: I don't know -- I               15   limited. Maybe, "Hi. How you doing?" Stuff
    16   don't even know whether -- what the database        16   like that.
    17   is. I don't know who uses it. I don't know          17      Q. So nothing substantive that you can
    18   what the ARCOS database does.                       18   recall?
    19          BY MR. PADUKONE:                             19      A. Not that I can recall of anything of
    20      Q. Are you familiar with suspicious              20   any substance.
    21   order reports?                                      21      Q. Have you ever received information
    22      A. Yeah. We touched on that earlier.             22   from the DEA to assist with an investigation?
    23   I do have a slight understanding of what            23      A. Yes.
    24   suspicious OARRS reports are.                       24      Q. In what type of case have you
    25      Q. Suspicious order reports, not OARRS.          25   received information?
                                                  Page 171                                                  Page 173
     1      A. Oh, order?                                     1      A. All kinds. You name it. All kinds.
     2      Q. Yeah?                                          2   But I've worked with the DEA for years, off and
     3      A. No. I don't know what those are.               3   on, depending on who's there and so forth.
     4      Q. And I'm guessing, since you don't              4      Q. So does this include cases that
     5   know what they are, you're not aware of any          5   involve prescription opioids?
     6   Cleveland Police Department employee or              6      A. I don't recall a case with
     7   Cleveland official ever contacting the DEA or        7   prescription opioids.
     8   distributor to gain access to these types of         8      Q. Heroin?
     9   reports?                                             9      A. Yes.
    10      A. Maybe they did, but I'm not aware of          10      Q. Cocaine?
    11   them.                                               11      A. Yes.
    12      Q. Have you had any interactions with            12      Q. Meth?
    13   the Board of Pharmacy?                              13      A. Maybe a couple large-scale ones, but
    14      A. Very limited. I like see -- I've              14   nothing -- like no -- no meth labs.
    15   seen them in the office -- in our old office        15      Q. Marijuana?
    16   before, but I haven't seen them in the new          16      A. Yes.
    17   office.                                             17      Q. Any other drugs that jump out at you
    18          I mean I -- when you say the Board           18   that I haven't mentioned already?
    19   of Pharmacy, I think I know like some               19      A. Not that I recall. You hit all the
    20   detectives, especially former detectives, go        20   main ones.
    21   work for them when they -- when they leave the      21      Q. Have you ever asked the DEA for
    22   city.                                               22   information about doctors that prescribe a high
    23          But once again, I haven't seen them          23   amount of opioid prescriptions?
    24   in a couple of years.                               24      A. No.
    25      Q. When was the first time you                   25      Q. Have you ever asked the DEA about

                                                                                            44 (Pages 170 - 173)
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Case: 1:17-md-02804-DAP Doc #: 1974-9 Filed: 07/24/19 45 of 108. PageID #: 211349


                                                   Page 174                                                  Page 176
     1   pill mills?                                           1      Q. So do you think the Cleveland Police
     2      A. No.                                             2   Department does a good job of tracking the
     3      Q. Have you ever asked the DEA about               3   number of opioids that are shipped and
     4   suspicious orders of prescriptions?                   4   delivered in Cleveland?
     5      A. No.                                             5      A. So you're asking me if the DEA knows
     6      Q. Is there a reason why you haven't               6   how many drugs are shipped and delivered in
     7   asked?                                                7   Cleveland, like from one Cleveland location to
     8          MS. DEBROSSE: Object to form.                  8   another Cleveland location, or from outside of
     9          THE WITNESS: Yes. Because before               9   Cleveland into Cleveland?
    10   that I was in the gang unit. And since I've          10      Q. Outside of Cleveland into Cleveland.
    11   been there, I have Detective Prince who handles      11      A. They may have some estimates. I
    12   all relations with the DEA along those lines.        12   don't know what their estimates are. I mean --
    13          BY MR. PADUKONE:                              13   and I can't tell you if they're better than my
    14      Q. So that would have been Detective              14   estimates. Because they don't know what my
    15   Prince's responsibility, if -- if at all?            15   estimates are either.
    16      A. If -- if Detective --                          16      Q. And do you have estimates?
    17          MS. DEBROSSE: Object to form.                 17      A. In terms of like how much heroin is
    18          THE WITNESS: Detective Prince has             18   being shipped in?
    19   been doing prescriptions for years, if I'm --        19      Q. Yes. Let's start with heroin.
    20   once again, prescription drugs are much              20          Do you have estimates of how much is
    21   different than the street drugs that we deal         21   being shipped into Cleveland?
    22   with. It's a niche. It's a specialized thing.        22      A. By weight?
    23          And if you're specializing, it's              23      Q. Sure.
    24   very hard, especially to -- to figure out all        24      A. I'm sure that there's several kilos
    25   the nuances with the pharmaceuticals.                25   being shipped in every month, every week, of
                                                   Page 175                                                  Page 177
     1          BY MR. PADUKONE:                        1          heroin by various means.
     2      Q. Would you agree that the DEA would 2                   Q. And what is your basis for that
     3   have a more complete picture of the number of 3           estimates?
     4   opioids that have been shipped and delivered   4             A. The amount of heroin that's used
     5   into Cleveland than the Cleveland Police       5          every day has got to be a substantial amount of
     6   Department would have?                         6          heroin, and fentanyl for that matter. And --
     7          MS. DEBROSSE: Object to form.           7          and heroin shipments that we've intercepted.
     8          THE WITNESS: Can you repeat that        8          I'm sure that it comes in by ounces, and it's
     9   again.                                         9          come in by several kilos at a time.
    10          BY MR. PADUKONE:                       10             Q. What about prescription opioids that
    11      Q. Would you agree that the DEA would 11               are shipped and distributed within Cleveland;
    12   have a more complete picture of the number of 12          do you know whether the DEA tracks that?
    13   opioids shipped and delivered into Cleveland 13              A. Real or counterfeit?
    14   than the Cleveland Police Department would 14                Q. Real.
    15   have?                                         15             A. I don't know.
    16      A. I would not agree with that.            16             Q. And is that something your
    17      Q. Why is that?                            17          department tracks?
    18      A. Because I don't know what they know. 18                A. We don't know how many pills are
    19      Q. So you're not sure whether the DEA      19          sent to the City of Cleveland. I don't know
    20   has a more complete picture?                  20          that. I don't know if anyone knows that.
    21          MS. DEBROSSE: Object to form.          21          Would be curious to know that, but I don't
    22          THE WITNESS: I don't know what they 22             know.
    23   know. I know what I know. And so you're       23             Q. Is that a piece of information that
    24   asking me to compare an unknown.              24          you think would useful for the compliance unit?
    25          BY MR. PADUKONE:                       25             A. It could be; it may not be. I don't

                                                                                             45 (Pages 174 - 177)
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Case: 1:17-md-02804-DAP Doc #: 1974-9 Filed: 07/24/19 46 of 108. PageID #: 211350


                                                 Page 178                                                  Page 180
     1   know. It all depends if it's being abused, I        1   received in the ordinary course of business on
     2   guess.                                              2   those days?
     3           You have to have a baseline                 3      A. That's correct.
     4   somewhere. I don't even know what the baseline      4      Q. So I want to direct your attention
     5   would be.                                           5   to the last sentence of your e-mail on February
     6      Q. So do you agree that it's important           6   6th. And you wrote: "The second district is
     7   to have accurate information about the problem      7   ground zero when it comes to fatal and nonfatal
     8   that you're addressing, so in this case,            8   overdoses. If we are to accurately document,
     9   accurate statistics about opioid abuse?             9   track and investigate these ODs, we need the
    10           MS. DEBROSSE: Object to form.              10   second district personnel on the same page."
    11           THE WITNESS: Repeat your question          11          Do you see that?
    12   for me.                                            12      A. Uh-huh.
    13           BY MR. PADUKONE:                           13      Q. What is the second district?
    14      Q. Do you think it's important to have          14      A. It's one of five districts in the
    15   accurate information about the opioid abuse        15   City of Cleveland where the -- every -- so the
    16   problem in Cleveland?                              16   city's broken up into districts -- in police
    17      A. It's good to have as accurate                17   districts. It's not the same thing as like the
    18   information as you can. Sometimes you can't        18   wards. And so every district is basically like
    19   always get info you want. Sometimes you're not     19   its own little police force.
    20   given all the info. You just do the best you       20      Q. And what geographic does the second
    21   can. That's what we do in Cleveland. Because       21   district cover?
    22   we don't always have what we need to make the      22      A. The near west side.
    23   best of it.                                        23      Q. And so in this e-mail, are you
    24      Q. And that includes tracking                   24   expressing concern that the second district
    25   statistics?                                        25   didn't report a fatal overdose?
                                                 Page 179                                                  Page 181
     1      A. Everything.                               1          A. Yeah. There was an issue. I'm not
     2          MR. PADUKONE: I'm going to hand you      2       sure happened. I mean but yeah, they did not
     3   a document that I am marking as Exhibit 20.     3       notify us. And that happens. Sometimes
     4   And it's Bates labeled 000267609.               4       they're busy or what have you. But yeah, they
     5          (Deposition Exhibit 20 was marked        5       didn't notify us when they probably should
     6   for identification.)                            6       have.
     7          BY MR. PADUKONE:                         7          Q. Why is reporting this information
     8      Q. I'll give you a second to look at         8       important to the Cleveland Police Department?
     9   this e-mail.                                    9               MS. DEBROSSE: Object to form.
    10          But for the record, it's an e-mail      10               THE WITNESS: Because I want to find
    11   from Gary Gingell to Matthew Baeppler and Mike 11       out who killed this person. I want to find out
    12   Connelly dated February 7th, 2018.             12       the dealer that sold this addicted person a
    13      A. Okay. Go ahead.                          13       fatal dose of heroin or whatever it was.
    14      Q. Do you recall receiving this e-mail      14       That's what I -- I don't want another person to
    15   during the ordinary course of business on      15       die, is my main goal, is to prevent someone
    16   February 7th, 2018?                            16       else from getting killed or injured.
    17      A. I sent it.                               17               So yeah. You can see why -- you can
    18      Q. So you sent the e-mail on February       18       tell from this e-mail I'm not terribly happy.
    19   6th --                                         19               BY MR. PADUKONE:
    20      A. Yes.                                     20          Q. And was this an isolated incident,
    21      Q. -- 2018.                                 21       or was this --
    22          And then Commander Gingell responded    22          A. It actually was more of an isolated
    23   on February 7th; is that right?                23       incident. They have a lot of overdoses in the
    24      A. Yes.                                     24       second district.
    25      Q. And both of those were sent and          25               I don't recall exactly what the
                                                                                           46 (Pages 178 - 181)
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Case: 1:17-md-02804-DAP Doc #: 1974-9 Filed: 07/24/19 47 of 108. PageID #: 211351


                                                   Page 182                                                  Page 184
     1   issue was. But, you know, I was just making --        1           And let me know when you've had a
     2   you know, I was hoping to rectify the situation       2   chance to review it.
     3   so it didn't happen again.                            3      A. Okay.
     4      Q. So it wasn't a general problem that             4      Q. Do you remember receiving this
     5   the second district had in terms of reporting         5   e-mail on March 8, 2018, in the ordinary course
     6   these incidents?                                      6   of your business?
     7          MS. DEBROSSE: Object to form.                  7      A. I can vaguely remember this, but
     8          THE WITNESS: I think this was the              8   yeah.
     9   exception.                                            9      Q. And these opioid scene alerts, were
    10          BY MR. PADUKONE:                              10   these e-mails that you would regularly receive?
    11      Q. But it's fair to say that the                  11      A. Yes. However, with this, this is
    12   Cleveland police department's tracking of            12   one of those odd screens where the body was
    13   opioid overdoses may be incomplete because of        13   decomposed. Quite frankly, they really don't
    14   situations like this where it doesn't get            14   know what the cause of death was on scene for
    15   reported?                                            15   what ever reason.
    16          MS. DEBROSSE: Object to form.                 16           And if the supervisor -- that's who
    17          THE WITNESS: I would say that this            17   makes the call on scene -- and doesn't believe
    18   is the exception to the rule. I mean like with       18   that it's an overdose, then we don't get a
    19   anything. With anything -- you're dealing with       19   call. And for whatever reason, the supervisor
    20   large numbers of anything, not -- nothing's          20   didn't think it was an overdose. He or she may
    21   going to be a hundred percent accurate.              21   have their reasons.
    22          Even -- like I said, with anything            22      Q. So that leads to my next question:
    23   you do -- could be a baseball game. You may          23   What qualifies a scene as a suspected overdose
    24   have a stat that may be off. That just               24   scene?
    25   happens. And especially in the second district       25           Is there any standard that the
                                                   Page 183                                                  Page 185
     1   when they deal with a lot of them. That's all.        1   police department has for someone -- for a
     2          BY MR. PADUKONE:                               2   supervisor --
     3       Q. And have any other districts had               3      A. A standard? A standard is if
     4   this problem that you're aware of?                    4   there's evidence of drug use on scene. And so
     5       A. I'm sure that it happens sometimes.            5   that is what they go by.
     6   I mean like I said, it's more the exception.          6          Now, when the medical examiner gets
     7   It's an ongoing thing. I prefer to have as            7   there, and they talk to the police officer on
     8   much info as I can. I don't like missing out          8   the phone -- because that's what happens. The
     9   on an opportunity to catch someone that's             9   police officers get there. They'll call the
    10   guilty of manslaughter or someone that I             10   ME, and they'll talk to the ME. And the ME
    11   believe killed someone.                              11   will ask a series of questions.
    12           So I mean it's life and death. So            12          And one of them -- a couple of those
    13   yeah, I would get a little upset about it. But       13   questions deal with the person's history of
    14   I mean it happens. But this is a large               14   drug abuse. If the person has a history of
    15   aberration. Nothing is perfect. I get that.          15   drug abuse, then the medical examiner should
    16           MR. PADUKONE: I'm going to hand you          16   call us. They usually do call us.
    17   a document that is being marked as Exhibit 21.       17          Unless there's also like a history
    18   And the Bates number is CLEVE 000267423.             18   of, you know, heart failure or something like
    19           (Deposition Exhibit 21 was marked            19   that; and the guy is 89 years old; and the drug
    20   for identification.)                                 20   history goes way beyond that. Then we probably
    21          BY MR. PADUKONE:                              21   wouldn't get a call from them.
    22       Q. And this is an e-mail. The top                22          But that -- so there are stopgaps in
    23   e-mail is from Gary Gingell to Matthew               23   place to catch in case the supervisor does miss
    24   Baeppler, dated March 8, 2018. And the subject       24   it. And that does happen. And then we'll get
    25   line is: "Update CCMEO Opioid Scene Alert."          25   a call from the ME, and we'll go out there.

                                                                                             47 (Pages 182 - 185)
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Case: 1:17-md-02804-DAP Doc #: 1974-9 Filed: 07/24/19 48 of 108. PageID #: 211352


                                                    Page 186                                               Page 188
     1   It's the best we couldn't do.                    1         get an alert, and I'll end up going there.
     2           So we -- there are systems in place      2                And I have been the first one there
     3   to catch things if they fall through a crack.    3         for those. And when I get there, then usually
     4       Q. So I see in this alert there's a          4         the medical examiner is already there, and
     5   description at the bottom that says: "No         5         there's already the -- a policeman or two are
     6   illegal drugs or alcohol."                       6         also on scene.
     7           Do you see that?                         7             Q. And when you've responded to these
     8       A. Uh-huh.                                   8         alerts and gone to the scene, have you noticed
     9       Q. And I've seen other documents in the      9         a large number of false alarms where there was
    10   City of Cleveland's production, these scene     10         no actual opioid overdose?
    11   alerts, that also include that description that 11             A. That happens, yes.
    12   there was no illegal drugs or alcohol.          12             Q. Would you say it's common?
    13           So you got into this a little bit       13             A. No.
    14   just now, but can you explain what it is that   14             Q. If you had to put a percentage on
    15   would make that scene a suspected overdose 15              it, would you say 10 percent of the time?
    16   scene, given that there was no illegal drugs or 16             A. That's kind of hard to put a
    17   alcohol found at the scene?                     17         percentage on it. But sometimes they are;
    18           MS. DEBROSSE: Object to form.           18         sometimes they're not. It all depends.
    19           THE WITNESS: I don't know why they 19              Sometimes you'll get there, and the family
    20   made this an alert. It doesn't really tell me   20         cleans up, and there's no -- you're left
    21   a whole lot there, other than the person was    21         scratching your head. And then you get with
    22   unfortunately decomposed. Like I said, I don't 22          the toxicology reports that, you know, they
    23   have an answer for that.                        23         had, you know, fentanyl in their system or
    24           What I would need is obviously if       24         heroin or cocaine whatever else.
    25   there was a syringe or if there's some kind of 25                 Other times you get there, and you
                                                    Page 187                                               Page 189
     1   other evidence of drug use. Syringe would be           1   look around, and you'll see evidence of a --
     2   the big one. Maybe a straw with a white power          2   like a drug wrapper or drug package. And the
     3   next to them or whatever powder next to them.          3   problem with that is, unless you're
     4   Doesn't necessarily have to be white.                  4   specifically trained in it, you're not going to
     5          Like I said, I wasn't there. I                  5   see it.
     6   don't know what was there.                             6           And when I say "specifically
     7          BY MR. PADUKONE:                                7   trained," not everybody can be an expert in
     8      Q. Have you ever been the officer                   8   drug packaging. Because it's -- once again, I
     9   responding to one of these overdose scenes as          9   hate to use the word "niche," but that's what
    10   the first officer on scene?                           10   it is. You have to see it all the time.
    11      A. No.                                             11           I mean I could show you examples. I
    12      Q. Whose responsibility is that?                   12   could tell you examples. It could be a folded
    13      A. Is what?                                        13   piece of piece. It could be a folded-up dollar
    14      Q. To be the first officer responding              14   bill. It could be a piece of cellophane. Most
    15   to one of these alerts?                               15   of the time it looks like a piece of garbage.
    16      A. Well, an alert, you mean from the --            16           So unless you know what you're
    17   you get an alert from the medical examiner.           17   looking for, you're going to miss it.
    18   That is the only place the opioid alert comes         18       Q. Do you know whether the City of
    19   from.                                                 19   Cleveland or, more specifically, the Cleveland
    20          I'll get calls from radio, and                 20   Police Department uses these opioid scene
    21   they'll say, "Hey, the -- 2Sam14 called and           21   alerts to track the number of overdose
    22   says that they -- he has what he believes is an       22   incidents in the city?
    23   overdose." And then I'll go from there.               23           MS. DEBROSSE: Object to form.
    24          If it skips that, then I'll get, you           24           THE WITNESS: I don't know what the
    25   know, the opioid scene alert. And then -- I'll        25   city does. I don't know how they track things.
                                                                                            48 (Pages 186 - 189)
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Case: 1:17-md-02804-DAP Doc #: 1974-9 Filed: 07/24/19 49 of 108. PageID #: 211353


                                                   Page 190                                                Page 192
     1   I frankly -- there could be a way to track            1      Q. What about 2017, 2017 indictments
     2   them, and maybe the city is doing it, but I           2   VSDL 4; do you know whether that number was
     3   don't know of it. Not off hand.                       3   accurate?
     4          BY MR. PADUKONE:                               4      A. I don't.
     5      Q. And you don't know whether the                  5      Q. What about 2018 indictments?
     6   police department is doing it either?                 6          It says: "Involuntary manslaughter
     7      A. No. I know Commander Gingell has                7   2."
     8   them tracked. He tracks them as best as he            8          Is that an accurate number?
     9   can, you know, all the ones that we go to.            9      A. I believe we had more than that.
    10      Q. And does he rely on these scene                10   And we had definitely more VSDLs in 2018.
    11   alerts to track them, or is there a number --        11      Q. And this was an e-mail sent in March
    12      A. I'm not quite sure what he relies              12   of 2018. So that would have been from the
    13   on.                                                  13   first part of the year.
    14          MS. DEBROSSE: Object to form.                 14      A. Yes. And keep in mind I came in at
    15          MR. PADUKONE: I want to show you              15   the end of 2017.
    16   another document. It's going to be marked            16      Q. So in the top e-mail sent by
    17   Exhibit 22. And it's Bates labeled CLEVE             17   Commander Gingell, he says: "Matt, there has
    18   000267124.                                           18   to be more than this. 2017 4 VSDL. If that is
    19          (Deposition Exhibit 22 was marked             19   the case, we should be shutting down HIDI."
    20   for identification.)                                 20          Do you know what he meant by that?
    21          BY MR. PADUKONE:                              21          MS. DEBROSSE: Object to form.
    22      Q. And this is a document dated March             22          THE WITNESS: Well, I can only -- I
    23   28, 2018. It's an e-mail from Gary Gingell to        23   mean it's hard to say what he meant. I mean
    24   Matt Baeppler with the subject line: "Forward:       24   obviously to me he's -- this is a low number.
    25   Update C/W indictments for fatals 2016 to            25   What's going on.
                                                   Page 191                                                Page 193
     1   2018."                                                1          I think that there were more than
     2      A. Yep. Go ahead.                                  2   that. But there's also a record number of
     3      Q. So is this an e-mail that you                   3   overdoses that year. There's a lot. There's a
     4   received during the normal course of business         4   lot of overdoses. And it was kind of hard for
     5   on March 28, 2018, from Commander Gingell?            5   these guys to keep up with it. They're just
     6      A. The top part, yes.                              6   treading water at that point.
     7      Q. And then the bottom e-mail is an                7          BY MR. PADUKONE:
     8   e-mail that you received from Jennifer Gedeon         8      Q. So it's your belief that the numbers
     9   on March 28?                                          9   were higher, but because of the number, the
    10      A. Uh-huh.                                        10   officers and detectives weren't tracking it?
    11      Q. Who is Jennifer Gedeon?                        11      A. You know what? You know, I can't
    12          And am I saying her name correctly?           12   really say. I wasn't there the whole year. So
    13      A. That's the -- Commander Gingell's              13   I don't know.
    14   office manager, I guess you'd call her.              14      Q. The commander tells you to: "Get
    15      Q. And below the 2016 indictments, it             15   with these guys and get everything. From now
    16   says: "Manslaughter 3, tampering with evidence       16   on tracking this has to be a priority. We need
    17   1, VSDL 3."                                          17   to set up a way to track it so you remember to
    18          Do you see that?                              18   ask these guys about outcomes."
    19      A. Uh-huh.                                        19          Do you remember responding to
    20      Q. What does VSDL stand for?                      20   Commander Gingell's e-mail, either verbally or
    21      A. Violation state drug law.                      21   by e-mail?
    22      Q. And are the numbers represented here           22      A. I don't recall responding. I mean
    23   accurate?                                            23   just telling him that I'm going to do the best
    24      A. I'm not sure. I wasn't around in               24   I can. Something -- words to that effect.
    25   2016.                                                25      Q. And what did you do in response to
                                                                                           49 (Pages 190 - 193)
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Case: 1:17-md-02804-DAP Doc #: 1974-9 Filed: 07/24/19 50 of 108. PageID #: 211354


                                                  Page 194                                                Page 196
     1   Commander Gingell's request that you get with        1      Q. So do you recall sending out this
     2   these guys and get everything?                       2   e-mail in response to what Commander Gingell
     3      A. I asked them to tell me everything             3   had asked you to do with regards to getting
     4   that -- you know, what they had.                     4   with the guys to better track the numbers?
     5           (Deposition Exhibit 23 was marked            5          MS. DEBROSSE: Object to form.
     6   for identification.)                                 6          THE WITNESS: I'm sure I did for
     7           MR. PADUKONE: I'm handing you a              7   that reason. Because it's the next day after I
     8   document that has been marked as Exhibit 23.         8   got that e-mail from the commander. And, of
     9   And it -- it has the Bates No. CLEVE 002231621.      9   course, if he's -- he's asking me, you know,
    10           And I'm attaching to it the e-mail          10   "There should be more," with a question mark.
    11   attachment, which does not -- it does not have      11   So I'm questioning the guys is this correct.
    12   a Bates number. So I don't believe this is an       12          So I'm trying to verify if this is
    13   e-mail attachment, but we're going to mark this     13   correct or not to make sure it's accurate.
    14   together as one exhibit.                            14          BY MR. PADUKONE:
    15           MS. DEBROSSE: Are you representing          15      Q. So your basis for saying that the
    16   this is the download from this e-mail?              16   list cannot be right is on the basis of what
    17           MR. PADUKONE: That's one of my              17   Commander Gingell had told you the day before?
    18   questions for the sergeant.                         18      A. Well, from what he's saying, I would
    19           BY MR. PADUKONE:                            19   believe that there would be more than that.
    20      Q. So the e-mail is a March 29th, 2018           20   And so I want to know if there is. And so I
    21   e-mail sent from you, Sergeant Baeppler, to         21   went and checked.
    22   several other individuals who appear to work        22      Q. And what did you find when you went
    23   for the City of Cleveland, including Detective      23   and checked?
    24   Prince, Detective Patena, Detective Klamert and     24      A. I don't recall.
    25   Commander Gingell.                                  25      Q. Is there anyone we could talk to to
                                                  Page 195                                                Page 197
     1          And you say: "I need stats from           1       figure out what you found?
     2   everyone. This list cannot be right. Please      2          A. I don't know. Look at the later
     3   review and send Jen and I the updates."          3       statistics, I guess, and see if they changed.
     4          Is this an e-mail you recall sending      4       I don't recall if they changed or not. But I'm
     5   on March 29th, 2018, in the ordinary course of 5         just asking everyone to review it.
     6   business?                                        6          Q. And did you ever have to ask people
     7      A. Now, is this attached to this              7       to review the stat on any other occasions, or
     8   e-mail?                                          8       was this the only time that you've actually had
     9      Q. I believe that it is, but that's one       9       to do that?
    10   of my questions for you.                        10          A. I don't recall. There may have been
    11          Do you recall --                         11       another occasion.
    12      A. I don't know if this was attached to      12          Q. So is it fair to say that it wasn't
    13   it. I mean it's kind of hard for me to say --   13       uncommon for the tracking numbers to be
    14   you're throwing something out. I don't know if 14        inaccurate?
    15   this was attached to it or not. There's no way 15                MS. DEBROSSE: Object to form.
    16   I can remember it from almost a year ago.       16               THE WITNESS: We try and keep as
    17      Q. So setting aside the attachment for       17       accurate information as possible.
    18   now, this e-mail -- the date of this e-mail is  18               BY MR. PADUKONE:
    19   March 29th, 2018; is that right?                19          Q. But it isn't always accurate?
    20      A. Uh-huh.                                   20          A. It's as accurate as we can make it.
    21      Q. And if you look at the previous           21       We -- listen, we try the best we can. No one
    22   exhibit, the one that we had been looking at    22       is perfect. But we try the best. All right?
    23   before, the date of that was March 28, 2018; is 23               MR. PADUKONE: I'll hand you a
    24   that right?                                     24       document that's being marked as Exhibit 24.
    25      A. Uh-huh.                                   25       And it's Bates No. CLEVE 000267426 plus its
                                                                                          50 (Pages 194 - 197)
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Case: 1:17-md-02804-DAP Doc #: 1974-9 Filed: 07/24/19 51 of 108. PageID #: 211355


                                                  Page 198                                                   Page 200
     1   attachment, which is CLEVE 000267427 through         1      A. I received this part here, the
     2   429.                                                 2   bottom part, which I receive all the time. If
     3          (Deposition Exhibit 24 was marked             3   I got this, you know, like I said, I
     4   for identification.)                                 4   basically -- the one on the right, the NARCAN
     5          BY MR. PADUKONE:                              5   by primary impression, I may have gotten this
     6      Q. And the e-mail is a March 7, 2018              6   one time. This would be the only time.
     7   e-mail from James Sekerak to Matthew Baeppler.       7   Because I normally -- like I said, we normally
     8   And the attachment appears to be a NARCAN            8   don't get these.
     9   overdose report.                                     9          If you look at it though, it
    10      A. Are you saying that this report was           10   basically shows you where the most NARCAN is
    11   attached to this e-mail?                            11   being administered, which is also where the
    12      Q. Yes.                                          12   most heroin overdoses occur.
    13      A. Are you sure this was attached to             13      Q. Do you recall why Mr. Sekerak sent
    14   that?                                               14   you this e-mail?
    15      Q. It was produced to us as an                   15          MS. DEBROSSE: Object to form.
    16   attachment.                                         16          THE WITNESS: I don't recall exactly
    17          Why is it that you don't think it            17   why.
    18   was attached to this e-mail?                        18          BY MR. PADUKONE:
    19      A. I don't recall seeing it. This is             19      Q. The reason I ask is just, based off
    20   not the report I normally look at.                  20   of the context of this e-mail, it seemed to me
    21      Q. What is the report you normally look          21   that perhaps you had a conversation with them
    22   at?                                                 22   earlier, and he was sending you information
    23          Have we look at it today?                    23   based off of a discussion.
    24      A. The report I usually get only has             24          Do you recall having a discussion
    25   the bottom part, NARCAN administer details.         25   with Mr. Sekerak?
                                                  Page 199                                                   Page 201
     1          But I'm not -- I mean I'm not saying          1     A.      I've had a few --
     2   that I didn't get this. But I don't recall it        2           MS. DEBROSSE: Object to form.
     3   like this. Because normally I don't get them         3           THE WITNESS: I've had a few
     4   in this fashion at all. Normally I just get          4   discussions with James. And I may have asked
     5   the bottom half, like I said, the NARCAN             5   him -- like I said, I mean I can't really
     6   administer details. I don't have the NARCAN by       6   tell -- you ZIP codes would be -- I could see
     7   primary impression.                                  7   it being something I would be interested in to
     8      Q. But you have no reason to doubt that           8   know exactly where these are occurring on a
     9   you received this e-mail on March 7th --             9   map. And so this is what he sent me.
    10      A. This e-mail.                                  10           I would be interested in this. That
    11      Q. Yes.                                          11   would be a question I would ask. I don't
    12      A. But not this.                                 12   specifically remember asking that question
    13      Q. You're not sure that you received             13   though.
    14   that.                                               14           BY MR. PADUKONE:
    15      A. No. I don't recall seeing this.               15      Q. And you testified earlier that you
    16      Q. I'll represent to you that we                 16   received the bottom half of that attachment; is
    17   received this as a family member of the parent      17   that right?
    18   e-mail and that this was the attachment to that     18      A. I get things -- look, I can't say
    19   e-mail.                                             19   for certain that this is exactly what I see
    20      A. Okay.                                         20   this every -- you know, this day. I can't
    21      Q. So I just have a few questions about          21   remember all the info in there. But I see
    22   both of the documents.                              22   stuff like that all the time. And that's what
    23          So it sound like you don't -- you            23   I normally look at.
    24   don't recall ever receiving this type of            24      Q. Do you remember when you first
    25   attachment; is that right?                          25   started receiving that type of information?

                                                                                            51 (Pages 198 - 201)
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Case: 1:17-md-02804-DAP Doc #: 1974-9 Filed: 07/24/19 52 of 108. PageID #: 211356


                                                Page 202                                                  Page 204
     1      A. Yeah. We kind of went over it                1      A. Not that I'm aware of. There may
     2   before. We had a meeting, and I -- he started      2   be, but I'm not aware of it, at least not
     3   sending me them. It's invaluable to me that I      3   offhand.
     4   get those.                                         4      Q. And for incidents involving opioid
     5      Q. And you get them every week?                 5   crimes or opioid overdoses, do you track which
     6      A. Yes. At least once a week.                   6   overdose is involved when you enter in this
     7      Q. Sometimes more?                              7   data?
     8      A. Uh-huh. Yes. Sometimes more.                 8      A. Can you repeat that again.
     9      Q. And what to you do after you receive         9      Q. So when you're entering in data into
    10   it?                                               10   Case Explore, would you make a note of what
    11          How do you use the information that        11   opioid is involved if the case involved an
    12   you receive?                                      12   opioid overdose?
    13      A. I'll get the information. I'll look         13      A. Yes.
    14   at the information on there. I'll look at the     14      Q. And how is that information entered
    15   NARCAN use. And then will try and look -- if      15   in?
    16   we didn't get an alert, if -- you know, so if     16          Is it in a description field? Is
    17   dispatch wasn't called, I want to know why we     17   there a specific field where you can say this
    18   weren't called to see if it was an actual         18   is the drug that --
    19   overdose.                                         19      A. I believe it's a drop-down menu.
    20          And as I said before, just because         20   Because I've only done it a handful of times.
    21   NARCAN is administered doesn't necessarily mean   21      Q. And do you ever track whether those
    22   that there was an overdose. It could be a         22   opioids that were involved had been prescribed?
    23   number of things.                                 23      A. I don't know if they track that or
    24          And so what I want to do is I want         24   not. I don't recall.
    25   to be able to see if the police were called so    25      Q. But you don't recall ever using a
                                                Page 203                                                  Page 205
     1   that -- because I want to respond to more. I    1      drop-down menu to say prescription or not
     2   want to respond to as many of these as I can.   2      prescription?
     3           And so I will compare this              3         A. I have not.
     4   address -- I'll plug it into the LERMS and see 4          Q. You have not.
     5   if there's -- you know, if there's a report     5         A. I have not personally.
     6   made. And if there was a report made, I want 6                MR. PADUKONE: Okay.
     7   to read it. And that's why.                     7             (Deposition Exhibit 25 was marked
     8       Q. Does the Cleveland Police Department 8          for identification.)
     9   use any sort of database to track drug crimes? 9              BY MR. PADUKONE:
    10       A. I'm sure they do. I don't know what     10         Q. I'm handing you a document that has
    11   it is. I don't get involved in the computer    11      been marked Exhibit 25. And it's CLEVE
    12   stuff.                                         12      000251274. This is a document that is titled
    13       Q. Do you enter in any data from           13      "Event Summary." And at the very top of the
    14   drug-related investigations somewhere?         14      page on the left-hand side, it says "I/Net
    15       A. Me? We do -- every now and then I       15      Viewer, Event Information."
    16   might do a Case Explore. I might enter some 16                Do you recognize this type of a
    17   stuff. It's only been a couple of times that I 17      document?
    18   did that.                                      18         A. It appears to be locations. It
    19       Q. So Case Explore is one database that 19         appears to be locations of overdoses with
    20   you've used to enter in information about drug 20      corresponding report numbers, the dates and
    21   crimes?                                        21      location -- the dates and times. Zone car
    22       A. Overdoses specifically.                 22      handled it.
    23       Q. Overdoses?                              23         Q. And is this the type of data that
    24           Is there any other database like       24      the Cleveland Police Department maintains in
    25   Case Explore or any program that you use to -- 25      the ordinary course of business?
                                                                                          52 (Pages 202 - 205)
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Case: 1:17-md-02804-DAP Doc #: 1974-9 Filed: 07/24/19 53 of 108. PageID #: 211357


                                                 Page 206                                                  Page 208
     1      A. That's what it looks like.                    1      Q. And those are the five districts
     2      Q. Do you know where this data comes             2   that we talked about earlier?
     3   from?                                               3      A. Yes.
     4      A. I couldn't tell you where this exact          4      Q. Then the fourth column says "PRI."
     5   data comes from. I don't know where it came         5          Do you know what that stands for?
     6   from.                                               6      A. I think it's priority run. So all
     7      Q. Are you familiar with the LERMS               7   these are broke down into priorities by
     8   database, L-E-R-M-S?                                8   importance. Most of these are 2s, so -- a
     9      A. Yes.                                          9   couple of 1s in there.
    10      Q. Do you know whether this data would          10      Q. What's the difference between a 2
    11   also be in LERMS?                                  11   and a 1?
    12      A. There's a report number. So it               12      A. A 1 is more important than a 2.
    13   would be in LERMS.                                 13      Q. What makes it more important?
    14      Q. Sorry. Can you say that again.               14      A. Well, it's supposed to be because
    15      A. There is a report number. So yes,            15   there's -- it's -- it's very important that the
    16   it would be in LERMS.                              16   police get there as soon as possible. That's
    17      Q. And which is the report number? The          17   usually what it means.
    18   event number?                                      18      Q. And under what circumstances is it
    19      A. Yes.                                         19   important for the police to get there as soon
    20      Q. So I'd just like to get a better             20   as possible?
    21   understanding of what's in this document.          21      A. That the police have the -- you
    22         So the first column, this seems to           22   know, that there's a person with a gun on
    23   be the number of incidents; is that right?         23   scene. Some way that the police can be of
    24         It's in numerical order?                     24   immediate assistance.
    25      A. Yes.                                         25      Q. So it's not necessarily the case
                                                 Page 207                                                  Page 209
     1     Q. And then the second column is for              1   that it's a fatal overdose versus the nonfatal
     2   "Agency," and each row seems to say CPD.            2   overdose?
     3         Does that stand for Cleveland Police          3       A. I'm fairly certain that a -- well,
     4   Department?                                         4   you know what? I'm not really sure. It could
     5     A. It would seem to be, yes.                      5   be either/or. I mean all depends on who's
     6     Q. Would there ever be an occasion                6   coding -- who's making it a priority.
     7   where the agency is something other than CPD?       7           I'm not sure exactly how radio
     8     A. It could be CMHA.                              8   designates them. I don't designate them. They
     9     Q. What's that?                                   9   do. And that's my understanding of how they do
    10     A. Could be CMHA Cuyahoga Metro --               10   it.
    11   whatever -- Housing Association.                   11       Q. And so the next two columns appear
    12     Q. And why would they appear in the              12   to be self-explanatory. There's the date of
    13   Agency column?                                     13   the incident and then the time of the incident.
    14         MS. DEBROSSE: Object to form.                14           And then the event number is what
    15         THE WITNESS: If they were the one            15   you previously testified comes from the LERMS;
    16   entering the report.                               16   is that right?
    17         BY MR. PADUKONE:                             17       A. Yeah. That would be the -- yeah.
    18     Q. I'm sorry. Could you say that                 18   Event number, which would be the -- if you
    19   again?                                             19   transferred over, it'd be also the report
    20     A. If they were the one entering the             20   number also.
    21   report. But these are all CPD ones.                21       Q. And then what is the Type column?
    22     Q. And then the third column says "D             22       A. I don't know.
    23   Group."                                            23       Q. Do you know what "SDO" stands for?
    24         Do you know what that means?                 24       A. No.
    25     A. District.                                     25       Q. Do you know what the Subtype column

                                                                                          53 (Pages 206 - 209)
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Case: 1:17-md-02804-DAP Doc #: 1974-9 Filed: 07/24/19 54 of 108. PageID #: 211358


                                               Page 210                                                                 Page 212
     1   stands for?                                       1        Q. Have you ever seen a document
     2      A. I'm not sure.                               2     similar to this?
     3      Q. 1M, 2M; do you know?                        3        A. No.
     4          MS. DEBROSSE: Object to form.              4        Q. Do you have any idea where the data
     5          THE WITNESS: I'm not sure.                 5     in this document comes from?
     6          BY MR. PADUKONE:                           6        A. I'm not certain where it comes from.
     7      Q. What about Unit; what does that             7        Q. Do you know who would be responsible
     8   mean?                                             8     for entering in this data?
     9      A. That would be the car number that           9        A. I'm not certain.
    10   responded, the primary car number.               10        Q. Do you have any information on what
    11      Q. And then the Location column is also       11     each column in this document represents?
    12   self-explanatory.                                12              MS. DEBROSSE: Object to form.
    13          And you testified earlier that these      13            THE WITNESS: I mean it's kind of
    14   appear to be locations of overdoses; is that     14     self-explanatory what's going on if you read
    15   right?                                           15     the -- if you read the columns and what's going
    16      A. That's what it appears to be, yes.         16     on.
    17      Q. Do you know why data that appears in       17            BY MR. PADUKONE:
    18   this document only begins in April 2017?         18        Q. So, for example, let's start with
    19          MS. DEBROSSE: Object to form.             19     complaint type.
    20          THE WITNESS: No, I don't know.            20            The first three complaints are
    21          BY MR. PADUKONE:                          21     deception, and then there's theft/drugs, and
    22      Q. Do you know whether this data exists       22     there's illegal processing, and then there's
    23   for other time periods as well?                  23     another deception; is that right?
    24      A. I don't know if it does or not.            24        A. Yes.
    25      Q. And so I'm guessing you don't know         25        Q. Where do these complaints come from?
                                               Page 211                                                                 Page 213
     1   when the Cleveland Police Department started      1         MS DEBROSSE: Object to form
     2   generating these types of reports?                2         THE WITNESS: I don't know This
     3       A. I don't know.                              3   isn't my form I didn't fill this out I've
     4          MS. DEBROSSE: Object to form.              4   never seen this form before
     5          BY MR. PADUKONE:                           5         BY MR PADUKONE:
     6       Q. And do you know whether this data          6     Q      Do you know where compliance
     7   has been filtered in any way?                     7   complaints generally come from?
     8          MS. DEBROSSE: Object to form.              8     A      I imagine they come from doctors'
     9          THE WITNESS: I don't know if it has        9   offices and pharmacists
    10   been filtered in any way.                        10     Q      You don't have any idea who would
    11          MR. PADUKONE: So this next document       11   have been responsible for filling out these
    12   has been marked Exhibit 26. Its Bates number     12   forms?
    13   is CLEVE 000345261.                              13         MS DEBROSSE: Object to form
    14          (Deposition Exhibit 26 was marked         14         THE WITNESS: I'm not certain If
    15   for identification.)                             15   you're asking me a hundred percent who it is, I
    16          MS. DEBROSSE: After this exhibit,         16   don't know
    17   I'd like to take a ten-minute break.             17         BY MR PADUKONE:
    18          MR. PADUKONE: That's what we were         18     Q      Do you have an idea of who might be
    19   thinking as well. So that's perfect.             19   response?
    20          So for the record, this document is       20     A      I would imagine John Prince and
    21   titled "Cleveland Police Narcotics Unit          21   Shelly Patena
    22   Compliance Case Tracker."                        22         MR PADUKONE: Let's take a break
    23          BY MR. PADUKONE:                          23         (A short recess was taken )
    24       Q. Do you recognize this document?           24   EXAMINATION BY COUNSEL FOR DEFENDANT WAL-MART
    25       A. No, I do not.                             25         BY MR McLAUGHLIN:

                                                                                                           54 (Pages 210 - 213)
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Case: 1:17-md-02804-DAP Doc #: 1974-9 Filed: 07/24/19 55 of 108. PageID #: 211359


                                                   Page 214                                                  Page 216
     1      Q. Earlier today, Sergeant, Mr. Roman              1   damages that the city is claiming as part of
     2   showed you a document with a long list of names       2   this lawsuit?
     3   of defendants.                                        3      A. Not really, no. I -- once again, I
     4          Do you recall that?                            4   am a line officer. I go out on the street
     5      A. Yes.                                            5   every day. And that -- that's what I do. I
     6      Q. And prior to reviewing that                     6   try not to get involved, and I don't want to be
     7   document, did you know who any of the                 7   involved with what happens in the upper levels.
     8   defendants were in this lawsuit?                      8      Q. I understand?
     9      A. From my understanding,                          9      A. And so that is the way -- that's why
    10   pharmaceutical companies.                            10   -- that's what I like, and that's where I
    11      Q. And so you just knew generally                 11   prefer to be.
    12   pharmaceutical companies, but you didn't know        12      Q. I understand, Sergeant. And I'm
    13   specifically who the defendants were by name?        13   just asking you about what you know and don't
    14      A. That is correct.                               14   know.
    15      Q. Do you have any personal knowledge             15          So the answer to the question is
    16   as to why the city sued Wal-Mart?                    16   "no," correct?
    17      A. Why they sued Wal-Mart?                        17      A. I -- yes. That is correct. I don't
    18      Q. Yes.                                           18   know.
    19      A. No.                                            19      Q. Can you tie any opioid-related costs
    20      Q. Do you have any personal knowledge             20   incurred by the city specifically to the
    21   as to why the city sued CVS, Rite Aid or             21   conduct of any defendant in this case?
    22   Walgreens?                                           22          MS. DEBROSSE: Object to form.
    23      A. No.                                            23          THE WITNESS: I don't know exactly
    24      Q. Do you have any personal knowledge             24   what those companies did. I mean if you're
    25   as to why the city sued HBC Service Company?         25   asking do I know if they sold or produced drugs
                                                   Page 215                                                  Page 217
     1      A. No.                                             1   that led to someone's death, I can't tell you
     2      Q. Can you personally point to any                 2   if that company sold or what that company sold
     3   specific conduct by Wal-Mart related to opioids       3   to whoever person. I don't -- I don't have any
     4   that caused harm to the city?                         4   numbers for that. I don't have -- I don't know
     5      A. I cannot.                                       5   what they produced and who they produced them
     6      Q. Can you personally point to any                 6   to. So no, I can't.
     7   specific conduct by CVS related to opioids that       7           BY MR. McLAUGHLIN:
     8   caused harm to the city?                              8       Q. Okay. I understand your testimony.
     9      A. I cannot.                                       9           My question was can you tie any
    10      Q. What about Rite Aid?                           10   opioid-related costs incurred by the city
    11      A. I cannot.                                      11   specifically to the conduct of any defendant in
    12      Q. What about Walgreens?                          12   this case?
    13      A. I -- I cannot point to any specific            13       A. No. Because I don't -- once again,
    14   instance for any of those.                           14   I don't know specifically what all those
    15      Q. Okay. Is it fair to say you cannot             15   companies do.
    16   personally point to any specific conduct of any      16       Q. Okay. We -- there was some
    17   defendant in the case related to opioids that        17   testimony earlier today about addicts and
    18   cause harm to the city?                              18   addiction.
    19      A. Well, if they did I'm unaware of the           19           Do you have any training or
    20   exact instances when -- in that they were            20   expertise in the diagnosis or treatment of
    21   involved.                                            21   addiction or substance abuse?
    22      Q. And the same would be true of                  22       A. Okay. I cannot treat addicted
    23   Walgreens and HBC Service Company as well?           23   persons. That's not my role. I can -- I do my
    24      A. That would be correct.                         24   best to assist addicted persons to get help.
    25      Q. Do you know anything about the                 25   So that's my role.

                                                                                             55 (Pages 214 - 217)
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Case: 1:17-md-02804-DAP Doc #: 1974-9 Filed: 07/24/19 56 of 108. PageID #: 211360


                                                   Page 218                                                 Page 220
     1       Q. Let me ask a slightly different                1   if you don't understand a question that I've
     2   question.                                             2   asked, let me know, and I'll rephrase it.
     3          You aren't qualified to diagnose               3           And we'll try not to talk over each
     4   somebody with an addiction or substance abuse         4   other as we question and answer. Okay?
     5   disorder, are you?                                    5      A. (Witness nodding head.)
     6       A. The only thing that I can do is see            6      Q. You mentioned the FBI task force is
     7   what someone is acting like. A lot of times I         7   part of the narcotics unit; isn't that right?
     8   can tell if someone is high. And if they tell         8      A. More like some of the -- FBI is not
     9   me that they do this, this or that, I can             9   part of the narcotics unit. The narcotics
    10   recommend that they get help.                        10   unit's part of an FBI task force. Some members
    11          But I am not a certified specialist           11   are.
    12   in any regard like that. I'm just your basic         12      Q. Okay. Thank you for clarifying.
    13   police officer, as most police officers are. I       13           And you mentioned that the members
    14   don't know any that are also documented              14   of the narcotics unit that participate in
    15   therapists or anything else for that matter.         15   this -- or that work with the FBI task force
    16       Q. Okay. So it's true that you aren't            16   handle large-scale wires related to drugs;
    17   qualified to diagnose somebody with an               17   isn't that correct?
    18   addiction or substance abuse disorder, true?         18      A. Yes.
    19       A. Technically I cannot diagnosis                19      Q. Are any of those cases -- do any of
    20   someone. Because that's not my field of              20   those cases involve prescription drugs?
    21   expertise. All I can do is tell, in my               21      A. I'm not sure exactly what they
    22   experience, if they have a problem or not, and       22   involve. Not that I'm aware of, but it may be
    23   I can direct them.                                   23   possible. I don't know.
    24          And if they say they have a problem,          24      Q. Mr. Roman earlier mentioned
    25   if they say they use drugs every day, if they        25   prescription opioids coming in pill form.
                                                   Page 219                                                 Page 221
     1   say they use heroin every day, that's a pretty   1               Do you remember that?
     2   good sign to me that I believe that they may be  2           A. Yes.
     3   addicted to drugs and that they need some help.  3           Q. And we've sort of testified
     4      Q. And at that point, what you would          4        throughout today about prescription opioids
     5   normally do would be try to direct them to a     5        coming in pill form.
     6   medical professional that could help them with   6               Are you aware of prescription
     7   their condition; is that fair?                   7        opioids coming in any other form?
     8      A. Yes.                                       8           A. Yes.
     9          MR. McLAUGHLIN: I don't have any          9           Q. What form is that?
    10   further questions for you, Sergeant. Thank you  10           A. Fentanyl patch.
    11   for your time.                                  11           Q. Any other forms other than fentanyl
    12      EXAMINATION BY COUNSEL FOR DEFENDANT 12                patch?
    13       TEVA PHARMACEUTICAL COMPANIES, INC.         13           A. I think you can get a fentanyl drip
    14          BY MS. BARBER:                           14        also. We -- I think you can get that. There's
    15      Q. Hi, Sergeant Baeppler. Are you            15        other opioid-type medicines that can be used
    16   ready?                                          16        intravenously at a hospital type -- you know,
    17      A. I'm ready.                                17        put in through the IV or whatever.
    18      Q. Okay. My name is Maureen Barber. I        18           Q. With respect to the fentanyl patch,
    19   represent the Teva defendants in this case.     19        is that anything that you've seen produced
    20          I know we've talked about a lot. I       20        illegally, or is that always a prescription?
    21   just have a few things to follow up on and a    21           A. I've never seen a fentanyl patch
    22   few additional questions. They might be         22        produced illegal -- I've never seen a
    23   scattered. So try to stay with me on the        23        counterfeit Fentanyl patch.
    24   topics.                                         24           Q. How about a fentanyl drip; have you
    25          As with my colleagues' questioning,      25        ever seen that produced illegally?
                                                                                            56 (Pages 218 - 221)
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Case: 1:17-md-02804-DAP Doc #: 1974-9 Filed: 07/24/19 57 of 108. PageID #: 211361


                                                    Page 222                                                 Page 224
     1      A. No.                                              1       A. Limited.
     2      Q. Have you ever seen fentanyl in nasal             2       Q. What sort of limited publicity have
     3   spray form?                                            3   you seen about the lawsuit?
     4      A. No.                                              4       A. Just that the City of Cleveland is
     5      Q. You mentioned a few times today that             5   part of a lawsuit against the pharmaceutical
     6   most -- many, if not most, of the overdoses            6   companies.
     7   that you see involve fentanyl.                         7           I don't watch normal TV. I don't --
     8          Would you agree with that?                      8   I -- there's a TV in my office that doesn't
     9      A. Yes.                                             9   work. Okay? I don't watch it. So the only
    10      Q. Do you know whether the fentanyl is             10   thing I see are little news blurbs that might
    11   from a legal or an illegal source?                    11   come up in a headline on my news feed, you
    12      A. I believe it's more -- everything               12   know, on my phone or tablet. But I really -- I
    13   that I've seen, for the most part, is from an         13   don't pay attention to those things.
    14   illegal source. Now, we have seen some                14           I don't -- I try not to burden my
    15   fentanyl patches that were procured in another        15   brain, as limited as it is, with things I have
    16   way, but that's extremely rare.                       16   no control over.
    17      Q. When you say "fentanyl patches                  17       Q. Okay.
    18   procured in another way," do you mean illegal?        18       A. And this is something I have very
    19      A. They've stolen them somehow. They               19   little control over, if any.
    20   didn't belong to the person that was using            20       Q. Would you say they mostly come from
    21   them.                                                 21   news articles or news blurbs?
    22      Q. We talked earlier today about a                 22       A. Yes.
    23   priority target list. And I don't want to talk        23       Q. Okay. Any radio ads or
    24   about that particular list that was clawed back       24   announcements that you've heard about the
    25   today.                                                25   lawsuit?
                                                    Page 223                                                 Page 225
     1          But you remember the discussion that            1      A. I don't recall any. I could have
     2   we had about that priority target e-mail and           2   heard something on my AM radio. But it would
     3   the list?                                              3   just be a quick blurb. And like I said, I have
     4      A. Yes.                                             4   very limited knowledge to what the particulars
     5      Q. You mentioned an investigation                   5   are with the lawsuit. I mean I'm kind of
     6   involving a priority target where that target          6   gathering things as I sit here, but I -- very
     7   received Percocet pills.                               7   limited.
     8          Do you remember that?                           8      Q. Do you know of any other individuals
     9      A. Yes.                                             9   in your department who have been deposed in
    10      Q. Did that priority target receive                10   this case?
    11   those -- or obtain those Percocet pills from a        11      A. I believe Commander Connelly. I
    12   manufacturer directly?                                12   think he has. I think Commander Gingell has or
    13      A. I'm not sure where they get them                13   is going to be. And Detective Moran either was
    14   from.                                                 14   or is going to be.
    15      Q. When did you first learn of this                15      Q. Have you talked to any of those
    16   lawsuit?                                              16   individuals about the substance of their
    17      A. Sometime after I was transferred                17   depositions?
    18   over from the gang unit to the narcotics unit.        18      A. No.
    19      Q. Did you learn that you'd be deposed             19      Q. Have you talked about -- have you
    20   in this lawsuit after you learned about the           20   talked with any of those individuals about the
    21   lawsuit itself?                                       21   substance of your deposition or what you
    22      A. I learned I was going to be deposed             22   anticipate --
    23   a couple of weeks ago.                                23      A. No.
    24      Q. Have you ever seen any publicity                24      Q. -- being questioned about?
    25   about the lawsuit?                                    25      A. No. Other than I'm not looking

                                                                                             57 (Pages 222 - 225)
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Case: 1:17-md-02804-DAP Doc #: 1974-9 Filed: 07/24/19 58 of 108. PageID #: 211362


                                                   Page 226                                                  Page 228
     1   forward to it. And that's about it. Just -- I         1      Q. Have you heard of Allergan?
     2   was told not to say anything to anybody because       2      A. No.
     3   it's a problem. So we don't -- I don't talk           3      Q. Have you heard of Watson
     4   about it with anyone.                                 4   Laboratories?
     5       Q. Have you worked with any                       5      A. I have. I've heard the name before.
     6   pharmaceutical manufacturers in any of your           6   I don't know what they make.
     7   investigations?                                       7      Q. You're not sure whether they
     8       A. I could have swear it was Johnson &            8   manufacture opioids?
     9   Johnson. But it wasn't for pharmaceuticals.           9      A. No.
    10   It was for baby formula. And they were pretty        10      Q. Yo have no information that they do?
    11   good to work with. That's all I can tell you.        11      A. No.
    12       Q. Before today did you have any                 12      Q. Have you heard of Actavis?
    13   information about whether any of the defendants      13      A. No.
    14   in this case manufacture opioids?                    14      Q. Have you heard of Insys?
    15       A. I'm sorry. Can you say it again.              15      A. What's the name of it?
    16       Q. Before today did you know whether             16      Q. Insys.
    17   any of the defendants manufacture opioids?           17      A. No.
    18       A. I just saw the list for the first             18      Q. Have you heard of Mallinckrodt?
    19   time today. And I know Purdue -- I believe           19      A. No.
    20   Purdue manufactures pharmaceuticals. And the         20      Q. And finally Spec Gx?
    21   other ones I -- most of them on the list I           21      A. No.
    22   didn't even recognize.                               22      Q. Have you ever seen any advertising
    23       Q. Okay.                                         23   for opioids?
    24       A. And some of them are obviously                24      A. Not that I recall.
    25   well-known stores, you know, Wal-Mart, CVS, so       25      Q. Have you ever reviewed any
                                                   Page 227                                                  Page 229
     1   forth.                                                1   prescribing information for prescription
     2       Q. Okay. I just want to go through a              2   opioids?
     3   couple of the manufacturers in particular.            3      A. In what regard are you speaking of?
     4           Have you ever heard of Teva?                  4      Q. Have you seen any labels for
     5       A. T-E-V-A?                                       5   prescription opioids?
     6       Q. Yes.                                           6      A. Yes.
     7       A. Not in the regard for that. I know             7      Q. What labels have you seen?
     8   it's a shoe company. I'm sure it's not a shoes        8      A. Obviously I've seen labels at crime
     9   company in this lawsuit though.                       9   scenes. I've seen -- labels also were --
    10       Q. Have you ever heard of Cephalon?              10   everybody has seen labels if they've had
    11       A. No. Not that I recall. If I've                11   surgeries or whatever else. Everyone -- I mean
    12   heard it, I don't remember what it's for.            12   anyone that's had a surgery that's gotten an
    13       Q. And you said you've heard of Purdue;          13   opioid would see that.
    14   isn't that correct?                                  14      Q. When you say you've seen labels at
    15       A. Yes.                                          15   crime scenes, were those labels for
    16       Q. And you don't know what opioids they          16   prescription opioids?
    17   manufacture, if any?                                 17      A. Some of them, yes.
    18       A. Not specifically, no.                         18      Q. In what context -- or -- strike
    19       Q. How about Endo Pharmaceuticals; have          19   that.
    20   you heard of that company?                           20         What prescription opioids' labels
    21       A. No.                                           21   have you sen at crime screens?
    22       Q. What about Par Pharmaceuticals?               22      A. Percocets, Vicodin, OxyContin.
    23       A. No.                                           23   More -- more common Percocet is probably the
    24       Q. Noramco?                                      24   most popular one we've seen.
    25       A. No.                                           25      Q. Were any of those crime scenes

                                                                                             58 (Pages 226 - 229)
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Case: 1:17-md-02804-DAP Doc #: 1974-9 Filed: 07/24/19 59 of 108. PageID #: 211363


                                                   Page 230                                                Page 232
     1   overdose scenes?                                      1   state to write prescriptions; isn't that
     2      A. Yes.                                            2   correct?
     3      Q. When -- can you give me a time frame            3      A. I believe so, yes.
     4   for when those -- when you saw those crime            4      Q. You looked at a number of charts and
     5   scenes?                                               5   statistics today.
     6      A. It would have been in the last --               6           Are you aware of any charts that
     7          MS. DEBROSSE: Object to form.                  7   distinguish between illicit opioids and
     8          THE WITNESS: It would have been in             8   prescription opioids?
     9   the last 14, 15 months.                               9      A. I'm sure that there's charts out
    10          BY MS. BARBER:                                10   there that distinguish between them. You
    11      Q. Are you familiar with the FDA                  11   mean -- we have them. We've gone over lists
    12   approval process for pharmaceutical products?        12   today that talked about heroin, fentanyl, so
    13      A. No.                                            13   forth.
    14      Q. Are you aware that the FDA approves            14           And I'm sure that there's some
    15   package inserts for pharmaceuticals?                 15   prescription drugs that they're also listed,
    16      A. I don't know what the FDA does. I              16   but -- you know, I'm sure there's a list out
    17   mean I know they're the Federal Drug                 17   there somewhere.
    18   Administration. I don't know what they do. I         18      Q. Are you aware of the opioid
    19   don't know what they approve. I don't know the       19   epidemic -- of what you believe is an opioid
    20   process of it either.                                20   epidemic occurring anywhere else in Ohio?
    21      Q. When did you first learn that                  21      A. I think it's all over the State of
    22   opioids are addictive?                               22   Ohio.
    23      A. Years ago when I first came on the             23      Q. Are you familiar with any particular
    24   job, you know, with -- with -- you know -- to        24   area?
    25   me any drug can be addicted -- or addictive.         25      A. I believe I saw a program about
                                                   Page 231                                                Page 233
     1   Anything -- or virtually anything.                    1   Marietta, Ohio, being a problem.
     2          There's a few -- you know, anything            2      Q. When was that?
     3   that you're taking like that that gets rid of         3      A. A couple of years ago. It was
     4   pain, there's a possibility that you could be         4   connected with some girls missing or something
     5   addicted to it. That's my experience, and             5   along those lines.
     6   that's what I've seen.                                6      Q. Any other areas where you're
     7          BY MS. BARBER:                                 7   familiar with an opioid epidemic in Ohio?
     8      Q. Have you ever heard of a black box              8      A. Let me put it this way: We -- I
     9   warning with respect to an FDA package insert?        9   know that we have people come from all parts of
    10          MS. DEBROSSE: Object to form.                 10   northern -- Northeast Ohio to buy their drugs
    11          THE WITNESS: No.                              11   in Cleveland. It's not uncommon to have people
    12          BY MS. BARBER:                                12   from Lorain County, Medina County, Trumbull,
    13      Q. To legally obtain a prescription               13   you name it. They show up, and they're buying
    14   opioid in the United States, a person has to         14   drugs.
    15   have a prescription for that; isn't that             15          So it's -- it's -- from my limited
    16   correct?                                             16   experience, it's certainly part of Northeast
    17      A. Yes. As far as I know in the U.S.              17   Ohio. And I've heard it from other parts of
    18      Q. And it's your understanding that,              18   the state as well.
    19   for a pharmacy to dispense a prescription            19      Q. Have you personally worked in other
    20   opioid, the pharmacy has to receive a                20   areas in the State of Ohio in relation to
    21   prescription for the opioid; isn't that              21   prescription opioids?
    22   correct?                                             22      A. No.
    23      A. Yes.                                           23      Q. Have you attended any Opiate Task
    24      Q. And a prescription for opioids has             24   Force meetings in Cleveland or Cuyahoga County?
    25   to be written by someone who is licensed by the      25      A. I've attend meetings with the DEA.

                                                                                           59 (Pages 230 - 233)
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Case: 1:17-md-02804-DAP Doc #: 1974-9 Filed: 07/24/19 60 of 108. PageID #: 211364


                                                  Page 234                                                  Page 236
     1   And I've -- I've -- we've -- I've talked             1   opioids. But we did have a couple where they
     2   earlier about that I've attended meeting with        2   swallowed a cocktail of pills. But I can't say
     3   the commander about, you know, various things.       3   for sure what they were because they kind of
     4   But we've gone over them.                            4   just took everything in the medicine cabinet.
     5          And like I said, I don't want to go           5           And so, yeah, the short answer is I
     6   into some of the names I've talked to at the         6   can't name one specific one -- name one
     7   DEA because they're- - they involve targets.         7   specific person that took opioid pills and
     8      Q. Have you attended any meetings                 8   died. Not offhand. Not since I've been here.
     9   though with a particular group called the            9      Q. Have you seen any instances of
    10   Opiate Task Force?                                  10   overdose -- of overdoses or overdose deaths
    11      A. Quite frankly, I'm not sure. I --             11   where someone just took too many of their
    12   I'm not sure if I'm part of the Opiate -- or        12   prescription pills -- opioid pills?
    13   the Opioid Task Force or not. I'm not sure          13      A. As I said, as I just mentioned, I
    14   what that is.                                       14   mean it happens that people take some of their
    15          Because I -- I do know that I attend         15   pills like that. But not that I've personally
    16   meetings, and there's other people there. And       16   seen other than the one I mentioned.
    17   I don't know if they call us that or if there's     17      Q. So that was just a one-time...
    18   a different one that I don't know about.            18      A. That's the only one I've seen just
    19          So it's hard to answer that because          19   with -- with prescription pills alone, yes.
    20   they come up with task force names all the          20      Q. Was that an intentional overdose?
    21   time.                                               21      A. It appeared to be.
    22      Q. Do you know whether the Cleveland             22      Q. Are you aware of any -- in the
    23   Police Department has ever formalized an            23   course of your work, are you aware of any
    24   assessment of contributing factors for the          24   opioid overdoses or deaths caused by a person
    25   opioid epidemic?                                    25   who takes a medication that was prescribed to
                                                  Page 235                                                  Page 237
     1          MS. DEBROSSE: Object to form.                 1   someone else?
     2          THE WITNESS: I don't know.                    2      A. Not that I'm aware of that I've been
     3          BY MS. BARBER:                                3   to personally. There may have been others
     4      Q. Are you aware of any reports from              4   before me.
     5   the Cleveland Police Department that lists           5          And once again, I mean we're --
     6   contributing factors to the opioid epidemic?         6   you're asking if people are taking these
     7      A. Not that I'm aware of. There may be            7   specific pills and they died from them, right?
     8   one, but I don't recall it.                          8          Or if they were -- in this case, if
     9      Q. Would you agree with me that not all           9   they were prescribed for someone else, and this
    10   users of prescription opioids become addicted       10   person took them and then overdosed?
    11   to prescription opioids?                            11      Q. Yes. Maybe I can set up a
    12      A. Yes. Not -- not everyone. I                   12   hypothetical or set up a situation.
    13   mean...                                             13          Someone is prescribed prescription
    14      Q. So you would agree that there are             14   opioids properly, legally. And they give the
    15   people out there who take prescription opioids      15   prescription opioids to someone else illegally.
    16   and don't become addicted?                          16          Have you seen any overdose or
    17      A. Of course. I would agree with that            17   overdose deaths resulting from that sort of
    18   statement.                                          18   scenario?
    19      Q. Are you aware of any overdose deaths          19      A. No. Because what I've seen are
    20   attributable to the use of prescription opioids     20   people that start off, they've given -- they're
    21   as they were prescribed?                            21   given opioids, and then they become addicted to
    22      A. You mean as the main cause or as              22   them, and then they usually go -- they graduate
    23   what started them out?                              23   to another drug, such as fentanyl or heroin or
    24      Q. As the cause of the overdose.                 24   a combination.
    25      A. No. No. I take it back. Maybe not             25          And that is how almost all of the

                                                                                            60 (Pages 234 - 237)
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Case: 1:17-md-02804-DAP Doc #: 1974-9 Filed: 07/24/19 61 of 108. PageID #: 211365


                                                Page 238                                                 Page 240
     1   deaths that I've seen have occurred.               1   the actions of a particular defendant in this
     2      Q. Other than when you were undercover,         2   case?
     3   can you identify any prescriptions for opioids     3      A. No, I can't.
     4   written in Cleveland on the basis -- I'm sorry.    4           MS. DEBROSSE: Object to form.
     5   Strike that.                                       5           BY MS. BARBER:
     6          Other than when you were undercover,        6      Q. Does the Cleveland Police Department
     7   do you have any knowledge of improper              7   operate any programs for treatment for people
     8   prescriptions for opioids being written in         8   addicted?
     9   Cleveland?                                         9      A. Does the city of Cleveland Police
    10          MS. DEBROSSE: Object to form.              10   Department or City of Cleveland?
    11          THE WITNESS: There's been incidents        11      Q. The City of Cleveland Police
    12   that I can't recall right now that have been --   12   Department.
    13   you know, we hear it happening all the time,      13      A. Do we offer any programs for
    14   especially -- but, you know, yes, there are       14   treatment?
    15   incidents. I can't recall the specific names      15      Q. For addicted persons.
    16   though. I mean it's not uncommon, terrible        16      A. I know that -- I know that some
    17   uncommon, at least.                               17   policemen have become addicted to drugs and
    18          BY MS. BARBER:                             18   that the city will offer to help them do
    19      Q. And the reason you went undercover          19   whatever. It's just like drinking.
    20   to obtain prescription opioids from a doctor is   20           I do know that they offer programs
    21   because it was happening prior to?                21   or they can assist them to programs. And
    22      A. Yes. Yes. It was Detective Prince           22   that's -- they are -- there are signs up and
    23   needed a hand with a case. He asked me to go      23   stuff like that. And we get news -- or e-mails
    24   undercover, which I did. And I didn't get the     24   every now and then.
    25   actual pills. We just got the prescription,       25           It's also employee assistance -- our
                                                Page 239                                                 Page 241
     1   the piece of paper.                              1     employee assistance unit would handle that. So
     2      Q. Remind me when was that?                   2     if there's any issues like that for whatever
     3      A. A few years ago, five years ago.           3     reasons: you're stressed out, you have super
     4   Somewhere around there.                          4     anxiety. Or if you turn out to have some kind
     5      Q. Can you point -- you can't point to        5     of drug problem or alcohol problem, that's who
     6   any conduct by any manufacturer defendant in 6         you're supposed to go to.
     7   this case?                                       7             Unless of course they catch you
     8          MS. DEBROSSE: Object to form.             8     doing something. If you don't go to them
     9          BY MS. BARBER:                            9     first, then you're fired.
    10      Q. Related to any of the claims in this      10         Q. Do you know who pays for that
    11   case, can you?                                  11     program?
    12          MS. DEBROSSE: Object to form.            12         A. No.
    13          THE WITNESS: I don't know what they 13              Q. Are there any programs for treatment
    14   do -- I don't know what the drugs that they     14     for addicted persons who aren't employees of
    15   produce are. I don't -- I'm not involved like   15     the police department?
    16   that. All I am is I'm at the ground level. I    16         A. I do know that, when we go to the
    17   see the end result of what happens.             17     hospitals -- I don't know who pays for it. I
    18          So no. I don't -- I don't know what      18     do know that we offer -- and when I say this,
    19   those companies produce. So I can't say -- I 19        we -- everybody gets offered a treatment if
    20   can't point my finger and say -- like I said, I 20     they want it.
    21   don't know what drugs they produce. So I can't 21              We say, "Do you want to get help?
    22   do that.                                        22     Do you want to stop doing this?"
    23          BY MS. BARBER:                           23             Very few of them actually go through
    24      Q. And it's also fair to say that you        24     with it. They might say, "Yeah." And then
    25   can't identify any specific costs attributed to 25     they'll hem and they'll haw. They'll waste our

                                                                                         61 (Pages 238 - 241)
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Case: 1:17-md-02804-DAP Doc #: 1974-9 Filed: 07/24/19 62 of 108. PageID #: 211366


                                                   Page 242                                               Page 244
     1   time for three hours or whatever. Then they'll        1       A. Meth epidemic was more confined.
     2   say, "Ah, forget. I'm not going."                     2   And the meth problem was more to do -- it was
     3          But we do offer it. And I don't                3   dangerous. It's a dangerous drug to produce.
     4   know -- like I said, once again, I don't know         4   It's explosions and everything else.
     5   who pays for it. But I know that there's three        5           You'd cook meth in the house, and
     6   or four places that we can take them to. And          6   the chemicals that are emitted during the
     7   it's one of our goals, you know, to try to get        7   cooking process, it can kill people. Or if a
     8   them -- it's like our main goal is to get them        8   child moves into the house later, the child can
     9   treatment along with finding out who sold them        9   have severe problems down the road. And so,
    10   the drugs that hurt them.                            10   for -- from a health perspective, that was like
    11       Q. In your experience, has Cleveland             11   the big problem there.
    12   experienced epidemics related to the abuse of        12           Now, meth in Cleveland isn't like
    13   any other substance besides opioids?                 13   meth in the western part of the United States.
    14       A. Yes. When I first came on, crack              14   Meth in Cleveland is -- it's -- it's more in
    15   cocaine was very -- was pretty damaging.             15   the -- in the gay -- in the gay clubs, not in
    16       Q. Any others?                                   16   the mainstream, you know. Or not it's sold on
    17       A. Limited meth. There was also a                17   the corners like it is anywhere else.
    18   while where K2 was pretty bad, was messing           18           It's also -- there are circles of
    19   people up, which was being sold primarily at         19   it. So once we broke into the circles for the
    20   gas stations and, you know, convenience-type         20   cooks, really we were able to eliminate almost
    21   stores. Was pretty bad. We did some cases            21   all of them to the point where they left for
    22   with that.                                           22   the most part.
    23          Then, you know, like I said, some             23           MS. BARBER: That's all the
    24   things, they'll go in spurts, and they just die      24   questions I have.
    25   out. And others, they'll spurt, spurt, and           25           MR. ROMAN: So, Sergeant, unless
                                                   Page 243                                               Page 245
     1   then they'll just explode. Almost -- almost           1   your counsel has questions, you are done for
     2   what the -- the opioid epidemic did.                  2   today.
     3      Q. How did the police department                   3           We have got 27,000-plus documents to
     4   respond to the cocaine epidemic?                      4   read. I hope we don't have to come back here.
     5           MS. DEBROSSE: Objection to form.              5   But unfortunately, we need to reserve that
     6           THE WITNESS: In my experience, it             6   right.
     7   was -- I don't know exactly if they had a plan        7           THE WITNESS: Okay. No. I get it.
     8   of action. It was just that we'd go out; we'd         8   Sorry again for the documents. I had nothing
     9   arrest.                                               9   to do with that.
    10           At my level at that time, I was a            10           MR. ROMAN: No. We don't blame you
    11   regular patrol officer. We'd go out and, you         11   at all, sir.
    12   know, if we make an arrest, it would get             12           MR. McLAUGHLIN: I just wanted to
    13   forwarded to the vice unit or the narcotics          13   say the pharmacy defendants join in that
    14   unit. And they follow up from there. And, you        14   reservation of rights.
    15   know, it was just constant pressure to make          15           MS. BARBER: And the manufacturer
    16   arrests.                                             16   defendants do as well.
    17           You know, or you go to every                 17           MS. DEBROSSE: All right. We're
    18   community meeting. The number one complaint          18   done.
    19   are drug dealers, you know, causing problems.        19           (Whereupon, the proceeding was
    20   And then there's also -- like amount of money        20   concluded at 3:33 p.m.)
    21   that was involved was also causing shootings         21
    22   and homicides.                                       22
    23           BY MS. BARBER:                               23
    24      Q. Was the result the same for the meth           24
    25   epidemic that you just discussed as well?            25
                                                                                          62 (Pages 242 - 245)
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Case: 1:17-md-02804-DAP Doc #: 1974-9 Filed: 07/24/19 63 of 108. PageID #: 211367
Case: 1:17-md-02804-DAP Doc #: 1974-9 Filed: 07/24/19 64 of 108. PageID #: 211368


                                                       Page 250
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                                                                            64 (Page 250)
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Case: 1:17-md-02804-DAP Doc #: 1974-9 Filed: 07/24/19 65 of 108. PageID #: 211369


   [& - 2004]                                                                     Page 1

              &           000267663 6:24        1-5-18 6:15           166 7:2
    & 2:5 3:3,14,18         160:17              1/17/2019 247:8       17 1:5,9,19 6:20
      4:3,7 9:6,11,14     000267678 5:25          248:3 249:3 250:2     82:1 150:1,5
      10:3 83:1,8 226:8     107:19              10 6:6 69:14 88:11    179 7:5
                          000345261 211:13        119:10,14 123:8     18 1:11,13 6:23
              0
                          000345261-268           150:19 188:15         41:24 160:12,16
    000011161 119:19        7:18                10018 4:5             1820 247:2
    000011161-1163        000366813-875         101 5:24              183 7:7
      6:7                   6:22                106 97:25             19 7:2 166:20
    000179751 5:17        001476069 131:6       107 6:2               190 7:9
      85:16               001476069-6080        11 6:8 69:14 127:3    192 97:22
    000180822 36:7          6:11                  127:7,24            194 7:11
    000180822-827         001476081 133:7       11-25-12 6:6          1970s 73:3
      5:11                001476081-6092        1100 247:1            198 7:14
    000182046 6:15          6:14                111 6:4               1990s 73:4
      134:19              001477213 41:24       116 6:6               1994 24:14
    000189730 5:15        001477213-7218        119 6:8               1995 24:15
      80:6                  5:13                11937 246:17          19th 160:18 161:1
    000247906 6:17        001477582 6:3         12 6:10 28:18         1m 210:3
      138:3                 112:5                 69:14 130:25        1s 208:9
    000251274 205:12      002231597 94:5          131:4,15            1st 166:25
    000251274-283         002231597-1607        13 6:12 28:18 61:5             2
      7:16                  5:21                  133:1,5
    000251552 6:9                                                     2 5:12 41:18,22
                          002231621 7:13        130 6:10 159:14
      127:9                                                             58:12 147:12
                            194:9               132 6:12
    000266813 150:8                                                     148:5,11 192:7
                          002257384 116:8       134 6:15
    000266815 150:9                                                     208:10,12
                          002257384-385         137 6:16
    000267011 5:23                                                    2-26-18 5:24
                            6:5                 14 6:15 134:13,17
      99:11 101:6                                                     2-27-18 5:10
                          002366453 146:22        134:25 230:9
    00026712 100:1,2                                                  2-7-18 7:6
                          002366453-6461        146 6:18
    000267124 7:10                                                    2-8-18 5:21
                            6:19                149 6:20
      190:18                                                          20 7:5 116:13,24
                          002371733 7:4         15 6:16 137:22
    000267423 7:8                                                       162:23 179:3,5
                            166:24                138:1,9 230:9
      183:18                                                            246:15 248:16
                          012 99:11             152 5:4
    000267426 197:25                                                    249:22 250:22
                                   1            15219 3:20
    000267426-429                                                     2000 54:10 74:17
                                                16 6:18 146:16,20
      7:14                1 5:10 36:1,5                               20001 3:15
                                                  147:1
    000267427 198:1         58:12 109:17                              2002 26:19
                                                160 6:23
    000267609 7:6           191:17 208:11,12                          2003 25:1,18 61:4
                                                1607 94:5
      179:4               1,006 167:25 168:8                          2004 26:14 28:11
                                                164 130:15
                          1,059 168:1                                   28:20 29:6

                                   Veritext Legal Solutions
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Case: 1:17-md-02804-DAP Doc #: 1974-9 Filed: 07/24/19 66 of 108. PageID #: 211370


   [2005 - 80]                                                                     Page 2

    2005 26:14 28:11        139:16 141:4        2804 1:4,5            45005 1:9
      28:20 29:6 172:7      142:12 147:8        29th 194:20 195:5     45090 1:13
    2006 95:12              150:19 160:18         195:19              45132 1:11
    2008 54:11,21,22        179:12,16,21        2m 210:3              454 148:11
      55:1 56:3,4 69:13     183:24 184:5        2nd 3:3               477 96:20
      73:4 163:2            190:23 191:1,5      2s 208:8              4th 2:7 42:13
    2009 54:11 55:1         192:5,10,12         2sam14 187:21                  5
      56:3,5 73:4 163:2     194:20 195:5,19              3            5 5:18 93:24 94:3
    201 10:10               195:23 198:6
                                                3 5:14 26:19 79:25    5-10-18 6:21
    2012 28:20 29:7,24    2019 1:19 246:15
                                                  80:4,12 127:19,25   5-24-18 5:12
      30:11 31:3 61:4       247:4
                                                  191:16,17           5-25-18 5:16
      66:10 67:3 120:3    202-942-5000 3:15
                                                3-20-18 6:4           50 51:12 53:2,16
      120:7 123:21        205 7:15
                                                3-27-18 6:2             168:9
    2013 7:4 28:20        205-983-7985 3:4
                                                3-28-18 7:10          51 53:14
      29:7,24 30:11       21 7:7 183:17,19
                                                3-29-18 7:12          5th 7:2 135:6
      31:3 66:10 67:4     211 7:17
                                                3-6-18 6:16                    6
      82:1 127:16         212-841-1221 4:5
                                                3-7-18 7:14
      128:19 166:25       213 5:5                                     6 5:22 99:5,9
                                                3-8-18 7:8
      167:4 168:19        216-523-1313                                  101:2,5,10 139:15
                                                30 101:12
    2014 28:17 128:20       247:3                                     6-22-17 5:14
                                                30th 105:19
    2015 28:17 54:22      216-586-3939 3:9                            60 51:12 53:14
                                                3191692 1:25
      130:22              219 5:6                                     601 3:14 95:7
                                                  247:7 248:2 249:2
    2016 130:11,22        22 7:9 81:1 190:17                          61 146:22
                                                33 131:14
      135:23,25 190:25      190:19 247:4                              620 4:4
                                                349 96:24
      191:15,25           22nd 80:13                                  63 119:19
                                                35203 3:4
    2017 5:20 6:11        23 7:11 194:5,8                             6th 138:22 139:18
                                                36 5:10
      31:2,4 32:7 80:13   2332 3:3                                      179:19 180:6
                                                385 116:8
      81:1 96:18 97:11    24 7:14 46:1                                         7
                                                3:33 245:20
      98:10 127:16          197:24 198:3                              7 5:24 107:13,17
      130:14,16,22        25 7:15 85:22                  4
                                                                        107:22 198:6
      135:16,22 136:25      120:3 162:24        4 5:16 85:10,14
                                                                      70 51:12 53:15
      142:11 192:1,1,15     205:7,11              192:2,18
                                                                      79 5:14
      192:18 210:18       250 97:3,20,21        4-19-18 6:23
                                                                      7th 179:12,16,23
    2018 6:13 36:10,18    26 7:17 107:23        4-30-18 5:22
                                                                        199:9
      37:18 42:13 43:2      211:12,14           40 17:14
                                                41 5:12                        8
      85:22 95:12,15      27 36:7,10 112:9
      101:12 105:19         112:13              412-560-7463 3:20     8 5:3 6:2 111:25
      107:24 112:9,13     27,000 8:17 245:3     415-591-7059 4:9        112:3,8 183:24
      114:3 116:13,24     28 190:23 191:5,9     429 198:2               184:5
      133:12,23,24          195:23              44114 3:9 247:2       80 51:12,14,17
      135:6 138:22                                                      52:23 53:3,15,19

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Case: 1:17-md-02804-DAP Doc #: 1974-9 Filed: 07/24/19 67 of 108. PageID #: 211371


   [80 - amount]                                                                Page 3

      60:19 65:16 67:3   academy 24:15,17        237:21 240:8,15    aftermath 48:15
      67:17 131:6        access 171:8            240:17 241:14      agency 207:2,7,13
    814 150:8            accidentally 156:2    addiction 43:12,16   ago 10:24 20:3
    85 5:16              accurate 88:1           57:17 110:7          28:3,16 35:25
    875 150:9              128:10 178:7,9,15     217:18,21 218:4      60:20 78:18
    89 185:19              178:17 182:21         218:18               163:19 172:5
             9             191:23 192:3,8      addictive 55:20        195:16 223:23
                           196:13 197:17,19      230:22,25            230:23 233:3
    9 6:4 69:14 116:2
                           197:20              addicts 136:8          239:3,3
      116:6,12
                         accurately 70:10        161:18 217:17      agree 81:13 85:3
    901 3:8
                           180:8               additional 154:1       160:2 175:2,11,16
    90s 68:17,18
                         acknowledge             219:22               178:6 222:8 235:9
    92 133:7
                           248:11 249:16       address 10:9           235:14,17
    93 5:18 17:18
                         act 248:14 249:20       122:8,8 163:20     agreements 77:4
      23:11
                         actavis 228:12          203:4 247:15       ah 148:4 242:2
    94 17:18 23:11
                         acting 218:7          addresses 15:12      ahead 32:16 89:16
    94111 4:8
                         action 40:1 243:8       15:13,14,18,22       122:14 156:13
    95 25:1
                           246:11                120:25,25            159:25 179:13
    950 2:6
                         actions 240:1         addressing 178:8       191:2
    99 5:22
                         active 99:17,22       adds 121:2           aid 83:2 214:21
    9:05 1:20
                           102:4 104:6         administer 40:2        215:10
             a             106:23                157:2 198:25       aimed 124:17
    a.m. 1:20            actively 33:11          199:6              al 1:8,10,12,13
    aaron 1:7            activities 149:13     administered         alabama 3:4
    aberration 183:15    activity 69:16          108:25 109:1       alarms 188:9
    ability 246:9          107:4                 162:20 200:11      alcohol 186:6,12
    able 89:7 140:3      actual 100:24           202:21               186:17 241:5
      149:8 202:25         188:10 202:18       administration       alert 183:25 186:4
      244:20               238:25                230:18               186:20 187:16,17
    absolutely 104:13    add 31:23             administrations        187:18,25 188:1
    abuse 18:16,17       addict 49:8,9           40:13                202:16
      19:2,24 125:11       55:21 66:8          administrator        alerts 184:9
      126:18 162:25      addicted 43:8,9         135:9                186:11 187:15
      178:9,15 185:14      50:16 51:2 55:9     ads 224:23             188:8 189:21
      185:15 217:21        55:11,23 65:5       advertising 228:22     190:11
      218:4,18 242:12      66:1 70:13 125:20   advised 10:12        alive 63:24,25 64:1
    abused 178:1           136:9,15 161:17     affiliated 38:10     allergan 228:1
    abusing 151:21         164:21 165:7        affixed 248:15       alleviating 79:18
    abusive 67:22          181:12 217:22,24      249:21             amended 101:2
    academic 17:23         219:3 230:25        afford 126:1         amount 46:9
                           231:5 235:10,16                            108:24 162:19

                                  Veritext Legal Solutions
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Case: 1:17-md-02804-DAP Doc #: 1974-9 Filed: 07/24/19 68 of 108. PageID #: 211372


   [amount - attributable]                                                         Page 4

      173:23 177:4,5        210:16,17           aseem 4:7 9:10          207:11
      243:20              appended 249:11         152:14              associations 38:9
    analog 99:3             249:18              asian 81:15 85:5      assume 11:22
    analysts 113:7        applied 151:8         aside 163:22            18:24 25:13 63:24
    andrejeak 123:14      approval 148:19         195:17                72:5 103:24 128:9
    announcements           230:12              asked 38:18,19        assuming 32:18
      224:24              approve 147:13          63:24 66:23           88:18 128:10
    answer 11:21            230:19                173:21,25 174:3,7   atf 18:13
      18:19 46:21 52:11   approved 148:7          194:3 196:3 201:4   athletes 49:15
      53:11 56:10,11      approves 230:14         220:2 238:23          64:16
      60:10 63:8 64:10    approving 147:12      asking 13:6 50:2      athletic 111:8
      68:10 69:22 70:9    approximately           53:7 56:1 59:5,15   attached 105:16
      85:8 89:7 90:21       51:18                 63:23 66:21 70:11     117:7 127:24
      102:5 115:24        april 42:13 101:12      73:8,10 89:1          150:6 195:7,12,15
      128:14,17 137:4,6     105:19 160:18         90:15 103:2 111:4     198:11,13,18
      168:21 169:12         161:1 210:18          141:25 147:24         249:7
      186:23 216:15       arcos 170:8,12,18       166:12 175:24       attaching 194:10
      220:4 234:19        area 10:13 25:7         176:5 196:9 197:5   attachment 6:21
      236:5                 26:15,20 34:13        201:12 213:15         7:12 150:9 151:4
    answered 126:11         86:17 143:4           216:13,25 237:6       194:11,13 195:17
    antenna 74:3            150:21 163:9        asks 161:14             198:1,8,16 199:18
    anticipate 225:22       232:24              aspect 113:7            199:25 201:16
    anticipated 6:18      areas 109:20          assessment 27:9       attachments
      104:2                 121:23 141:23         90:17 234:24          127:23
    anxiety 241:4           233:6,20            assessments 90:7      attempt 121:8
    anybody 10:6 13:8     arisen 104:20         assigned 25:7         attend 44:7 147:9
      13:19 226:2         arm 130:6               27:23 34:2,3,6,9      233:25 234:15
    anymore 84:8          arnold 3:14 10:3        34:16 45:20         attended 139:23
    anyway 82:18          arnoldporter.com        146:12                233:23 234:2,8
    apadukone 4:9           3:16                assignment 248:2      attending 112:24
    appear 69:10          arrest 66:5,6 79:2      249:2 250:2         attention 16:16
      149:10 194:22         79:5,6 243:9,12     assist 172:22           36:17 57:17 80:10
      207:12 209:11       arrested 57:3           217:24 240:21         81:6 86:5 92:3
      210:14 248:11         106:19,20           assistance 151:9        103:13,20 108:10
      249:15              arrests 34:23           208:24 240:25         113:23 135:13
    appearances 3:1         243:16                241:1                 140:23 148:10
      4:1                 article 20:20         assistant 4:18          180:4 224:13
    appeared 236:21       articles 20:19        associated 15:19      attorneys 12:8
    appears 124:21          224:21                22:3 157:10           13:10
      130:11 167:18       ascent 42:23 43:4     association 44:14     attributable
      198:8 205:18,19       43:6,23               112:10,19 147:4       235:20

                                   Veritext Legal Solutions
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Case: 1:17-md-02804-DAP Doc #: 1974-9 Filed: 07/24/19 69 of 108. PageID #: 211373


   [attributed - best]                                                             Page 5

    attributed 239:25       100:4,8,14,22        baseball 182:23       begins 81:7 210:18
    august 147:8            101:23 105:16        based 63:17 65:17     behalf 2:19 3:2,6
    austin 101:11,15        106:21 119:17          69:25 78:25 81:15     3:11,17 4:2 9:11
    authentic 118:17        121:24 122:2           84:17 85:4 87:20      9:13,16 10:3
      119:3                 123:8 127:18           89:19 90:16         belatedly 8:23
    authorize 249:11        138:17 141:14          200:19,23           belief 49:1,5 50:3
    authorized 246:6        161:20 164:3         baseline 178:3,4        55:5 73:14 92:24
    automated 151:13        222:24 235:25        bashein 12:10           104:15 133:18
    available 47:8,9        245:4 247:15         basic 218:12            134:9 164:19
      72:14 73:1,3,16,16   bad 63:11 117:3       basically 35:13         193:8
      79:16 128:19          242:18,21              38:18 43:7 44:16    believe 37:21 38:3
      134:5 148:14         baeppler 1:17 2:1       76:19,23 120:12       43:20 72:22 75:3
    ave 247:1               5:2 8:3,10 9:21        140:2 180:18          75:12 76:1 77:9
    avenue 2:6 3:3,8        10:8 36:4 37:7         200:4,10              80:24 84:23 87:25
      3:14 4:4 10:10        41:21,22 65:15       basing 141:8,9          88:23 89:21 90:5
    average 168:25          80:3,4 82:7 85:13    basis 34:14 74:4        90:10 93:1,11
    avoid 153:16            85:14 94:2 99:8,9      88:23 104:14          99:1,23 104:11,12
    aware 45:7,10           99:23 101:4 112:2      126:24 136:11         104:12 106:3,24
      55:19 56:3 63:12      112:3 116:5,6          177:2 196:15,16       116:23 117:1
      64:25 69:20 71:7      119:13,14 127:6        238:4                 126:23 127:11
      76:24 79:14 83:16     131:3,4 133:4,5,19   bates 16:4,5 95:8       129:8 130:8
      83:20 84:9 86:21      134:16 137:25          119:16 148:12         131:16 136:16
      101:24 102:20         138:1 142:22           160:16 166:24         139:4 144:6
      104:22 145:2,23       146:19,20 150:4        179:4 183:18          151:17 152:2
      157:9 159:4,13        152:13 179:11          190:17 194:9,12       157:3 164:4
      165:24 166:16         183:24 190:24          197:25 211:12         183:11 184:17
      171:5,10 183:4        194:21 198:7         bearing 36:6            192:9 194:12
      204:1,2 220:22        219:15 246:5           41:23 80:5 85:15      195:9 196:19
      221:6 230:14          247:8 248:4,9          94:4 99:10 107:18     204:19 219:2
      232:6,18 235:4,7      249:4,13 250:20        112:4 116:7 127:8     222:12 225:11
      235:19 236:22,23     baggy 130:6             131:5 133:6           226:19 232:3,19
      237:2                bailys 42:23            134:18 138:2          232:25
              b            barber 3:18 5:6         146:21              believed 62:3
                            9:12,12 100:7,24     bears 150:7             88:14
    baby 83:10,11
                            219:14,18 230:10     becoming 164:21       believes 187:22
      226:10
                            231:7,12 235:3       bed 56:21             belong 222:20
    back 9:2 27:22
                            238:18 239:9,23      began 49:17 62:3      bertel 140:9
      28:1,4 31:9,11,13
                            240:5 243:23           135:24              best 53:16 55:12
      31:16,19 32:9
                            244:23 245:15        beginning 59:7          69:11 178:20,23
      37:25 53:19 64:3
                           base 46:9 54:13         64:7 113:1            186:1 190:8
      64:8 65:14,18
                                                                         193:23 197:21,22
      68:13 99:20 100:1
                                    Veritext Legal Solutions
    www.veritext.com                                                          888-391-3376
Case: 1:17-md-02804-DAP Doc #: 1974-9 Filed: 07/24/19 70 of 108. PageID #: 211374


   [best - category]                                                               Page 6

      217:24 246:8        box 231:8             buying 92:25          cartel 84:17
    better 38:21          brain 224:15            164:11 233:13         115:11
      176:13 196:4        break 11:25 57:23     buys 50:12,13         cartels 34:14
      206:20                61:17 63:20 65:10     61:2 122:12           84:24
    beyond 185:20           65:15 90:12                   c           case 1:5,9,11,13
    big 74:10 187:2         118:14 137:14                               7:18 14:2,5 29:21
                                                c 5:1 8:1 190:25
      244:11                142:18 211:17                               29:22 44:14 62:6
                                                  246:1,1
    bill 189:14             213:22                                      70:20 79:21,21,22
                                                ca 247:25
    binders 114:23        brian 42:23                                   82:8 83:10 114:2
                                                cabinet 236:4
    bino 34:18            brief 148:25                                  128:19 141:3
                                                cable 74:2
    birmingham 3:4        bring 27:21                                   161:24 172:24
                                                california 4:8
    bit 23:16 60:15       broke 208:7                                   173:6 178:8
                                                call 16:4 39:22
      68:19 69:1 121:10     244:19                                      185:23 192:19
                                                  40:24 129:8 132:5
      186:13              broken 25:10                                  203:16,19,25
                                                  184:17,19 185:9
    black 84:5,7 95:24      180:16                                      204:10,11 208:25
                                                  185:16,16,21,25
      231:8               brought 28:1,4                                211:22 215:17
                                                  191:14 234:17
    blame 150:17            31:13                                       216:21 217:12
                                                called 8:4 39:20
      245:10              build 29:18                                   219:19 225:10
                                                  130:6 136:10
    blind 96:3            building 4:4 29:21                            226:14 237:8
                                                  162:9 187:21
    blue 118:18 161:9     bunch 80:19,20                                238:23 239:7,11
                                                  202:17,18,25
    blurb 225:3             116:19 135:1                                240:2 247:6 248:3
                                                  234:9
    blurbs 224:10,21      burden 224:14                                 249:3
                                                calling 162:6
    board 37:14           bureau 26:23                                cases 29:22 58:8
                                                calls 129:13
      171:13,18 172:1,2     127:14 151:8                                63:12 88:22 89:2
                                                  144:23 187:20
      172:3,10              167:1                                       89:24 90:4 94:19
                                                cancer 56:19
    bockius 3:18 9:14     burglaries 66:3,7                             125:12,16 126:21
                                                capacity 11:3,5,6
    body 55:22 184:12     burling 4:3,7 9:6                             135:19 141:18
                                                caption 82:7
    bona 104:13             9:11                                        143:16 144:11
                                                car 25:6,11 50:14
    bonnie 1:24 246:3     business 42:18                                165:1,18 173:4
                                                  205:21 210:9,10
      246:18                73:22 81:2 86:2                             220:19,20 242:21
                                                care 108:6 152:7
    boss 30:2 81:13         101:16 108:3                              cash 121:25
                                                career 19:18 45:23
      85:2                  112:14 116:25                               122:10
                                                carfentanil 47:17
    bottom 36:23            135:7 150:24                              catch 183:9
                                                  97:22
      80:10,18 81:7         160:25 179:15                               185:23 186:3
                                                carlton 36:11
      117:5 125:8           180:1 184:6 191:4                           241:7
                                                carry 136:13
      147:22 151:2,2        195:6 205:25                              categories 57:23
                                                  156:11,15,16
      186:5 191:7         busy 142:16 181:4                             58:10,12,21
                                                  159:6
      198:25 199:5        buy 92:17,20                                categorize 98:21
                                                carrying 18:14
      200:2 201:16          164:14 165:15                             category 47:20
                                                  146:8
    bought 111:20           233:10                                      96:9
                                                cars 65:18
      126:25 127:1

                                   Veritext Legal Solutions
    www.veritext.com                                                         888-391-3376
Case: 1:17-md-02804-DAP Doc #: 1974-9 Filed: 07/24/19 71 of 108. PageID #: 211375


   [cause - cleveland]                                                              Page 7

    cause 86:17 96:19      change 72:7             171:22 177:19         194:9 197:25
      130:9 145:16           106:17 247:13,14      180:15 186:10         198:1 205:11
      184:14 215:18          249:8 250:3           189:18,22,25          211:13
      235:22,24            changed 55:4 56:6       190:2 194:23        cleveland 1:10,18
    caused 49:2 54:25        197:3,4               214:16,21,25          2:8 3:2,9 4:18
      71:2,5 90:19         changeover 69:17        215:4,8,18 216:1      6:18 7:17 9:16
      161:3 162:14         changes 247:12          216:20 217:10         10:10,11,13 11:4,7
      215:4,8 236:24         248:7 249:7,9         224:4 240:9,10,11     15:14 16:25 18:7
    causes 109:24          characteristics         240:18                23:17,20 24:6
    causing 98:15            122:7               city's 149:24           25:9 26:19 43:18
      110:2 243:19,21      charge 169:22           180:16                45:16 64:22 67:21
    ccmeo 183:25             170:2               civil 248:5 249:5       71:21 72:10 74:22
    cellophane 189:14      charges 22:4          claiming 216:1          75:18 78:15 79:20
    centre 3:19            chart 128:4           claims 239:10           83:24 84:4,13
    century 45:25          charts 232:4,6,9      clarifying 220:12       92:11 94:15 98:6
    cephalon 227:10        check 78:22           class 20:21 62:22       98:13,13 103:7
    certain 26:23          checked 196:21,23     classes 20:19           104:23 105:4
      68:20,21 76:1,2      chemicals 244:6       claw 99:20 100:1        113:14,17 114:4
      86:17 122:7 124:2    chief 140:8 148:9     clawed 100:22           121:16 124:14
      130:1 151:17         child 244:8,8           101:23 105:16         126:4 127:13
      201:19 209:3         china 81:15 84:10       222:24                129:4 133:20
      212:6,9 213:14         84:22 85:5          clawing 100:7,14        134:3 138:19
    certainly 150:13       choice 82:16          cleaned 129:25          141:4,11 145:17
      233:16               chris 9:15            cleans 188:20           149:2,7 152:23
    certificate 18:9       christopher 3:7       clear 46:17 51:20       153:18 157:5
      249:11               ci 50:15,15,18          147:21                158:16 159:4,13
    certificates 17:24     circled 148:11        cleve 5:11,13,15        162:25 165:22
      18:5                 circles 244:18,19       5:17,21,23,25 6:3     168:24 170:6,12
    certification 20:8     circumstances           6:5,7,9,11,14,15      170:13 171:6,7
      248:1 249:1            208:18                6:17,19,22,24 7:4     175:5,5,13,14
    certifications         cis 66:12 103:14        7:6,8,10,13,14,16     176:1,4,7,7,8,9,9
      17:23 18:2             103:16                7:18 16:9 36:6        176:10,10,21
    certified 17:21        city 1:10 3:2 4:18      41:24 80:6 85:16      177:11,19 178:16
      218:11 246:3,19        11:7 15:14 18:7       94:5 99:11 101:6      178:21 180:15
    certify 246:4,10         22:15,24 23:4,17      107:18 112:5          181:8 182:12
    chain 5:10,12,14         23:19,22 24:7         116:8 119:19          189:19,19 194:23
      5:16,24 6:4,20,23      25:9 26:18,21         127:8 131:6 133:6     203:8 205:24
      7:5,7,9,11 36:9,12     27:6,10 68:23,25      134:18 138:2          207:3 211:1,21
      42:12 107:22           148:19 149:9          146:22 150:8,9        224:4 233:11,24
    chance 42:5              152:22 153:4          160:17 166:24         234:22 235:5
      119:24 184:2           155:12 158:6          183:18 190:17         238:4,9 240:6,9,10

                                    Veritext Legal Solutions
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Case: 1:17-md-02804-DAP Doc #: 1974-9 Filed: 07/24/19 72 of 108. PageID #: 211376


   [cleveland - connection]                                                        Page 8

      240:11 242:11         132:9,15,16           192:17 193:14,20     compliance 7:18
      244:12,14 247:2       133:16                194:1,25 196:2,8       40:16,21,24 41:11
    cleveland's 186:10    collection 20:23        196:17 225:11,12       41:15 125:11,16
    click 151:2           college 17:3,5 18:1     234:3                  126:22 177:24
    clinical 108:5          23:25 24:1,2        commanders 37:8          211:22 213:6
    close 32:20 45:25     color 96:3 118:16     commission             complicated 31:19
    closely 27:6 29:14    column 206:22           248:19 249:25        composition 55:22
    closest 49:22           207:1,13,22 208:4     250:25               compounds 90:13
    closets 52:21,21        209:21,25 210:11    committed 26:24        computer 18:8
    clubs 244:15            212:11                27:3                   203:11
    clue 130:6            columns 209:11        committing 29:16       concern 44:22
    cmha 207:8,10           212:15                66:7 107:6,8           86:17 93:19
    cmmclaughlin          combat 39:2           common 188:12            180:24
      3:10                combination             229:23               concerned 141:17
    coca 23:25              237:24              communicated             141:22 146:3,7
    cocaine 5:19 19:11    come 9:1 26:16          172:1                  159:16,17
      35:5 47:4 54:15       61:22 63:18,22      communication          concluded 245:20
      54:16,23 57:24        76:22 84:20 86:23     172:9                condition 219:7
      60:12 62:11,13,20     87:6 98:10 103:13   community 43:1         conditions 129:24
      63:1,7,10 68:4,15     103:20 106:12,15      67:23 243:18         conduct 16:18
      69:1,2 92:25          110:2 129:17        companies 3:12           215:3,7,16 216:21
      93:15 96:23           140:4 177:9           74:7 82:22 83:6        217:11 239:6
      110:12 113:3          212:25 213:7,8        214:10,12 216:24     conference 42:25
      114:3,10 121:20       224:11,20 233:9       217:15 219:13          44:2,6,13 45:5,13
      124:7 125:3           234:20 245:4          224:6 239:19           147:3,9
      135:20,23 136:20    comes 57:16 83:24     company 144:16         conferences 44:5,8
      164:11 165:2,3,15     83:25 84:4,12,14      214:25 215:23        confess 66:6
      173:10 188:24         84:15,22 177:8        217:2,2 227:8,9,20   confidential
      242:15 243:4          180:7 187:18        compare 175:24           103:14,17,21
    cocktail 236:2          206:2,5 209:15        203:3                confined 244:1
    codes 201:6             212:5,6             complaint 14:5,12      confirmation
    coding 15:15          comfortable 56:22       82:8 212:19            90:17
      209:6               coming 44:19            243:18               confirmed 129:20
    coffin 110:6,16,18      84:10,24 120:18     complaints 212:20      confiscated 93:15
    coke 92:14,21 93:7      121:19 130:18         212:25 213:7         confused 111:5
    cola 23:25              220:25 221:5,7      complete 10:15         connected 27:7
    colleagues 13:23      commander 35:19         18:6 175:3,12,20       29:14 106:25
      13:24 156:19          140:6,7,8 147:16    completed 247:15         233:4
      219:25                147:17 148:8,24     completing 141:18      connection 14:10
    collected 94:22         153:22,24 179:22    complexity 31:24         18:3 32:8,10
      95:2,5 128:12         190:7 191:5,13

                                   Veritext Legal Solutions
    www.veritext.com                                                          888-391-3376
Case: 1:17-md-02804-DAP Doc #: 1974-9 Filed: 07/24/19 73 of 108. PageID #: 211377


   [connelly - credits]                                                            Page 9

    connelly 35:18          65:18,24,25           133:11 135:3,7,11     248:10 249:15
      179:12 225:11       convey 39:14            135:16 138:20,23    couple 11:15
    consider 137:7        convictions 75:12       139:16 143:11         14:18,22 27:18
      145:15                77:5                  147:9 148:5 149:9     35:25 43:22 129:6
    considered 30:1       convinces 111:14        150:21 152:5          144:3 171:24
      128:3 162:2         cook 244:5              165:4 180:3           173:13 185:12
    consistent 136:5      cooking 244:7           196:11,13 214:14      203:17 208:9
    constant 243:15       cooks 244:20            215:24 216:16,17      223:23 227:3
    consumes 152:10       coordinating            220:17 227:14         233:3 236:1
    contacting 171:7        39:11                 231:16,22 232:2     course 19:20,25
    contain 113:4         copied 80:21            246:7                 20:5 40:1 42:17
      114:23                135:2               corrections 247:12      81:1 83:6 86:1
    contained 114:6       copies 101:11           249:17                100:2 101:16
      120:21              copy 100:3,25         correctly 191:12        108:2 112:13
    containing 113:5        119:15              corresponding           116:25 129:19
      114:5 120:18        corner 16:3 50:23       205:20                135:6 150:24
    context 200:20          50:24,25 95:9       cost 22:9,12,12         160:25 165:11
      229:18                147:23 148:13         148:18,19 149:9       169:7 179:15
    continuation          corners 244:17        costs 22:2 45:14        180:1 184:5 191:4
      164:9               corporation 4:2         157:9 216:19          195:5 196:9
    continue 8:22           8:8 152:19            217:10 239:25         205:25 235:17
      81:14 85:4 89:18    correct 24:8 25:18    counsel 8:4,7 9:23      236:23 241:7
      140:25 152:15         28:21 30:6,17         9:25 13:16 152:18   court 1:1 45:5
      164:8                 32:1,4 34:7 40:22     213:24 219:12         248:7
    continued 4:1 6:1       40:23 42:18 43:2      245:1               cov.com 4:6,9
      7:1 61:13             47:9,17 48:3        counselor 74:2        cover 150:18
    continuing 141:5        59:17 65:19 71:3    count 122:17,17         180:21
    continuously            79:23 81:23 82:4    counterfeit 53:22     covington 4:3,7
      28:10,12              86:2 87:23 88:1,4     54:1,2 59:24          9:6,11
    contributing 73:5       88:7,24,25 89:22      71:16 104:9,12      cpd 207:2,7,21
      234:24 235:6          89:25 91:24 92:23     113:4 114:14,25     crack 19:10 54:15
    control 9:3 48:21       93:8,22 94:20         115:18 118:9,10       54:15,23,23 68:14
      224:16,19             101:12,13,16,17       118:13 177:13         68:18,19,25 88:16
    controlled 70:7         107:7,12,24 108:3     221:23                88:17 90:20 92:5
      151:19                108:8 110:18        counting 142:6          92:14,21 93:14
    convenience             111:15 112:10,14    countries 81:16         186:3 242:14
      242:20                112:20,21 113:14      84:11 85:5          craig 12:10
    conversation 13:7       114:7,8,11,12,18    county 1:8,12 5:20    created 41:16
      66:11 200:21          116:14,20 119:6       94:13,19 95:12        73:18
    conversations           120:3 124:12,15       98:5 135:10         credits 18:1
      13:13 50:5 51:4,6     124:18,19,22,23       233:12,12,24

                                   Veritext Legal Solutions
    www.veritext.com                                                         888-391-3376
Case: 1:17-md-02804-DAP Doc #: 1974-9 Filed: 07/24/19 74 of 108. PageID #: 211378


   [crew - debrosse]                                                            Page 10

    crew 29:1              128:18 203:13        dea 34:3,10 81:13     236:10,24 237:17
    crime 229:8,15,21      204:7,9 205:23         85:2 105:11 106:2   238:1
      229:25 230:4         206:2,5,10 210:17      143:19 171:7      debrosse 3:2,3
    crimes 25:13 26:1      210:22 211:6           172:22 173:2,21     9:22 12:12 18:18
      26:2,7,23 27:3       212:4,8                173:25 174:3,12     22:6 23:7 32:15
      29:17 66:2 107:7    database 170:9,16       175:2,11,19 176:5   42:2 46:20 47:22
      107:8 203:9,21       170:18 203:9,19        177:12 233:25       56:9 57:6,19
      204:5                203:24 206:8           234:7               58:13 61:10,14
    crisis 43:1 44:5      date 42:17 86:1       dead 48:13            63:16 64:9 68:9
      48:6,8               101:15 108:2         deal 19:10 22:7       72:3,11,15 73:7,13
    crisp 118:20           120:3 150:24           26:4 29:15 32:21    76:8 81:24 82:14
    crush 60:4 89:6        168:2 195:18,23        35:2 48:18,19       83:19 85:6 87:7
    crushed 60:2 70:1      209:12 247:8           49:7 50:19 150:14   88:12 95:3 97:5,9
      70:2,17 89:8 91:9    248:3,9,19 249:3       174:21 183:1        97:13 98:7 99:15
      91:11,19,21          249:13,25 250:20       185:13              99:18 100:6,11,16
    crypto 121:25          250:25               dealer 29:11 50:19    101:1 102:2
    crystal 20:15         dated 5:10,12,14        50:22 54:19,20      104:17 105:7
    cuadra 123:13          5:16,22,24 6:2,4       111:14,17,21        110:4 122:13
    cudo 34:18             6:15,16,21,23 7:6      181:12              123:4,23 126:10
    curious 65:3           7:8,10,12,14 36:9    dealers 20:18         128:21 137:3,6
      177:21               42:13 80:13            108:15 109:5,23     140:15 149:15
    currency 121:25        101:12 112:8           110:3,5,10 115:15   153:20 156:12
    current 90:4           138:22 147:7           115:16 141:19       157:19 158:9
    custodial 8:18         150:19 160:18          243:19              159:7 162:17
    cut 49:20 55:11        166:25 179:12        dealing 19:8 20:17    163:5 164:15
    cuyahoga 1:8 5:20      183:24 190:22          29:13 47:6 48:13    165:9,25 166:5,9
      94:12,19 95:11      dates 205:20,21         48:14 83:13         167:13 168:11
      98:5 135:10         dawn 136:10             155:25 182:19       169:5,24 170:14
      207:10 233:24        161:5,7,8            deals 34:13           174:8,17 175:7,21
    cvs 83:2 214:21       day 3:7 9:16 14:19    dealt 19:14 43:21     178:10 181:9
      215:7 226:25         29:3 39:12 48:11       54:14,21 77:22      182:7,16 186:18
              d            48:18,20 64:5          83:8                189:23 190:14
                           68:21 152:8,8        dear 247:10           192:21 194:15
    d 8:1 207:22
                           177:5 196:7,17       death 32:1 48:14      196:5 197:15
    d.c. 3:15
                           201:20 216:5           56:21 140:25        200:15 201:2
    damages 216:1
                           218:25 219:1           183:12 184:14       207:14 210:4,19
    damaging 242:15
                           246:15 248:16          217:1               211:4,8,16 212:12
    dan 1:6
                           249:22 250:22        deaths 5:19 95:12     213:1,13 216:22
    dangerous 244:3,3
                          days 12:20 55:20        96:19 98:15         230:7 231:10
    dangers 44:18
                           180:2 247:18           133:19 134:2        235:1 238:10
    data 37:22 39:17
                                                  136:1,23 235:19     239:8,12 240:4
      94:22 95:1 128:12
                                   Veritext Legal Solutions
    www.veritext.com                                                        888-391-3376
Case: 1:17-md-02804-DAP Doc #: 1974-9 Filed: 07/24/19 75 of 108. PageID #: 211379


   [debrosse - diandra]                                                          Page 11

      243:5 245:17        definition 21:12        241:15 243:3        designates 209:8
      247:5                 21:19 76:14,16        247:22              destination 121:16
    decade 136:2          definitive 53:11      department's          detail 27:23
    decades 67:21           60:9 128:17           151:8 182:12          161:10
      72:14               definitively 69:22    departments           detailed 31:9
    december 135:15         71:10 89:8            158:14 159:5,9,19   details 198:25
      135:15 166:25       degree 17:19,20         159:21                199:6
    decent 46:9             137:2               depending 21:21       detect 152:4
    deception 212:21      degrees 17:22           55:22 173:3         detective 25:3,17
      212:23              deliver 121:9         depends 22:15,22        25:21,25 26:9,22
    decline 133:20,22     delivered 121:21        22:25 76:14           34:6,18 59:12
      134:2                 121:22 175:4,13       132:13 178:1          60:24 65:20,22
    decomposed              176:4,6               188:18 209:5          70:20 74:25 75:1
      184:13 186:22       delve 52:16           deposed 13:18,20        75:6,22 77:13,15
    decorative 11:3       demand 76:23            223:19,22 225:9       77:16,18 113:13
    decrease 146:13       demise 56:23          deposition 1:17         113:16,21 123:13
      161:3 162:14,16     department 11:4         2:1 8:15,21,22        132:5,13 143:10
      162:19 169:7          23:14,23 24:7,11      10:17 12:7 36:1       143:15,16,18
    decreased 67:6          28:7 43:19,24         41:18 79:25 85:10     146:1 147:8 149:7
      169:4                 57:3 61:7 64:22       93:24 99:5 101:2      166:13 170:4
    decreasing 67:17        74:22 75:18 76:6      107:13 111:25         174:11,14,16,18
    deed 248:14             78:1 79:6 102:22      116:2 119:10          194:23,24,24
      249:20                104:24 105:5          127:3 130:25          225:13 238:22
    deemed 39:21            108:6 113:14,17       133:1 134:13        detectives 33:12
      247:19                114:4 122:11          137:22 140:8          33:25 34:2,5
    defendant 8:7           123:3 124:14          146:16 150:1          35:10,15 41:10,13
      152:18 213:24         126:4 127:13          160:12 166:20         59:4 65:7 87:9,11
      215:17 216:21         129:4 138:19          179:5 183:19          87:22 126:5 140:3
      217:11 219:12         149:2,7,13,13         190:19 194:5          149:3 151:25
      239:6 240:1           153:18 157:5,17       198:3 205:7           171:20,20 193:10
    defendants 9:13         158:16 162:23         211:14 225:21       determination
      10:4 82:9,11          165:23 168:25         246:7 247:8,11        128:25
      214:3,8,13 219:19     170:12 171:6          248:1,3 249:1,3     determine 118:10
      226:13,17 245:13      175:6,14 176:2      depositions 11:2        129:5
      245:16                177:17 181:8          14:2 225:17         detour 121:10
    define 62:10 76:9       185:1 189:20        deputy 148:8          developed 46:3
      76:18                 190:6 203:8         describe 19:5         diagnose 218:3,17
    defining 45:13          205:24 207:4        description 186:5     diagnosis 217:20
      70:25                 211:1 225:9           186:11 204:16         218:19
    definitely 192:10       234:23 235:5        designate 209:8       diandra 3:2 247:5
                            240:6,10,12

                                   Veritext Legal Solutions
    www.veritext.com                                                         888-391-3376
Case: 1:17-md-02804-DAP Doc #: 1974-9 Filed: 07/24/19 76 of 108. PageID #: 211380


   [die - drug]                                                                    Page 12

    die 181:15 242:24     disguise 117:23        division 1:2 6:18        15:25 16:2,12
    died 236:8 237:7      disguised 117:8,15       24:13 77:14 108:7      35:11 94:8,10
    difference 95:25      dismantled 26:21         113:19 167:1           100:5,22 131:10
      119:2 208:10        dismantling            doctor 52:15,25          150:11 169:9
    different 27:18         124:18                 57:5,16 78:21          186:9 199:22
      39:25 51:16 62:20   disorder 218:5,18        79:2,7 144:6           245:3,8
      62:21,21,24 63:2    dispatch 202:17          145:2 151:21         dog 121:3,4
      111:4 129:6 143:6   dispense 231:19          238:20               doing 29:8 30:4,5
      151:11 163:9        distinguish 56:13      doctor's 78:21           31:14 35:13 59:5
      172:13 174:21         232:7,10             doctors 49:15            59:6 65:19 66:3
      218:1 234:18        distributed 41:9         52:19 74:23 75:5       69:15 77:19 93:8
    difficult 85:8 96:3     177:11                 139:13 145:7           97:17 117:18
    direct 36:16 80:9     distribution 83:18       173:22 213:8           120:11 153:14,15
      81:5 86:4 108:10    distributor 78:2       document 1:6 36:6        159:10,21 172:11
      113:23 143:23,25      171:8                  36:13 41:23,25         172:12,15 174:19
      180:4 218:23        district 1:1,1 7:2,3     42:6 80:5,7 85:15      190:2,6 241:8,22
      219:5                 25:3,18,21,25 26:9     85:17 94:4,6         dollar 189:13
    directing 92:3          26:18 27:1,25          99:10,12,21 100:2    dose 181:13
      135:13 140:23         28:16 29:24 31:6       101:5,7 107:18,20    doses 110:11
      148:10                31:7 45:5 60:25        112:4,6 116:7,9      double 74:12
    direction 21:12,13      65:21,23 167:2,3       119:15,20 120:2      doubt 199:8
      21:18                 168:17 169:25          127:8,10 131:5,7,9   downer 62:23
    directly 32:10          180:6,10,13,18,21      133:6,8,10,15        download 194:16
      120:13 155:20         180:24 181:24          134:18,20 137:14     downsized 26:20
      223:12                182:5,25 207:25        137:17 138:2,4,12    downtown 27:4
    director 4:18         districts 25:9           138:16 140:14        dozen 33:11 66:19
    disagree 110:20         180:14,16,17           146:21,23 150:6,7      66:20 67:8,8
    disappear 135:24        183:3 208:1            150:7,10 160:15        106:11,15
    disclose 85:2         diversion 21:6,8         160:16 166:23        drafting 14:11
      102:3 104:14          21:10,12,16,24         167:5,8,18 179:3     draw 165:19
    discount 83:1           34:1,6 75:21 78:8      180:8 183:17         drinking 240:19
    discovered 163:19       78:10 142:23           190:16,22 194:8      drip 221:13,24
    discuss 88:3            143:2,5 144:3          197:24 205:10,12     drop 204:19 205:1
    discussed 13:15,22      145:12,15,19,24        205:17 206:21        drug 18:16,16
      96:13 114:9 153:1     146:2 147:5 152:4      210:18 211:11,20       19:2 21:6,16,23
      153:6,8,9 243:25      152:5 165:24           211:24 212:1,5,11      26:2,6 27:11
    discussion 100:15       166:4,6,8,14           214:2,7                29:11,13,21,21
      149:1 152:17        divert 21:15           documented               34:25 45:22,24
      200:23,24 223:1     diverted 52:13           218:14                 50:16,19,22 51:2
    discussions 152:22      58:1 59:19 61:25     documents 8:17           59:17,24,25 60:5
      201:4                 62:14                  8:19,24 14:16,18       62:6,9 63:13,25

                                    Veritext Legal Solutions
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Case: 1:17-md-02804-DAP Doc #: 1974-9 Filed: 07/24/19 77 of 108. PageID #: 211381


   [drug - enter]                                                                  Page 13

      64:2 70:13 83:2        212:21 216:25          192:16 193:20,21    either 43:19 59:19
      92:12 93:6 108:15      218:25 219:3           194:10,13,16,20       59:19 60:11 66:11
      109:4,23 110:3,5       220:16,20 232:15       194:21 195:4,8,18     77:4 127:24
      110:10 111:10,14       233:10,14 239:14       195:18 196:2,8        135:20 147:18
      111:15,17,18,21        239:21 240:17          198:6,7,11,18         159:21 167:10
      115:15,15 117:24       242:10                 199:9,10,18,19        176:15 190:6
      121:3,17 122:12      drummond 80:20           200:14,20 206:8       193:20 209:5
      124:18 125:10        due 34:12 81:14          223:2 227:5           225:13 230:20
      126:18 141:19          85:4 125:10            240:23 246:1,1      eliminate 244:20
      142:23 143:2         duly 8:5 246:5         earlier 60:18 62:2    email 247:17
      145:24 147:3,5       duties 25:6              67:18 72:21 93:13   emanating 122:7
      149:8,22 150:21      dying 86:18,19           93:19 96:14         emergency 40:7
      159:21 162:25                  e              103:16 111:7          108:7 140:4
      167:25 170:5                                  114:9 115:1         emitted 244:6
                           e 5:1,10,12,14,16
      185:4,14,15,19                                136:22 140:14,14    employee 171:6
                             5:22,24 6:2,4,15
      187:1 189:2,2,8                               149:1 161:6           240:25 241:1
                             6:20,23 7:5,7,9,11
      191:21 203:9,14                               162:24 170:22       employees 144:17
                             7:14 8:1,1 14:22
      203:20 204:18                                 200:22 201:15         144:20 241:14
                             14:25 15:7 35:23
      230:17,25 237:23                              208:2 210:13        ems 37:7,22 38:3,5
                             36:8,9,12,18,25
      241:5 243:19                                  214:1 217:17          38:11,20 39:5,11
                             37:12 39:12,13,14
      244:3                                         220:24 222:22         108:25 129:7,7
                             42:12,13,16 80:12
    drugs 19:2,4,4,13                               234:2                 153:6 155:14,19
                             80:18,18,25 81:7
      19:17 21:7,17                               early 74:17             158:3 162:9
                             85:20,21,25 86:5
      22:2 27:7 29:13                             earth 15:5            enclosed 247:11
                             87:5 88:3 91:16
      35:2 41:5,6,8 46:3                          easier 55:23          encounter 84:3
                             100:17,20,21,25
      46:4,6,14,18,25                             easiest 130:4         encountered 57:13
                             101:10,14,18
      47:3,16 48:24                               east 68:23 86:8         83:5,23
                             107:22 108:1,11
      52:13 57:23 67:22                           eastern 1:2           ended 135:18,22
                             108:12 109:3
      68:1,2 84:18                                economic 45:14          154:21
                             112:8,12,16
      86:22 89:21 90:20                           ecstasy 35:5          endo 3:11,11 10:3
                             116:13,16,17,23
      92:10,21 96:15                              ectasy 125:1            227:19
                             117:5 124:8
      98:14,21 110:2,11                           education 17:21       ends 110:9 125:25
                             134:24,25 135:5
      110:22,24 111:20                            edwards 34:20         enforcement
                             135:14 138:18
      114:6 120:18,21                             effect 49:24            45:22,24 67:21
                             150:12,19,19,23
      121:6,7,17 124:2,2                            193:24                68:2 124:12
                             151:3 160:17,20
      124:4 128:2 130:8                           effective 129:11      engaging 75:20
                             160:24 179:9,10
      132:11 146:5,6                              effectively 37:23     entailed 20:11
                             179:14,18 180:5
      167:24 168:24                               efforts 108:14        enter 35:11 132:24
                             180:23 181:18
      169:3 170:13                                eight 13:1 24:25        203:13,16,20
                             183:22,23 184:5
      173:17 174:20,21                            eighth 4:4              204:6
                             184:10 190:23
      176:6 186:6,12,16
                             191:3,7,8 192:11
                                     Veritext Legal Solutions
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Case: 1:17-md-02804-DAP Doc #: 1974-9 Filed: 07/24/19 78 of 108. PageID #: 211382


   [entered - explosions]                                                            Page 14

    entered 204:14          eventually 79:8       examples 45:3          exhibits 5:9 6:1
      249:9                   111:10 125:22         189:11,12              7:1,25
    entering 204:9            164:23              exception 12:2         exists 210:22
      207:16,20 212:8       everybody 12:13         182:9,18 183:6       expected 13:15,23
    entire 27:5,10            49:10 189:7         exchange 81:22         expecting 136:21
      45:23 51:5 168:2        229:10 241:19         116:13               expense 6:19
      248:5 249:5           everyday 64:14        exchanged 80:12        experience 20:13
    entities 83:13          everyone's 54:18      excited 113:8            20:17 29:12 50:4
    entitled 42:25          evidence 89:2         exclusively 54:16        51:15,16,17 54:1,5
      120:2                   129:23 132:6,9,14   excuse 137:5             59:14 60:14,17
    epidemic 39:3             132:15,24 185:4     executed 249:10          61:7,9 71:15,18
      45:13 48:6,7,10,17      187:1 189:1         execution 248:14         84:17 87:21 89:20
      48:19,23 49:3           191:16                249:19                 92:14 98:12,13
      54:8 56:7 72:9,23     ex 13:17 54:14        exhibit 5:10,12,14       111:16 114:20
      73:6 145:16 163:1     exact 52:17 55:3        5:16,18,22,24 6:2      119:9 125:20,25
      232:19,20 233:7         56:11 63:5 74:18      6:4,6,8,10,12,15       126:3,13 136:6
      234:25 235:6            160:21 206:4          6:16,18,20,23 7:2      141:10 142:1,1,10
      243:2,4,25 244:1        215:20                7:5,7,9,11,14,15       142:13 161:15
    epidemics 242:12        exactly 21:3 29:8       7:17 36:1,5 41:18      218:22 231:5
    equipment 154:2           97:17 136:20          41:22 79:25 80:4       233:16 242:11
    errata 247:13,18          143:21 162:18         80:12 82:15 85:10      243:6
      249:7,10,18 250:1       165:22 166:18         85:14 93:24 94:3     experienced
    especially 44:25          181:25 200:16         99:5,9 101:2,5,10      242:12
      92:24 121:18            201:8,19 209:7        107:13,17,22         expert 189:7
      143:18 146:11           216:23 220:21         109:17 111:25        expertise 217:20
      150:15 171:20           243:7                 112:3,8 116:2,6,12     218:21
      174:24 182:25         examination 5:2         119:10,14 123:8      expiration 248:19
      238:14                  8:4,7 152:15,18       127:3,7,19,23,24       249:25 250:25
    esq 3:2,7,13,18 4:3       213:24 219:12         127:25 130:25        explain 58:24
      4:7 247:5             examine 8:22            131:4,14,15 133:1      161:7 164:10
    estimate 168:23         examined 8:6            134:13,17,25           186:14
    estimates 176:11          148:3                 137:22 138:1,9       explained 155:14
      176:12,14,15,16       examiner 94:16,18       146:16,20 147:1        155:16 162:4,15
      176:20 177:3            94:20,24 185:6,15     150:1,5 158:2        explanatory
    et 1:8,10,12,13           187:17 188:4          160:12,16 166:20       209:12 210:12
    european 81:16          examiner's 5:18         179:3,5 183:17,19      212:14
      85:5                    94:13,25 135:10       190:17,19 194:5,8    explode 243:1
    evening 23:1            example 16:8            194:14 195:22        explore 203:16,19
    event 7:15 113:8          52:12 63:11 96:17     197:24 198:3           203:25 204:10
      205:13,15 206:18        130:23 154:17         205:7,11 211:12      explosions 244:4
      209:14,18               212:18                211:14,16

                                     Veritext Legal Solutions
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Case: 1:17-md-02804-DAP Doc #: 1974-9 Filed: 07/24/19 79 of 108. PageID #: 211383


   [exposure - foaming]                                                             Page 15

    exposure 44:22        fashion 199:4             110:25 113:4,5      finger 239:20
    expressing 93:19      fatal 6:8,8 102:14        114:7,11,17,19,23   finland 17:7
      180:24                108:16 109:24           117:8,14 118:3      fiorilli 112:20
    extended 16:24          110:11 127:14           119:6 135:19,25     fired 241:9
    extent 172:8            129:1,22 130:3          136:19 137:8,10     firm 9:6,14
    extremely 55:20         152:8 180:7,25          137:12 155:25       first 23:12 25:3,18
      222:16                181:13 209:1            164:12 165:3,15        25:21,25 26:9,18
              f           fatals 6:10,13 59:9       177:6 188:23           26:25 37:6 39:4,8
                            59:10 82:1 87:13        221:10,11,13,18        39:25 60:25 65:21
    f 124:8 246:1
                            87:15,17 136:18         221:21,23,24           65:23 68:14 69:19
    fact 30:15 53:24
                            142:11 190:25           222:2,7,10,15,17       71:6,20 74:13,20
      59:2 60:4 70:16
                          father 13:20              232:12 237:23          74:20 86:5 96:8
      104:9 109:23
                          fbi 34:4,17,21,22      fewer 115:19              100:8,9 105:20,22
      114:2 141:3
                            117:7,12 220:6,8        160:3                  106:4 110:17,20
      144:22
                            220:10,15            fide 104:13               110:21,23 113:12
    factor 142:5
                          fda 230:11,14,16       field 204:16,17           124:9,23 139:14
    factors 120:23
                            231:9                   218:20                 140:24 154:5
      121:1 234:24
                          february 36:10         fifth 167:3 168:17        155:15 171:25
      235:6
                            107:23 179:12,16     figure 28:5 29:18         172:5 187:10,14
    failure 185:18
                            179:18,23 180:5         39:19 40:5 60:19       188:2 192:13
    fair 46:2,5 182:11
                          federal 22:24 23:4        65:4,16 67:17          201:24 206:22
      197:12 215:15
                            45:5 230:17             161:2 162:13           212:20 223:15
      219:7 239:24
                          fedex 120:16              174:24 197:1           226:18 230:21,23
    fairly 209:3
                          feed 224:11            figures 95:16,20          241:9 242:14
    fall 161:21 186:3
                          feeding 144:12         file 8:18              five 25:9 28:16
    falling 129:10
                          feel 111:23            fill 213:3                31:11 33:22 61:8
    falls 96:9
                          feeling 51:19 73:9     filling 167:10            67:14 98:19
    false 40:13 188:9
                          felony 26:1,4             213:11                 130:15,20 180:14
    familiar 10:25
                          fentanyl 5:19 35:6     filtered 211:7,10         208:1 239:3
      21:5 76:12 82:21
                            44:17,18,23 46:8     final 110:6,16,23      fixing 117:3
      94:9 117:14,16
                            47:17 58:1 60:11        110:23 111:1        fled 79:9
      120:5 131:9 144:2
                            60:12 62:17 63:15    finally 228:20         flip 54:18
      145:9 151:12
                            71:14,17 79:12,14    find 60:7 70:16        flood 73:20
      170:20 206:7
                            79:15,17,22,23          71:12 78:19 90:19   flooded 73:24
      230:11 232:23
                            84:19,21 86:22,24       92:8 97:9 124:5     floor 2:7 3:19
      233:7
                            88:17,17 90:20          132:18 181:10,11    flopped 54:18
    families 48:15
                            92:5,9,11,13,17,22      196:22 247:11       flow 123:17
    family 64:12
                            93:6,7,16,21,22      finding 67:13          fly 122:2
      136:13,14 161:13
                            96:10,14,19 97:3        113:3 114:5 242:9   foaming 129:9
      188:19 199:17
                            97:21 98:21,22       findlay 17:6,8,9,10       130:2 161:22
    far 64:3,8 112:22
                            99:2,3 110:12,13        23:11
      231:17
                                    Veritext Legal Solutions
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Case: 1:17-md-02804-DAP Doc #: 1974-9 Filed: 07/24/19 80 of 108. PageID #: 211384


   [focus - getting]                                                               Page 16

    focus 19:16 85:21       137:3 140:15        forward 147:17                 g
      108:14 124:1          145:12 149:15         190:24 226:1        g 8:1
      131:19                153:20 156:12         247:15              gain 171:8
    focused 124:3           157:19 158:9        forwarded 243:13      game 182:23
      159:23 160:1          159:7 162:17        found 27:4 67:14      gamut 19:7
    folded 189:12,13        163:5 164:15          78:20 90:13 132:6   gang 18:4,12
    folks 80:21 116:19      165:9,25 166:5        132:11 186:17         26:21 27:2,9,11,22
      135:1,2               167:13 168:11         197:1                 27:24 28:2,24,25
    follow 74:4 160:11      169:5,21,24         four 12:20,22           29:2,4,11,12,16
      219:21 243:14         170:14 174:8,17       28:16 31:11,12        30:16,21 31:4,10
    followed 113:6          175:7,21 178:10       57:23 58:10 98:18     31:13,14,20 61:1
    following 46:24         181:9 182:7,16        159:15 242:6          120:14 128:13
      166:10                186:18 189:23       fourth 58:21 208:4      146:4,4,8,12
    follows 8:6             190:14 192:21       frame 74:19 230:3       149:18 159:12,13
    force 16:23 34:4        196:5 197:15        francisco 4:8           160:1 163:8
      34:17,22 45:20        200:15 201:2        frank 123:14            172:11,12 174:10
      72:2 105:12           207:14 210:4,19     frankly 59:10           223:18
      124:12,15,17          211:4,8 212:12        115:22 153:16       gangs 26:24,25
      180:19 220:6,10       213:1,3,4,13          184:13 190:1          27:6 29:9
      220:15 233:24         216:22 220:25         234:11              garbage 189:15
      234:10,13,20          221:5,7,9 222:3     free 22:17 23:6       gary 36:10 80:19
    forces 45:19            230:7 231:10          161:13 248:14         179:11 183:23
    foregoing 248:13        235:1 238:10          249:20                190:23
      249:18                239:8,12 240:4      frequency 92:9        gas 242:20
    foreign 84:10           243:5               frequently 125:11     gather 39:2 56:8
    forgery 145:10        formal 30:8 43:19     friend 111:20,21        99:14
    forget 242:2            43:21               friends 50:17         gathering 225:6
    forgive 111:5         formalized 234:23       134:8               gay 244:15,15
    form 18:18 22:6       former 13:24 43:7     front 4:8 127:20      gedeon 116:17,24
      23:7 32:15 46:20      171:20              fu 12:10                191:8,11
      47:22 56:9 57:6     forms 44:19 54:16     fu's 12:11            general 45:21
      57:19 58:13 61:10     75:20 79:15 84:6    fuli 3:5                50:11 51:25 69:18
      61:14 63:16 64:9      213:12 221:11       full 12:11 23:12,23     74:5 146:6 182:4
      68:9 69:2 72:3,11   formula 83:10,11        24:5                generally 102:5
      72:15 73:7,13         226:10              fulton 87:18 88:21      125:22 213:7
      76:8 81:24 83:19    forth 18:14 20:18     funky 144:25            214:11
      85:6 87:7 88:12       29:22 30:7 31:20    further 117:17        generating 211:2
      95:3 97:5 98:7        45:1 47:5 87:5        152:18 219:10       geographic 180:20
      105:7 110:4           115:6 161:11          246:10              getting 13:18 55:6
      122:13 123:4,23       173:3 227:1                                 55:15 110:1
      126:10 128:21         232:13                                      121:20 123:18
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Case: 1:17-md-02804-DAP Doc #: 1974-9 Filed: 07/24/19 81 of 108. PageID #: 211385


   [getting - handing]                                                          Page 17

      151:18 154:21         132:18 136:8,12     good 8:10 118:25     guard 24:12
      181:16 196:3          136:18 138:17         119:1,4 129:12     guess 40:6,19
    gingell 36:10,25        141:14 144:25         176:2 178:17         48:19 52:22 53:3
      80:19 81:20 85:1      145:6 147:2,15        219:2 226:11         53:5 76:15 143:4
      85:22 140:8 148:8     155:15 156:13       gordon 138:18,25       178:2 191:14
      148:24 153:24         159:25 164:3          139:2,8 140:11       197:3
      179:11,22 183:23      166:17 171:20         153:2              guessing 13:1
      190:7,23 191:5        179:13 185:5,25     gosh 163:12            171:4 210:25
      192:17 194:25         187:23 190:9        gotten 144:23        guilty 183:10
      196:2,17 225:12       191:2 216:4 227:2     200:5 229:12       gun 208:22
    gingell's 191:13        234:5 237:22        government 22:24     guy 185:19
      193:20 194:1          238:23 241:6,8,16     23:5               guys 33:5 37:13
    girls 233:4             241:23 242:24       grade 117:20           59:11 100:18
    give 10:9,15 31:8       243:8,11,17         graduate 17:15         112:23 161:21
      34:12,15 45:2       goal 29:15 181:15       237:22               193:5,15,18 194:2
      52:17 53:17 58:23     242:8               graduated 23:10        196:4,11
      60:9,18 70:22,23    goals 242:7           grant 43:24          gx 228:20
      78:22,23 99:18      goes 62:7 73:21         148:13 149:14               h
      100:17,19 103:1       123:2,6 185:20        151:9
                                                                     h 35:23
      104:7 128:17        going 8:20 9:1        grants 22:21,23
                                                                     half 53:6,13 91:3,6
      136:11 154:13         11:22 17:13 18:8      23:5 149:1,19,24
                                                                       106:11,14 113:3
      161:8,9,12,13         19:21 31:19 53:19     150:14
                                                                       114:3 199:5
      179:8 230:3           54:9 56:2 65:14     grasp 145:18
                                                                       201:16
      237:14                70:15 82:9 92:18    gray 95:24
                                                                     halfway 167:20
    given 44:9 72:13        97:15 99:20         great 111:23
                                                                     hall 123:14
      76:22 109:18          109:14 113:2          137:18 154:14
                                                                     hand 16:3 95:9
      129:11,15 163:16      117:5 118:5 123:8   greatly 108:14
                                                                       97:16,18 120:13
      178:20 186:16         142:2,11 143:20     greg 10:2 146:1
                                                                       120:13 125:19,19
      237:20,21 246:8       144:14,20 152:9     gregory 3:13
                                                                       143:19 147:23
    gives 111:21            152:15 155:4,5      gregory.schinner
                                                                       148:13 179:2
    glad 103:15             156:4,5 159:11        3:16
                                                                       183:16 190:3
    gloves 87:3 93:17       160:9 163:7 164:3   ground 11:15
                                                                       197:23 205:14
    go 17:3,5 26:8          164:7 166:17          180:7 239:16
                                                                       238:23 246:15
      32:16 36:23 37:11     168:19 169:7        group 31:20 43:7
                                                                     handed 99:8 150:4
      40:10 62:14 64:3      179:2 182:21          82:10 207:23
                                                                       166:23
      64:8 78:20 89:16      183:16 188:1          234:9
                                                                     handful 204:20
      91:5,7 95:7 96:18     189:4,17 190:16     groups 44:10
                                                                     handing 36:4
      96:23 97:2 112:23     192:25 193:23       grow 81:14 85:4
                                                                       41:21 80:3 85:13
      112:25 122:14         194:13 212:14,15      141:1,5
                                                                       87:3 94:2 107:16
      125:8,19,22           223:22 225:13,14    grows 19:12
                                                                       112:2 116:5
      127:18 130:15         242:2
                                                                       119:13 127:6
                                   Veritext Legal Solutions
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Case: 1:17-md-02804-DAP Doc #: 1974-9 Filed: 07/24/19 82 of 108. PageID #: 211386


   [handing - huh]                                                               Page 18

     131:3 133:4         harry 140:9             55:13 57:25 60:11    higher 130:22
     134:16 137:25       hate 189:9              60:11 61:2 62:17       135:22 193:9
     146:19 160:15       haven 35:21             62:22 63:1,7,15      history 17:20
     194:7 205:10        haw 241:25              68:19,20,24 69:7       63:25 64:2 185:13
    handle 26:6,7        hawaii 79:9             69:17 71:14 81:21      185:14,17,20
     153:22 220:16       hbc 214:25 215:23       81:25 82:3 83:18     hit 173:19
     241:1               he'll 143:19            83:23 84:3,5,8,9     hits 121:4
    handled 205:22       head 188:21 220:5       85:3 88:16,17        home 136:12
    handles 125:11       heading 124:8           90:19 92:14 93:15    homicides 159:14
     174:11              headline 224:11         96:16 97:25            243:22
    handling 93:17       health 3:12 138:19      110:12,25,25         honest 128:16
     126:22                244:10                111:11 121:20        honestly 139:10
    hands 143:19         hear 11:17 238:13       124:7,22 125:2,12    hook 164:6
    handwriting          heard 82:23,25          125:17,22,25         hooked 55:15
     148:17                170:8 224:24          131:17 133:19          64:17 73:21 111:9
    happen 26:4 49:11      225:2 227:4,10,12     134:2,10 135:20        164:6
     64:18 161:19,24       227:13,20 228:1,3     135:24 136:1,8,9     hope 50:17 137:14
     168:16 182:3          228:5,12,14,18        136:18,23 137:9        137:15 245:4
     185:24                231:8 233:17          137:12 161:18,19     hoping 182:2
    happened 55:4        hearings 11:13          164:24 173:8         hospital 139:22
     56:6 63:3,4,6       heart 185:18            176:17,19 177:1,4      221:16
     75:11 146:14        height 78:15            177:6,7 181:13       hospitals 142:7
     181:2               heights 78:16           188:24 200:12          241:17
    happening 238:13     held 2:1 38:2           219:1 232:12         hours 12:24 13:1
     238:21                100:15 139:21,22      237:23                 50:21 51:1,1
    happens 73:22          152:17              heron 68:5               242:1
     111:16,24 122:24    help 43:8 108:14      hey 50:22 111:22       house 244:5,8
     181:3 182:25          109:14 168:22         141:16 144:13,19     housing 207:11
     183:5,14 185:8        169:11 217:24         144:24 155:15        huge 155:22
     188:11 216:7          218:10 219:3,6        187:21                 163:12
     236:14 239:17         240:18 241:21       hi 172:15 219:15       hugh 134:25
    happy 11:18 12:1     helped 163:20         hidi 16:23 32:3,14     huh 15:9 16:10
     181:18              helpful 96:2,6          32:23 33:4,5,14,17     25:14 28:22 30:18
    hard 28:7 46:23      helps 77:20             33:18 35:8,15          37:5,10,16 38:14
     58:23 66:16 90:23   hem 241:25              36:18 37:17 39:21      42:15,19 43:3
     95:22 143:7         hereunto 246:14         59:1 105:12            60:21 80:15 81:9
     174:24 188:16       heroin 5:19 6:10        113:20 152:7           148:16 164:22,25
     192:23 193:4          6:12 19:11 31:25      192:19                 180:12 186:8
     195:13 234:19         32:22 35:5 46:10    high 49:14,24            191:10,19 195:20
    harm 215:4,8,18        47:16 49:8,23         150:20 173:22          195:25 202:8
                           53:20 54:19,24,24     218:8

                                  Veritext Legal Solutions
    www.veritext.com                                                         888-391-3376
Case: 1:17-md-02804-DAP Doc #: 1974-9 Filed: 07/24/19 83 of 108. PageID #: 211387


   [human - interdiction]                                                          Page 19

    human 45:13                186:6,12,16           96:10 97:3,21      information 14:10
    hundred 11:11              212:22 221:22         98:22 116:19         38:24 39:2,13
       182:21 213:15           222:11,14,18          135:2 194:23         64:23 87:5,25
    hurt 242:10             illegally 47:9         inclusion 128:3        108:19,20 132:19
    hydrochloride              59:18 221:20,25     incomplete 182:13      133:16 144:12
       117:9,15                237:15              inconsistent 137:1     172:21,25 173:22
    hypothetical            illicit 47:16 58:1     incorporated           177:23 178:7,15
       237:12                  59:20 79:22 93:21     249:12               178:18 181:7
               i               232:7               incorrect 90:8         197:17 200:22
                            imagine 71:22          increase 163:3         201:25 202:11,13
    ics 65:18
                               94:24 126:6,13        169:7                202:14 203:20
    idea 22:8 23:8
                               128:5 132:20        increased 67:6         204:14 205:15
       43:25 93:8 96:11
                               213:8,20              169:3                212:10 226:13
       131:13 134:9
                            immediate 208:24       increasing 67:16       228:10 229:1
       168:20 212:4
                            impediment             incurred 216:20      initials 148:24
       213:10,18
                               155:22                217:10             inject 161:24
    ideas 83:25 84:2
                            importance 208:8       independent 16:19    injured 181:16
       96:12 104:1,3
                            important 39:18        indicate 132:10      injuries 56:18
       115:9,10 116:1
                               109:1 178:6,14      indicated 42:11      injury 49:14 51:22
    identification 16:7
                               181:8 208:12,13     indicating 247:13      52:15 56:25 111:9
       36:2 41:19 80:1
                               208:15,19           indictments          insert 231:9
       85:11 93:25 99:6
                            impossible 90:24         190:25 191:15      inserts 230:15
       107:14 112:1
                            impression 93:9          192:1,5            inside 118:15,17
       116:3 119:11
                               161:25 199:7        indiscriminately       144:12
       127:4 131:1 133:2
                               200:5                 76:20,21           instance 57:10
       134:14 137:23
                            imprint 118:20         individual 172:9       149:6 215:14
       146:17 150:2
                            improper 238:7         individuals 194:22   instances 104:19
       160:13 166:21
                            inaccurate 197:14        225:8,16,20          164:10 215:20
       179:6 183:20
                            incident 181:20,23     industries 3:17        236:9
       190:20 194:6
                               209:13,13           ineffective 40:3     instruction 104:17
       198:4 205:8
                            incidents 182:6        inflicting 146:9     insys 228:14,16
       211:15
                               189:22 204:4        influx 113:4         intelligence 113:7
    identified 100:23
                               206:23 238:11,15      114:13 115:18      intensity 150:20
    identify 10:1
                            include 26:2 48:23     info 38:20 108:14    intentional 236:20
       104:21,22 118:9
                               96:15 173:4           158:14,19 178:19   interaction 172:14
       238:3 239:25
                               186:11                178:20 183:8       interactions
    identifying 18:13
                            included 7:25            201:21               171:12
    illegal 46:14,18,25
                               247:13              informal 43:19,20    intercepted 177:7
       47:3,16 57:24
                            includes 178:24        informants 103:14    interdiction
       58:10,22 59:20
                            including 14:11          103:17,21            120:11,15 123:10
       60:5 79:23 107:4
                               16:18 48:24 80:21                          123:11,21
       111:15 122:3,11
                                      Veritext Legal Solutions
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Case: 1:17-md-02804-DAP Doc #: 1974-9 Filed: 07/24/19 84 of 108. PageID #: 211388


   [interest - know]                                                                 Page 20

    interest 131:24           222:7 234:7            24:5,5,6 35:12,13     131:25 154:15
      132:2 163:9          involved 14:9             122:20 176:2          155:9 168:21
    interested 201:7          29:12 31:25 32:1       230:24                169:20 186:25
      201:10 246:12           32:5 33:4,24         jobs 24:3               188:16 193:4
    internet 16:19            45:22,23 58:9,20     john 143:14             195:13 202:1
    interpretation            61:22,23 66:2          213:20                212:13 225:5
      111:1                   79:22 83:17 88:7     johnson 83:1,1,8,9      236:3 241:4
    interrogatory             88:24 89:3,5,21,25     226:8,9             kinds 126:21
      14:6,12                 91:9 102:14          join 245:13             173:1,1
    interrupted 89:13         108:16 129:5         joining 23:22         king 68:15
      89:15                   152:5 203:11         jones 3:7 9:16        klamert 112:23
    interrupting 89:18        204:6,11,11,22       jonesday.com            113:16 194:24
    interview 140:3           215:21 216:6,7         3:10                knew 105:10
    intravenously             239:15 243:21        judge 1:6 45:5          115:4 141:12
      221:16               involving 34:24         judgments 89:20         214:11
    introduce 9:8             204:4 223:6          jump 173:17           know 11:18 12:2
      50:16                irrelevant 122:19       june 24:14 80:13        12:14 13:5 14:13
    invaluable 202:3       isolated 181:20,22        81:1                  15:8,21,22 16:5,11
    investigate 26:1       issue 44:17 86:20       justice 151:9           16:15,22 18:7
      29:17 39:22 75:19       100:10,12 153:10               k             19:17 20:14,14,15
      125:16 180:9            181:1 182:1                                  20:16,21 21:2,2,7
                                                   k 4:3
    investigated 29:9      issued 147:4                                    21:8 22:2,11,18,20
                                                   k2 88:21 91:23,23
      74:23 75:6 76:7      issues 93:12 241:2                              29:20,21 31:15,18
                                                     93:15 242:18
      78:1,6 107:4         it'd 128:10 209:19                              32:24 33:6,11
                                                   keep 12:25 28:7
    investigation 77:9     it'll 111:22                                    34:21 36:12 39:19
                                                     64:23 77:17
      99:25 104:6 143:8    iv 221:17                                       40:12 41:1,2,8,15
                                                     122:18,22 154:16
      172:22 223:5                    j                                    43:4,11,17,21,23
                                                     169:19 192:14
    investigations                                                         45:1,1,7,9,10
                           jail 24:13                193:5 197:16
      27:11,12 32:1,22                                                     46:11 50:25 52:6
                           jailer 23:17,21         keeping 105:5
      44:14 45:2,3 75:9                                                    52:10,10,12,14,20
                              24:7                 keeps 75:3 76:3
      76:24 77:2,4,12,21                                                   52:21,23 53:13,18
                           james 107:23            keith 81:13 85:3
      78:9,11 99:17,23                                                     53:21 54:21,22
                              160:18 198:7         kill 244:7
      102:4 143:24,25                                                      55:7,9,18 56:1
                              201:4                killed 181:11,16
      146:4 152:9                                                          59:23 60:6 61:6
                           january 1:19 5:20         183:11
      203:14 226:7                                                         61:12,15,24 62:1,5
                              6:11,13 135:6        killing 102:19
    investigators                                                          63:3,8 64:4,13,15
                              246:15 247:4         kilos 176:24 177:9
      147:5                                                                65:6,8 66:1 67:7
                           jen 195:3               kind 17:19 18:2
    invests 6:10,12                                                        68:13 69:14,24
                           jennifer 116:17           19:15 28:7 58:23
    involuntary 192:6                                                      70:5,5,6,8,9,12,21
                              191:8,11               62:19 68:7 90:23
    involve 88:11                                                          70:21 71:2,5,9,16
                           job 1:25 20:17            104:7 123:16
      173:5 220:20,22                                                      71:19,22,23,24
                              23:12,16,22,23         125:19 129:23
                                     Veritext Legal Solutions
    www.veritext.com                                                            888-391-3376
Case: 1:17-md-02804-DAP Doc #: 1974-9 Filed: 07/24/19 85 of 108. PageID #: 211389


   [know - lengthy]                                                             Page 21

     72:4,7 73:24 74:7    159:1,8,9,10,10        234:3,15,17,18,22   latest 141:21
     74:8,9 75:5,8,14     161:22 162:3           235:2 238:13,14     law 4:18 9:6 67:21
     75:16,24 76:2,2      163:18,25,25           239:13,14,18,21       124:12 191:21
     77:1,11,25 78:3      169:8,22 170:4,5,7     240:16,16,20        lawful 56:14
     79:18 84:15,21       170:11,15,16,17        241:10,16,17,18     lawfully 52:8
     85:1,7 86:11 87:2    170:17 171:3,5,19      242:4,4,5,7,20,23     57:14 61:25 107:9
     87:11 88:9,10,14     175:18,18,22,23        243:7,12,15,17,19     107:11
     89:5,10 90:12,13     175:23,23 176:12       244:16              lawsuit 214:8
     90:15,21,22 91:8     176:14 177:12,15     knowing 163:22          216:2 223:16,20
     91:13 92:18,22       177:18,19,20,21      knowledge 214:15        223:21,25 224:3,5
     94:22 95:1,4,20      177:22 178:1,4         214:20,24 225:4       224:25 225:5
     96:8 98:8,25         182:1,2 184:1,14       238:7 246:9           227:9
     102:24 103:25        185:18 186:19        known 32:3 67:22      lawyers 9:7,8
     104:8 105:3 106:6    187:6,25 188:22        121:6 163:18          49:15
     106:24 113:9         188:23 189:16,18       226:25              lay 21:2
     114:10 115:4,8,17    189:24,25 190:3,5    knows 170:7 176:5     layer 31:24
     115:22,24 117:13     190:7,9 192:2,20       177:20              layoffs 26:20
     118:21,24 119:5,7    193:11,11,13         kretch 4:18           lead 77:8,11
     119:8 121:8,19       194:4 195:12,14                l             125:12,17 164:20
     122:4,15,16,16,24    196:9,20 197:2                             leads 184:22
                                               l 1:24 124:8 206:8
     123:2,5,9,15,17,20   200:3 201:8,20                             learn 90:6 166:3
                                                 246:3,18
     123:24 125:5         202:16,17 203:5                              169:18 170:13
                                               l.p. 1:8,10,12
     126:3,8,16,21        203:10 204:23                                223:15,19 230:21
                                               lab 90:11,18 91:1
     127:22,24 128:1,2    206:2,5,10 207:24                          learned 20:14,23
                                                 118:11
     128:8,9,18,22,24     208:5,22 209:4,22                            21:4 39:16 223:20
                                               labeled 166:24
     129:1,18 130:6,8     209:23,25 210:3                              223:22
                                                 179:4 190:17
     130:17,24 131:21     210:17,20,22,24                            leave 19:21 171:21
                                               labels 229:4,7,8,9
     131:23 132:15        210:25 211:3,6,9                           led 217:1
                                                 229:10,14,15,20
     133:9 134:10         212:7 213:2,6,16                           left 148:13 188:20
                                               laboratories 228:4
     137:9 138:15,25      214:7,12 215:25                              205:14 244:21
                                               labs 19:10 173:14
     139:2,17 140:3       216:13,14,18,23                            legal 58:2 118:2
                                               laced 93:16 164:12
     142:1,2,5,9,9        216:25 217:4,14                              222:11 247:1
                                                 165:3
     143:3,21 144:7,11    218:14 219:20                                250:1
                                               lake 123:14
     144:22 145:3,4       220:2,23 221:16                            legally 59:17
                                               lakeside 3:8
     146:2 148:7          222:10 224:12                                231:13 237:14
                                               large 34:23 73:15
     149:12,17,22,23      225:8 226:16,19                            legislative 11:13
                                                 102:14 173:13
     151:7,10,14,19,25    226:25 227:7,16                              99:21 102:3
                                                 182:20 183:14
     155:21,23 156:2      228:6 230:16,17                            legitimate 51:23
                                                 188:9 220:16
     156:21 157:16,21     230:18,19,19,24                              52:1,15 57:16
                                               lasted 31:10
     157:23 158:8,10      230:24 231:2,17                            lengthy 150:16
                                               late 31:3
     158:12,14,20         232:16 233:9

                                  Veritext Legal Solutions
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Case: 1:17-md-02804-DAP Doc #: 1974-9 Filed: 07/24/19 86 of 108. PageID #: 211390


   [lerms - mail]                                                                    Page 22

    lerms 203:4 206:7          226:18,21 232:16      122:6,6 124:20      lowest 136:2
       206:11,13,16         listed 232:15            130:1,10 141:20     lpa 2:5
       209:15                  249:7,17              144:8 179:8 189:1   lunch 137:15
    letter 6:16 247:19      listen 197:21            195:21 197:2          142:18
    level 109:20            listing 167:23           198:20,21,23                 m
       131:25 239:16           249:7                 200:9 201:18,23
                                                                         m 3:7 138:18
       243:10               lists 105:6,10,20        202:13,14,15
                                                                           206:8
    levels 136:2 216:7         106:7 232:11        looked 14:22,23
                                                                         madam 247:10
    lewis 3:18 9:14            235:5                 45:9 82:20 96:7
                                                                         mail 5:10,12,14,16
    liable 163:11           literally 54:18          157:24 232:4
                                                                           5:22,24 6:2,4,15
    licensed 52:9,15           118:23 122:1        looking 16:13
                                                                           6:20,23 7:5,7,9,11
       52:24 231:25         litigation 1:5           90:25 95:8 120:17
                                                                           7:14 36:8,9,12,18
    lieutenant 35:18           247:6 248:3 249:3     121:15 141:7
                                                                           36:25 37:12 42:12
       123:13 170:2         little 23:16 28:3        142:4 158:1
                                                                           42:13,16 80:12,18
    life 183:12                31:18 40:18 60:15     164:14 189:17
                                                                           80:18,25 81:7
    likes 147:3                68:18 69:1 144:25     195:22 225:25
                                                                           85:21,25 86:5
    limited 145:19             161:9 180:19        looks 45:11 95:23
                                                                           87:5 88:3 91:16
       171:14 172:15           183:13 186:13         144:25 147:3
                                                                           100:17,20,21,25
       224:1,2,15 225:4,7      224:10,19             168:12 189:15
                                                                           101:10,14,18
       233:15 242:17        live 10:11,13,13         206:1
                                                                           107:22 108:11,12
    line 36:21 37:6            13:17 48:11         lorain 233:12
                                                                           109:3 112:8,12,16
       86:5 92:4 95:24      llp 3:18 4:3,7         lot 14:7 19:19
                                                                           116:13,16,17,23
       95:24 157:3          local 115:15             31:19 52:18 64:15
                                                                           117:5 120:16
       183:25 190:24        locally 115:13,14        69:15 74:10 82:12
                                                                           121:21 122:5
       216:4 247:13            115:15                84:7 92:15 94:7
                                                                           134:24,25 135:5
       249:7 250:3          location 176:7,8         103:22 115:3
                                                                           135:14 138:18
    lines 95:23 118:19         205:21 210:11         121:19 129:19
                                                                           150:12,19,19,23
       144:15,21 145:1      locations 68:21          141:12 142:14
                                                                           151:3 160:17,20
       151:22 174:12           108:25 205:18,19      144:6,10 154:3
                                                                           160:24 179:9,10
       233:5                   210:14                172:11 181:23
                                                                           179:14,18 180:5
    link 151:2 164:19       log 151:18               183:1 186:21
                                                                           180:23 181:18
       165:19               long 24:16,23            193:3,4 218:7
                                                                           183:22,23 184:5
    lion's 60:13               25:20,22 45:21        219:20
                                                                           190:23 191:3,7,8
    list 23:19 82:18,22        56:4 71:23 105:4    lots 51:3 116:1
                                                                           192:11,16 193:20
       101:19,22 105:15        106:23 158:25         120:16
                                                                           193:21 194:10,13
       105:24 106:3,5,18       214:2               lottery 163:23
                                                                           194:16,20,21
       106:18,20,22,25      longer 56:25 150:7     love 89:7 111:22
                                                                           195:4,8,18,18
       108:22,23,24         look 37:6 82:18        low 192:24
                                                                           196:2,8 198:6,7,11
       134:23 195:2            95:19,21 96:5,17    lower 16:3 95:9
                                                                           198:18 199:9,10
       196:16 214:2            100:16,19 114:21      135:25 147:22
                                                                           199:18,19 200:14
       222:23,24 223:3         118:12 119:1          148:12
                                                                           200:20 223:2
                                      Veritext Legal Solutions
    www.veritext.com                                                            888-391-3376
Case: 1:17-md-02804-DAP Doc #: 1974-9 Filed: 07/24/19 87 of 108. PageID #: 211391


   [mails - medicine]                                                          Page 23

    mails 14:22,25       map 201:9              215:3 226:25         93:7 94:7,8 98:9
     15:7 39:12,13,14    mapped 26:25          martin 81:13 85:3     98:25 109:11
     85:20 108:1         march 112:8,13        mass 115:12           110:11,19,22,22
     184:10 240:23        116:13,24 138:22     massachusetts         115:24 116:1
    main 2:6 50:19        139:15 141:3          3:14                 120:15,25 125:23
     173:20 181:15        183:24 184:5         match 122:9           130:3 131:12
     235:22 242:8         190:22 191:5,9       matt 37:12 190:24     137:11 144:10
    mainstream            192:11 194:20         192:17               152:6 155:4,13
     244:16               195:5,19,23 198:6    matter 54:17 59:2     160:8,9 163:24
    maintain 100:3        199:9                 60:3 137:2 156:5     165:11 168:20
    maintained           marietta 233:1         169:15 177:6         171:18 176:12
     127:13              marijuana 19:12        218:15 246:13        181:2 182:18
    maintains 205:24      19:12 20:16 35:4     matthew 1:17 2:1      183:6,12,14
    majority 49:25        91:24 92:13,17,21     5:2 8:3 9:21         187:16 189:11
    making 82:14          92:25 93:7 121:18     179:11 183:23        192:23,23 193:22
     89:11 115:8          121:20 124:6,7,22     198:7 246:5 247:8    195:13 199:1
     143:12 147:17        125:4 173:15          248:4,9 249:4,13     201:5 202:21
     182:1 209:6         mark 97:16             250:20               209:5 210:8
    mallinckrodt          194:13 196:10        maureen 3:18          212:13 216:24
     228:18              marked 36:1,5          9:12 219:18          222:18 225:5
    man 139:9             41:18,22 79:25       mckesson 4:2 8:8      229:11 230:17
    management            80:4 85:10,14         9:7,11 152:14,19     232:11 235:13,22
     132:23               93:24 94:3 99:5,9    mclaughlin 3:7        236:14 237:5
    manager 108:6         107:13,17 111:25      5:5 9:15,15          238:16
     191:14               112:3 116:2,6         100:13 213:25       means 48:11,12,12
    manslaughter          119:10,14 127:3,7     217:7 219:9          156:6 177:1
     183:10 191:16        130:25 131:4          245:12               207:24 208:17
     192:6                133:1,5 134:13,17    md 1:5               meant 24:1 109:12
    manufacture           137:22 138:1         mdl 1:4               162:12 163:14
     83:17 226:14,17      146:16,20 150:1,5    mean 15:3,22          192:20,23
     227:17 228:8         160:12,15 166:20      16:22 20:12 21:2    media 81:7 85:2
    manufactured          179:5 183:17,19       27:17 32:18,18      medical 5:18 40:7
     145:14               190:16,19 194:5,8     39:7,7 44:6 45:8     51:22,23 52:1
    manufacturer          197:24 198:3          46:23 48:10 49:24    94:13,16,18,20,24
     78:1 223:12 239:6    205:7,11 211:12       50:7 51:15 53:10     94:25 108:8
     245:15               211:14                55:18,20 60:15       135:10 185:6,15
    manufacturers        market 56:4 73:18      62:21 67:12 68:22    187:17 188:4
     226:6 227:3          73:20,24              70:10,20,24 73:19    219:6
    manufactures         marking 179:3          74:5 76:3 85:8      medication 236:25
     226:20              mart 9:17 83:2         86:18 87:12 88:17   medicine 236:4
                          213:24 214:16,17      89:6 90:23 91:18

                                  Veritext Legal Solutions
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Case: 1:17-md-02804-DAP Doc #: 1974-9 Filed: 07/24/19 88 of 108. PageID #: 211392


   [medicines - narcan]                                                         Page 24

    medicines 221:15      meth 19:10 20:15     moment 9:22          mundane 154:15
    medina 233:12          57:24 68:4,12        37:25 70:25 95:19            n
    meet 12:19 106:13      69:5,6,15,15         99:19
                                                                    n 5:1,1 8:1 35:23
     106:14                173:12,14 242:17    money 22:8 43:24
                                                                      124:8
    meeting 37:13,18       243:24 244:1,2,5     120:18,22 121:11
                                                                    n.w. 3:14
     37:20 38:1,4,13       244:12,13,14         121:13,24 122:2
                                                                    naddi 148:13,18
     81:12 105:9 106:4    methamphetami...      122:17,18,19,21
                                                                    nail 90:24 110:6
     109:17,19 138:15      19:9,9 47:4          122:25 148:13
                                                                      110:23 111:1
     139:5,12,15,17,20    method 158:6          149:14,23 162:16
                                                                    nails 110:16,17
     139:21,23 140:1      methods 143:21        243:20
                                                                    name 9:5,19,21
     140:20,22 153:1,5    metro 139:22         money's 122:3
                                                                      12:11 34:12,15,19
     202:2 234:2           207:10              month 64:6
                                                                      35:3 102:10
     243:18               mexican 84:17,24      106:12,13,16,16
                                                                      116:11 139:2,7
    meetings 13:3          115:11               141:15 167:4
                                                                      140:22 173:1
     44:7 152:25 153:3    mexico 84:4,14,15     168:1,25 169:8,14
                                                                      191:12 214:13
     153:7,9,13,15,19     mid 68:17,18 73:4     176:25
                                                                      219:18 228:5,15
     233:24,25 234:8      middle 167:21        monthly 7:3 167:2
                                                                      233:13 236:6,6
     234:16               midwest 247:17       months 23:18
                                                                      247:6 248:3,4,15
    member 29:11,12        250:1                24:19,20 28:1
                                                                      249:3,4,21
     136:14 199:17        mike 179:11           31:9,11,12 103:9
                                                                    named 146:1
    members 29:16         mill 76:10,17         104:20 130:15,20
                                                                    names 15:23 38:7
     33:13,23,24 64:12     78:13 79:10          141:20 159:3
                                                                      103:1,2 106:17
     136:13 146:4,8       mills 76:5,7 77:6     230:9
                                                                      120:25 122:9
     161:13 220:10,13      174:1               moran 112:23
                                                                      214:2 234:6,20
    memo 139:15           mind 54:7 65:4        113:12,13,21
                                                                      238:15
    memorandum             67:5 192:14          225:13
                                                                    narcan 38:21
     105:17               mine 75:23 147:24    morgan 3:18 9:14
                                                                      39:15,19,23 40:3
    memory 154:14          148:1               morning 8:10
                                                                      40:12 108:22,23
     155:6                minor 18:10           72:20,21 79:13
                                                                      108:24,24 129:10
    mentioned 155:7       minute 100:19         142:22
                                                                      129:15 134:4
     173:18 220:6,13       211:17              mouth 129:10
                                                                      136:11,13,14
     220:24 222:5         minutes 17:14         130:2 161:22
                                                                      154:18 155:8,12
     223:5 236:13,16       60:20               move 32:9
                                                                      156:8,25 157:2,17
    menu 204:19           missing 130:20       moved 29:23
                                                                      157:24 158:4,7,17
     205:1                 183:8 233:4          51:23
                                                                      158:21 159:6
    merely 88:18          mix 92:5             movement 31:19
                                                                      160:2,5,6,8 161:9
    merrill 139:2,8       mixed 92:10,11,13    moves 244:8
                                                                      161:12,23 162:3,8
     153:2                 92:15,16 135:19     mujumdar 3:3
                                                                      162:19 198:8,25
    messing 242:18         135:24 136:20       multi 94:4 146:21
                                                                      199:5,6 200:4,10
    met 12:8,10 37:7       165:15              multipage 131:5
                                                                      202:15,21
     139:11                                     133:5

                                  Veritext Legal Solutions
    www.veritext.com                                                       888-391-3376
Case: 1:17-md-02804-DAP Doc #: 1974-9 Filed: 07/24/19 89 of 108. PageID #: 211393


   [narcotic - nurses]                                                            Page 25

    narcotic 31:21         needed 155:16         nonfentanyl 136:1      120:3,7 167:4
    narcotics 6:6 7:17       238:23              nonopioids 57:24       168:8,19
      19:13 26:10,12       negron 34:18           58:11,22            nroman 4:6
      27:8,15,16,21,23     neighborhoods         nonprescription      nuances 174:25
      28:4,10,14,19 29:2     146:9,13             47:15 48:24 57:25   number 12:24
      29:9 30:22,25        neil 4:3 9:5           58:11,22 128:7        16:4,5,9 52:18
      31:1,16 32:9,14      neither 161:21        nonrelated 83:9        70:23 73:15 93:2
      33:3,9,23 40:22      neoprene 87:3         noramco 227:24         95:8 98:17,17,18
      54:14 58:7 103:7       93:17               norfolk 147:5          98:18,19,22,23,23
      112:23 120:2,6       net 205:14            normal 191:4           99:10 102:15
      145:25 146:11,14     never 15:16 44:9       224:7                 120:23 121:1
      154:2 156:19           77:8 78:4,5,5       normally 73:17         135:19 142:8
      167:18 172:5           110:24 114:10        117:19 198:20,21      148:12 168:7,24
      211:21 220:7,9,9       131:12 143:8         199:3,4 200:7,7       169:3 175:3,12
      220:14 223:18          150:14 151:14        201:23 219:5          176:3 183:18
      243:13                 158:22 167:6,9,11   north 3:3,8            188:9 189:21
    narrower 47:20           167:14 168:17       northeast 233:10       190:11 192:2,8,24
    nasal 222:2              169:21 213:4         233:16                193:2,9 194:12
    national 1:4 147:4       221:21,22           northern 1:1           202:23 206:12,15
      247:6 248:3 249:3    new 4:4,5,5 54:3       124:11 233:10         206:17,18,23
    natural 46:11,12         109:10 113:2,24     nos 36:6 41:23         209:14,18,20
    nature 57:25             118:7 171:16         94:4 116:7 131:5      210:9,10 211:12
      120:9                newly 8:23             133:6 146:22          232:4 243:18
    near 48:14 86:18       news 74:4 224:10      notarized 247:14       247:7,13
      180:22                 224:11,21,21        notary 8:5 246:4,6   numbered 160:17
    nearly 125:3             240:23               247:25 248:10,18    numbers 16:12
      135:19               nicest 30:18           249:15,23 250:23      98:3 115:7 119:16
    necessarily 20:21      niche 174:22          note 36:11 163:10      135:25 141:22
      32:22 39:24 130:2      189:9                204:10 247:12         142:3 157:25
      147:13 165:19        nickname 12:13        notes 50:7 131:18      163:23 182:20
      187:4 202:21         nicole 36:10           131:19,21 132:4       191:22 193:8
      208:25               night 112:24          nothing's 182:20       196:4 197:13
    necessary 11:19        nine 88:22 89:24      notice 2:19 88:15      205:20 217:4
      156:7                nodding 220:5          163:8                 249:7
    need 11:25 25:15       non 6:8               noticed 26:23        numerical 206:24
      42:20 80:16 81:10    nonfat 127:14          163:7,13,16 188:8   numerous 18:5
      113:9 129:17         nonfatal 59:2         notified 142:8       nurse 144:13
      155:15 178:22          102:15 152:8        notify 40:6 181:3    nurses 49:15
      180:9 186:24           180:7 209:1          181:5
      193:16 195:1         nonfatals 82:1        november 7:4
      219:3 245:5            128:20 140:25        24:14 31:2 32:7

                                    Veritext Legal Solutions
    www.veritext.com                                                         888-391-3376
Case: 1:17-md-02804-DAP Doc #: 1974-9 Filed: 07/24/19 90 of 108. PageID #: 211394


   [o - opinion]                                                                 Page 26

             o            obtain 223:11           156:10 185:7          131:14 132:4,25
    o 5:1 8:1 124:8         231:13 238:20         187:8,10,14 216:4     137:16 138:7,17
    oarrs 151:13          obtained 59:17,18       218:13 243:11         142:17 148:25
      152:1 170:24,25       157:17              officers 33:8 44:13     149:25 152:16
    object 18:18 22:6     obvious 109:22          44:25 49:16 86:21     161:23 162:1
      23:7 32:15 46:20    obviously 8:18          112:10,19 157:13      163:10 164:4
      47:22 56:9 57:6       21:11 39:7 63:11      157:17 159:6          179:13 184:3
      57:19 58:13 61:10     86:18 87:1 103:21     166:2,3 185:9         199:20 205:6
      61:14 63:16 64:9      164:1 186:24          193:10 218:13         215:15 217:8,16
      68:9 72:3,11,15       192:24 226:24       offices 213:9           217:22 218:16
      73:7,13 76:8          229:8               official 171:7          219:18 220:4,12
      81:24 83:19 85:6    occasion 197:11         248:15 249:21         224:9,17,23
      87:7 88:12 95:3       207:6               officials 152:22        226:23 227:2
      97:5 98:7 105:7     occasions 10:20,21      153:4 165:23          245:7
      110:4 122:13          11:10 197:7         oh 13:11 103:8        old 171:15 185:19
      123:4,23 126:10     occur 143:2,5           163:12 171:1        once 40:5 106:12
      128:21 137:3          200:12              ohio 1:1,10,12,18       106:13 146:3
      140:15 149:15       occurred 238:1          2:8 3:9 10:10         159:10 164:3
      153:20 156:12       occurring 141:23        17:12,13 44:13        171:23 174:20
      157:19 158:9          165:24 201:8          112:9,18 124:11       189:8 202:6 216:3
      159:7 162:17          232:20                150:20 151:12         217:13 237:5
      163:5 164:15        occurs 144:3            232:20,22 233:1,7     242:4 244:19
      165:9,25 166:5      october 31:2 32:7       233:10,17,20        ones 29:19 60:10
      167:13 168:11       odd 24:3 184:12         247:2                 82:25 83:3 105:21
      169:5,24 170:14     ods 180:9             okay 12:14 16:25        110:10 129:20
      174:8,17 175:7,21   offer 240:13,18,20      17:11 24:4,16         173:13,20 190:9
      178:10 181:9          241:18 242:3          25:20 28:5,19         207:21 226:21
      182:7,16 186:18     offered 241:19          29:5 30:24 31:23    ongoing 99:22,24
      189:23 190:14       offhand 57:12           33:20 36:16,22,23     183:7
      192:21 196:5          62:18 70:22 87:12     48:9 50:10,15       online 19:25
      197:15 200:15         90:14 116:1           52:4 53:6,18        op 1:9,11,13
      201:2 207:14          149:16 204:3          61:18 66:20 67:20   open 118:14 121:5
      210:4,19 211:4,8      236:8                 80:9 81:5 83:5      operate 29:3 240:7
      212:12 213:1,13     office 5:18 13:5,11     84:9 89:11,19,24    operations 123:3
      216:22 230:7          31:22 78:21 94:13     91:8,22 93:4        opiate 1:5 125:20
      231:10 235:1          94:25 144:13          94:12 96:7,8,17       233:23 234:10,12
      238:10 239:8,12       171:15,15,17          101:4,10,22           247:6 248:3 249:3
      240:4                 191:14 224:8          102:20 107:22       opiates 46:12
    objection 53:1        officer 11:7 44:17      108:23 110:15         125:18
      166:9 243:5           44:22 86:20           113:23 116:12       opinion 51:14
                            117:24,25 135:10      120:1 130:21          162:11

                                   Veritext Legal Solutions
    www.veritext.com                                                         888-391-3376
Case: 1:17-md-02804-DAP Doc #: 1974-9 Filed: 07/24/19 91 of 108. PageID #: 211395


   [opioid - padukone]                                                           Page 27

    opioid 6:8 18:17         204:22 215:3,7,17   57:18 58:8 59:2      overdosing 71:7
      18:17 19:23 43:1       220:25 221:4,7      62:17 63:23 67:15      71:14 129:14
      44:5 48:5,6,7,8,10     226:14,17 227:16    69:20,24 71:2,6,13     134:6 160:6,10
      48:22 49:2,8 54:7      228:8,23 229:2,5    71:17 86:25 89:2     overfilling 75:19
      56:7 62:16 69:21       229:16,20 230:22    89:22 93:5 94:19     overprescribed
      71:8 72:9,23 73:5      231:24 232:7,8      95:12 96:19 98:15      74:24
      91:14 92:1 93:5        233:21 235:10,11    128:25 129:5,8,16    oversee 30:3
      125:21 127:15          235:15,20 236:1     129:22 130:3,9       overwhelming
      145:16 152:23          237:14,15,21        156:1,2 160:3,4,7      141:2
      153:10 163:1           238:3,8,20 242:13   162:7 164:11         oxford 3:19
      164:6,14 165:20      opium 46:10           165:2 180:25         oxycodone 117:8
      173:23 178:9,15      opportunity 8:19      184:18,20,23           117:15
      182:13 183:25          95:21 138:8 183:9   186:15 187:9,23      oxycontin 47:13
      184:9 187:18,25      opposed 23:4,5,6      188:10 189:21          55:7 69:8,9 73:3
      188:10 189:20          58:10,21 61:25      198:9 202:19,22        74:10,11 229:22
      204:4,5,11,12          71:13 90:19 98:6    204:6,12 209:1,2     oxycontins 114:21
      216:19 217:10        order 63:5 88:10      230:1 235:19,24        114:22
      221:15 229:13          98:16 170:21,25     236:10,10,20         oxys 74:12,15
      231:14,20,21           171:1 206:24        237:16,17                      p
      232:18,19 233:7      orders 174:4        overdosed 71:10
                                                                      p 4:7 8:1
      234:13,25 235:6      ordinary 42:17        91:23 237:10
                                                                      p.m. 37:1 245:20
      236:7,12,24 243:2      81:1 86:1 101:16  overdoses 6:8
                                                                      package 120:24
    opioids 19:23            108:2 112:13        37:23 38:22 39:1
                                                                        121:3,5,9 189:2
      20:14 22:2 44:10       116:25 135:6        40:11 58:8,19
                                                                        230:15 231:9
      46:4,7,11,15,19        150:24 160:25       61:21 62:8 63:14
                                                                      packaged 120:24
      47:2,4,7,12,15,20      179:15 180:1        79:19 81:21 82:4
                                                                      packages 120:17
      47:21 48:2,2,23        184:5 195:5         86:7,16 88:4,11
                                                                        120:21 121:12
      55:10 56:14,15         205:25              90:18 99:1 102:14
                                                                      packaging 189:8
      57:4,15,25 58:2,3    organizations 38:9    102:15 108:16
                                                                      packets 161:9
      58:9,11,20,22          124:18              109:25 110:2
                                                                      pads 145:13,14
      59:20,21 61:23       ounces 177:8          113:3 114:4
                                                                      padukone 4:7 5:4
      62:4,7,23 63:14      outbound 121:14       127:15 129:21
                                                                        9:10,10 152:20
      69:18 71:20 73:2     outcome 246:12        130:12 131:17
                                                                        153:23 156:14
      73:25 74:24 76:20    outcomes 193:18       136:18 140:25
                                                                        157:20 158:15
      78:2 93:8 96:9,13    outside 118:18        141:4 142:7 152:8
                                                                        160:14 162:21
      97:2,20 102:1,23       176:8,10            180:8 181:23
                                                                        163:15 164:17
      102:25 104:25        overall 135:20,22     182:13 193:3,4
                                                                        165:17 166:1,7,15
      125:6 128:3,5        overdesignate         200:12 203:22,23
                                                                        166:22 167:16
      165:8 166:8 173:5      100:18              204:5 205:19
                                                                        168:14 169:16
      173:7 175:4,13       overdose 15:19        210:14 222:6
                                                                        170:3,19 174:13
      176:3 177:10           39:21,24 40:2,4     236:10,24
                                                                        175:1,10,25
                                    Veritext Legal Solutions
    www.veritext.com                                                         888-391-3376
Case: 1:17-md-02804-DAP Doc #: 1974-9 Filed: 07/24/19 92 of 108. PageID #: 211396


   [padukone - permanently]                                                      Page 28

    178:13 179:2,7       parents 52:20         patena 34:6 41:13       197:6 233:9,11
    181:19 182:10        park 112:25             75:1 77:16 143:11     234:16 235:15
    183:2,16,21 187:7    part 13:7 19:13         143:16 147:8          236:14 237:6,20
    190:4,15,21 193:7     22:8 24:12 26:5        152:1 194:24          240:7 242:19
    194:7,17,19           35:15 44:20 45:1       213:21                244:7
    196:14 197:18,23      45:2 46:12 51:3      patients 76:21        people's 110:6
    198:5 200:18          78:10 79:5 87:22     patrick 112:20        percent 51:12,12
    201:14 205:6,9        91:20 96:6 113:8     patrol 25:7 243:11      51:14,17 52:13,23
    207:17 210:6,21       113:20 127:15        patrolman 24:22         52:23 53:2,3,14,14
    211:5,11,18,23        145:16 159:22          24:24,25 25:4         53:15,15,16,19
    212:17 213:5,17       191:6 192:13         patrolmen 30:3          60:19 61:24 65:16
    213:22                198:25 200:1,2       pay 16:16 123:2,3       67:3,17 88:11
   page 5:2 36:6,24       216:1 220:7,9,10       148:14,18 224:13      182:21 188:15
    37:12 41:23 80:5      222:13 224:5         paying 22:17,19         213:15
    85:15,20 94:4         233:16 234:12        payne 10:10           percentage 23:3
    95:7,11 99:10         244:13,22 249:9      pays 22:11,12,16        53:7,8,21 58:18,24
    100:8,8,9,11 101:5   participant 45:6        22:24,25 241:10       59:3 67:5,15
    107:17 112:4          124:15                 241:17 242:5          88:10 90:18
    116:7 119:15         participate 44:1      peak 130:11,16          188:14,17
    124:9,23 125:9        45:12,18 220:14      pending 12:3          percentages 58:7
    127:7 134:18         participated 44:4     pennsylvania 3:20       58:18 90:23,25
    138:2 146:21          45:4                 people 13:4 20:18     perception 151:24
    147:12,22 148:5      participating           43:9 48:13 49:12    percocet 47:12
    148:11,11,11          42:25 44:12            51:20 55:5,8,23       73:2 104:4 107:10
    150:6,7 151:3        particular 169:17       56:18,18 59:15        223:7,11 229:23
    167:21 180:10         222:24 227:3           62:3 63:6 64:14     percocets 103:12
    205:14 247:13,15      232:23 234:9           66:6 69:24 70:12      104:9,21 107:2,12
    249:7 250:3           240:1                  71:12 73:20 74:11     114:20,22 126:23
   pages 8:17            particularly 124:3      74:14 86:18 92:20     229:22
   paid 23:3             particulars 225:4       102:19 103:3        percs 103:12
   pain 56:19 78:23      parties 2:20            109:2 110:1,21      perfect 61:19
    79:18 231:4           246:11                 111:7,8,13 114:10     183:15 197:22
   paper 239:1           parts 18:21 42:1,9      117:19,22 119:5,8     211:19
   par 3:12,12 10:4       42:10 68:22 233:9      119:9 121:23        perhacs 150:20
    227:22                233:17                 122:4,5,21 125:20   period 16:24 29:6
   paragraph 81:6        party 162:3             134:6 136:9           60:22 69:16
    135:14,21            pat 112:22 123:14       137:10 140:4,10     periods 28:13
   parallel 32:12,18     patch 221:10,12         144:11 151:18,20      210:23
   parent 199:17          221:18,21,23           153:6 158:11        periphery 75:3
   parenthetical 92:4    patches 222:15,17       160:3,6 161:16      permanently
                                                 164:13,20 165:2,6     31:13

                                  Veritext Legal Solutions
   www.veritext.com                                                         888-391-3376
Case: 1:17-md-02804-DAP Doc #: 1974-9 Filed: 07/24/19 93 of 108. PageID #: 211397


   [person - police]                                                               Page 29

    person 13:14            214:10,12 219:13    pills 47:12 49:13        58:15 67:25 82:19
      50:16,21 55:21        224:5 226:6           49:17,23 50:4          95:7 100:4 125:8
      57:16 65:5 70:24      230:12                51:11,21,25 52:3,5     127:18 195:2
      91:22 93:5,6        pharmaceuticals         52:7,14 53:20,22       247:11,11
      111:17 112:18         3:11,12 174:25        53:23 54:1,2 55:6    plenty 17:24
      129:9,14 132:1        226:9,20 227:19       55:8,10,16,19 56:3     149:17
      136:15 145:6          227:22 230:15         57:1 67:16 68:6      plug 203:4
      156:17 181:11,12    pharmacies 75:16        69:8 70:11 71:13     plus 197:25 245:3
      181:14 185:14         76:3,4 110:3          72:8,22 73:1,15      poi 131:22,23
      186:21 208:22       pharmacists             78:24 88:7,11,14     point 3:8 28:24
      217:3 222:20          144:23 213:9          88:21,23 89:3,4,25     49:21 50:15 52:5
      231:14 236:7,24     pharmacy 75:19          90:19 91:23            70:4,15 74:9
      237:10                77:23 144:18          103:23 104:13          89:10 119:23
    person's 55:22          171:13,19 172:1,2     113:5 114:14,17        121:17 126:19
      114:6 185:13          172:4,10 231:19       114:25 115:18,20       142:2 163:9 193:6
    personal 20:13          231:20 245:13         117:9,15,18,20         215:2,6,13,16
      50:3 51:17 65:1     phase 108:15            118:22 119:1           219:4 239:5,5,20
      87:21 156:10          109:4,10,15           125:21,21,24,24        244:21
      214:15,20,24        phases 109:9            126:1 144:7,8        police 6:18 7:17
    personality 63:2      phone 9:23,25           164:5,20,21            11:4,6 17:25 18:3
    personally 54:6         13:8,12 185:8         167:25 168:8,9         18:11 23:13,23
      63:2 129:13 205:5     224:12 247:3          177:18 223:7,11        24:6,11,13,15
      215:2,6,16 233:19   phrase 48:9             236:2,7,12,12,15       30:18 39:20,21
      236:15 237:3        physician 52:9          236:19 237:7           40:6 43:18,24
      248:11 249:15       picked 109:2            238:25                 49:16 57:3,17
    personnel 180:10      picture 50:18         pinpoint 109:15          61:7 64:22 72:2
    persons 18:13           175:3,12,20         pissed 100:18            74:22 75:18 76:6
      43:8 51:2 66:1      piece 177:23          pittsburgh 3:20          77:25 79:6 83:6
      70:13 73:16           189:13,13,14,15     place 76:18 185:23       83:14 102:22
      131:24 136:9          239:1                 186:2 187:18           103:7 104:23
      217:23,24 240:15    pill 52:21 60:2       places 27:18 242:6       105:5 113:14,17
      241:14                62:15 69:21 70:1    plan 243:7               114:4 117:24,25
    perspective 44:16       70:6 71:8,11,16     planning 112:24          122:11 123:3
      244:10                76:5,7,9,16 77:6    plant 46:13              124:14 126:4,4
    pertains 117:7          78:13 79:10 89:9    played 72:22             127:13 129:4,7
    pharma 1:8,10,12        91:9,11,19 115:6    plea 77:4                132:21 149:2,7,13
    pharmaceutical          118:1,3,10,12,17    pleadings 14:5,11        151:7 153:18
      3:12,17 117:20        119:3 125:12,16     pleas 75:13              157:5,16 158:16
      125:10 126:17         126:21 174:1        please 9:19,25           159:5,9 162:23
      142:23 143:2          220:25 221:5          10:8 11:18 15:8        165:23 167:1
      144:16 172:13                               19:6 35:22 42:20       168:25 170:12

                                   Veritext Legal Solutions
    www.veritext.com                                                          888-391-3376
Case: 1:17-md-02804-DAP Doc #: 1974-9 Filed: 07/24/19 94 of 108. PageID #: 211398


   [police - problem]                                                            Page 30

     171:6 175:5,14      precisely 15:24          125:6 128:6         pri 208:4
     176:1 180:16,19       20:22 95:5             144:24 145:8,9,24   primarily 124:5
     181:8 182:12        prefer 34:15             146:5 164:20          124:25 242:19
     185:1,7,9 189:20      112:25 122:5           165:7,20 166:8      primary 32:23
     190:6 202:25          183:7 216:11           167:24,25 168:24      109:24 152:6
     203:8 205:24        preliminary 90:7         169:3 170:5 173:5     199:7 200:5
     207:3 208:16,19       90:16                  173:7 174:20          210:10
     208:21,23 211:1     preparation 13:9         177:10 205:1,2      prince 34:7 41:13
     211:21 218:13,13      14:17                  220:20,25 221:4,6     74:25 75:6 77:13
     234:23 235:5        preparations             221:20 229:1,5,16     77:15,18 143:11
     240:6,9,11 241:15     14:15                  229:20 231:13,15      143:15,18 151:25
     243:3               prepare 12:6             231:19,21,24          166:13 170:4
    policeman 188:5        16:17                  232:8,15 233:21       174:11,18 194:24
    policemen 23:19      preparing 12:24          235:10,11,15,20       213:20 238:22
     240:17              prescribe 173:22         236:12,19 237:13    prince's 75:23
    policing 25:12       prescribed 52:8          237:15 238:20,25      174:15
     149:8                 57:4,15 71:20          247:6 248:3 249:3   principally 124:21
    polster 1:7 45:6       76:21 204:22         prescriptions         printouts 14:23
    popular 229:24         235:21 236:25          52:24 75:20 76:19   prior 165:19 214:6
    porter 3:14 10:3       237:9,13               76:23 102:7 127:2     238:21
    position 24:21       prescribing 144:6        144:8 173:23        priorities 208:7
    positive 87:18         229:1                  174:4,19 232:1      priority 101:19,25
     157:15              prescription 1:4         238:3,8               102:10,12,13,16
    positives 40:13        21:6,7,16,17,23      present 2:19 4:17       102:21 103:3,5,6
    possibility 231:4      41:4,6,8 46:9 47:8     13:2 28:11            103:19 104:23
    possible 39:1          47:11,20 48:2        presentation            105:5,20,24 106:7
     56:22 57:8 102:8      51:11,21 52:13         44:21 113:1           107:1 193:16
     102:18 125:7          53:20,23 55:15       press 118:22,23,24      208:6 209:6
     165:12 197:17         57:4,15 58:2,3,9     presses 115:6           222:23 223:2,6,10
     208:16,20 220:23      58:20 59:16,20,21    pressure 243:15       privilege 99:22
    possibly 40:2          59:24,25 61:23       presumably 16:3         102:3
     86:25                 62:3,7,14,15,15,16   presume 45:16         privy 128:11
    post 24:1,2            63:14 67:16 68:6     pretty 29:13 48:20      158:19
    potential 166:3        69:20,21 71:7,8,11     68:23 161:14        probably 73:17
    powder 69:2 70:4       71:13,19,23 72:8       219:1 226:10          91:20 117:18
     70:8,17 84:8 89:6     72:22 73:1,2,25        242:15,18,21          140:17 169:19
     89:8,9 130:7          78:2,23 79:16        prevent 181:15          181:5 185:20
     187:3                 91:14 93:22 96:15    previous 133:11         229:23
    power 187:2            102:1,23,25            195:21              problem 20:12
    powerless 156:3        104:24 111:10        previously 157:24       54:11 59:22 67:23
                           115:20 118:1           165:7 209:15          81:14,19 85:3

                                   Veritext Legal Solutions
    www.veritext.com                                                         888-391-3376
Case: 1:17-md-02804-DAP Doc #: 1974-9 Filed: 07/24/19 95 of 108. PageID #: 211399


   [problem - reads]                                                             Page 31

      144:19 152:23       products 230:12       pure 117:21          questions 11:16
      159:14 162:25       professional 219:6    purpose 105:11         49:9,10 57:22
      163:12,21 164:1     proffered 100:5        139:25                59:5 61:17 66:22
      178:7,16 182:4      program 18:8          purposes 128:3         156:24 185:11,13
      183:4 189:3           34:1 145:19 146:2   pursuant 2:19          194:18 195:10
      218:22,24 226:3       157:10 166:14       put 8:14 29:10         199:21 219:10,22
      233:1 241:5,5         203:25 232:25        53:7 74:18 87:2       244:24 245:1
      244:2,11              241:11               98:16,20 106:21     quick 11:15 78:22
    problems 81:20        programs 149:22        119:18 122:1          225:3
      109:21 243:19         240:7,13,20,21       155:11 188:14,16    quickly 102:17
      244:9                 241:13               221:17 233:8        quietly 135:18
    procedure 248:5       progressively         putting 29:20        quinn 101:11
      249:5                 54:12                        q           quirk 65:3
    proceed 8:20          project 136:10                             quite 82:12 163:1
                                                qualified 218:3,17
    proceeding 245:19       161:5,7,8                                  184:13 190:12
                                                qualifies 128:24
    process 10:25         projected 95:16                              234:11
                                                 184:23
      118:22 230:12,20    prolific 135:23                                      r
                                                quality 108:6
      244:7               prominent 68:1
                                                quantify 51:8,11     r 8:1 206:8 246:1
    processing 212:22     promoted 27:25
                                                 66:16 142:14,15     radio 129:14
    procured 222:15         28:15 123:18
                                                quarter 45:25          187:20 209:7
      222:18              proper 35:11
                                                 91:5                  224:23 225:2
    produce 239:15,19     properly 52:14,24
                                                question 11:16,21    random 15:18
      239:21 244:3          237:14
                                                 12:3 13:6 18:21     rare 62:19 125:23
    produced 8:23         prosecutors 113:6
                                                 46:16,23 47:23        222:16
      84:23 100:23        protection 86:25
                                                 50:11 52:22 55:3    rarely 35:4 62:25
      115:13,23 121:17    provide 43:9,15
                                                 56:11 58:15 63:18     111:16
      198:15 216:25         67:25
                                                 63:19 66:23 67:11   rate 61:13 98:14
      217:5,5 221:19,22   provides 43:23
                                                 72:17 89:7 97:13      141:2,6
      221:25              public 108:7
                                                 101:24 102:5        reaching 42:24
    producing 19:9          138:19 246:4,6
                                                 104:2 109:23        read 20:19,20
      115:12,14             248:10,18 249:15
                                                 111:4 117:4,17        46:22 74:6 134:21
    product 73:20           249:23 250:23
                                                 164:16 166:11         148:9 150:13
    production 8:16       publicity 223:24
                                                 167:17 178:11         203:7 212:14,15
      36:6 41:23 80:5       224:2
                                                 184:22 196:10         245:4 248:5,6,12
      85:15 94:4 99:10    pull 117:24
                                                 201:11,12 216:15      249:5,6,17
      107:18 112:4        purcell 123:13
                                                 217:9 218:2 220:1   readily 55:8 134:5
      116:7 127:8 131:5   purchased 157:21
                                                 220:4               reading 91:16
      133:6 134:18        purchasing 165:2
                                                questioned 225:24      119:22 138:5
      138:2 146:21        purdue 1:8,10,12
                                                questioning            247:19
      150:8 186:10          83:1 226:19,20
                                                 196:11 219:25       reads 81:12
      247:15,17,22          227:13
                                                                       108:13
                                   Veritext Legal Solutions
    www.veritext.com                                                        888-391-3376
Case: 1:17-md-02804-DAP Doc #: 1974-9 Filed: 07/24/19 96 of 108. PageID #: 211400


   [ready - repeat]                                                              Page 32

    ready 219:16,17         74:15 83:4,15          191:4,8 199:9,13   refresh 154:14
    real 15:6 37:13         91:12,15,18            199:17 200:1         155:5
      54:11 59:24           116:10 125:7           201:16 223:7       regard 218:12
      159:13 177:13,14      126:19 133:24        receiving 179:14       227:7 229:3
    realignment 6:6         134:21 138:5,13        184:4 199:24       regarding 17:25
      120:2,6,10 123:16     138:14,14 139:10       201:25               37:22 38:20 44:14
    realistically 146:5     139:14 140:17,18     recess 65:12         regards 196:3
    realized 49:19          142:24 149:4           142:20 213:23      regular 34:14
    really 16:15,21         153:1,4,12 154:5,8   recognize 127:12       55:21 74:4 136:11
      34:12 44:7 52:16      154:11,21,24           167:5,7 205:16       243:11
      55:15 56:2,7          155:2 158:1            211:24 226:22      regularly 184:10
      88:16 95:24           160:20,21 167:9      recognized 15:23     related 5:19 18:11
      109:14 115:25         169:2,10,13          recollect 80:8         19:13,23 34:25
      118:5,25 119:1,4      172:18,19 173:6        169:13               44:5 71:17 99:1
      128:15 130:14         173:19 179:14        recollection 69:11     136:1 203:14
      143:23 145:22         181:25 193:22        recommend 93:14        215:3,7,17 216:19
      159:21 184:13         195:4,11 196:1,24      148:19 218:10        217:10 220:16
      186:20 193:12         197:4,10 198:19      recommendation         239:10 242:12
      201:5 209:4 216:3     199:2,15,24            147:18               246:10
      224:12 244:20         200:13,16,24         record 8:14 9:20     relates 1:6
    realm 62:21             204:24,25 214:4        50:5 64:22,23      relating 18:16
    reason 10:14 12:1       225:1 227:11           100:3,15 119:18      19:2 21:23
      49:13 51:22,23        228:24 235:8           132:6,22 152:17    relation 233:20
      52:2 80:24 102:16     238:12,15              179:10 193:2       relations 174:12
      116:22 117:1,22     recap 139:19             211:20 246:7       relationship 43:18
      129:9 136:16        recaps 139:15            249:9              relies 190:12
      150:15 162:15       receipt 247:18         rectify 182:2        rely 190:10
      174:6 184:15,19     receive 20:8 80:25     redact 100:21        remember 14:25
      196:7 199:8           81:3 116:23 117:2    refer 109:4 114:13     15:2,3 20:1,6
      200:19 238:19         157:1 184:10         reference 105:23       34:19 38:7 69:4
      247:14 249:8          200:2 202:9,12         117:6 123:9          69:12 90:9 119:21
      250:3                 223:10 231:20          126:17 247:7         140:9 184:4,7
    reasons 93:2          received 8:16            248:2 249:2          193:17,19 195:16
      184:21 241:3          17:22 18:3 19:1,3    referenced 248:11      201:12,21,24
    recall 10:23 14:21      19:18 21:22 42:12      249:15               221:1 223:1,8
      15:10 19:19,22        42:16 101:14         referred 103:16        227:12
      20:4,10,11 21:25      108:1 134:23         referring 19:15      remind 239:2
      33:10 37:17,20        135:5 142:7            33:2 82:9 86:12    repeat 18:20 46:16
      38:1,6,8,12 39:9      149:14,17,18,24        108:21               47:23 58:14 72:16
      44:12 45:17 57:10     150:12,23 172:21     refers 81:20 93:11     175:8 178:11
      57:20 60:19 71:9      172:25 180:1           101:19               204:8

                                    Veritext Legal Solutions
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Case: 1:17-md-02804-DAP Doc #: 1974-9 Filed: 07/24/19 97 of 108. PageID #: 211401


   [rephrase - roof]                                                              Page 33

    rephrase 11:19        reserve 8:21 245:5    resulting 237:17      risk 44:25
      220:2               resource 109:14       results 75:8 77:1     rite 83:2 214:21
    report 6:19 35:15       154:25                90:11 91:1 131:16     215:10
      35:17,18,20 94:23   resourceful 155:9     return 30:24          road 30:2 66:25
      132:20,21 167:12    resources 141:2       returned 31:1           153:14 244:9
      180:25 198:9,10       154:2                 247:18              rodeo 110:21
      198:20,21,24        respect 52:6          review 8:19 15:25     role 72:23 75:23
      203:5,6 205:20        104:21 107:1          42:3,5 119:24         217:23,25
      206:12,15,17          149:22 152:14         138:9 184:2 195:3   roman 4:3 5:3 8:9
      207:16,21 209:19      221:18 231:9          197:5,7 247:12        9:5,18,24 10:5,7
    reported 1:24 86:7    respective 2:20         248:1 249:1           12:14,16 18:23
      182:15              respond 37:24         reviewed 14:1,4         22:10 23:9 33:1
    reporter 246:4,19       59:1,3,9,10,13        14:16,18 16:2,12      36:3 41:20 42:4
      248:7                 60:10 129:20          228:25                47:1,25 53:4
    reporting 87:22         203:1,2 243:4       reviewing 214:6         56:12 57:9,21
      134:7 151:13        responded 30:6        rich 2:5 126:1          58:16 61:11,16,20
      181:7 182:5           58:9,19 59:16       rid 231:3               63:19,21 64:19
    reports 30:6            60:1 87:16 179:22   right 8:21 12:12        65:9,13 68:16
      170:21,24,25          188:7 210:10          15:3 16:3 17:1        72:6,12,18 73:11
      171:9 188:22        responding 37:22        19:15 24:4 26:10      73:23 76:11 80:2
      211:2 235:4           38:22,25 59:12        26:18 33:9 34:19      82:2,16,17 83:21
    represent 9:7           132:5 187:9,14        36:21 37:3 38:4       85:12 87:10 94:1
      72:25 151:1           193:19,22             40:16 59:5 64:20      95:6 97:7,11,15,19
      199:16 219:19       responds 38:21          70:3 86:24 95:9       98:11 99:7 100:5
    represented           response 193:25         95:25 98:3,9          100:9 101:3 102:9
      191:22                196:2 213:19          105:2 110:3,7,16      104:18 105:13
    representing          responses 14:6,12       128:8 129:24          107:15 110:14
      194:15              responsibilities        147:23 158:4          116:4 119:12
    represents 212:11       25:5,24 29:6,25       162:7 163:4           122:23 123:7,25
    request 39:5 147:2      30:3 32:13,13,23      164:14 168:10         126:15 127:5
      147:7 154:6,9,20      35:7,9 41:3 77:15     172:14 179:23         128:23 131:2
      154:23 155:3,12       87:23 153:19          195:2,19,24           132:25 133:3
      194:1 249:9,11      responsibility          196:16 197:22         134:15 137:13,19
    requested 154:1         152:7 174:15          199:25 200:4          137:24 140:19
      154:18 155:1          187:12                201:17 206:23         142:17,21 146:18
    requests 154:11       responsible 25:11       209:16 210:15         149:20,25 150:3
    required 147:15         212:7 213:11          212:23 220:7          152:12 214:1
      157:13 247:25       rest 68:25 100:4        237:7 238:12          220:24 244:25
    research 16:19        restate 11:18           245:6,17              245:10
    reservation           result 90:9 239:17    rights 245:14         roof 23:15
      245:14                243:24

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Case: 1:17-md-02804-DAP Doc #: 1974-9 Filed: 07/24/19 98 of 108. PageID #: 211402


   [room - selling]                                                                Page 34

    room 45:8 140:4         88:15,16 95:11        147:22 179:8           114:25 118:8
    rosters 27:1 29:18      111:22 117:7          180:6,10,13,20,24      119:21 136:17
    roughly 106:12          125:9 131:21          181:24 182:5,25        198:19 199:15
    row 207:2               132:14 135:15         207:1                seen 14:7 15:16
    rule 182:18             140:24 148:12,18    section 124:20           36:13 41:25 42:8
    rules 11:15 100:2       167:24 186:5          131:20 132:4           53:25 54:2,6 80:7
      248:5 249:5           187:22 191:16       secure 84:7              83:3 85:17 86:6
    run 48:13 208:6         192:6,17 205:14     see 14:13 36:8,17        94:6 99:12 101:7
    runs 19:7 30:6          207:22 208:4          36:19,22,25 37:2,9     106:7,10 107:20
      35:11               scale 34:23 173:13      37:15 40:19 42:14      112:6 114:20
    russo 1:24 246:3        220:16                54:10 69:7 70:11       115:3,7 116:9
      246:18              scattered 219:23        74:10 79:19 80:14      119:20,22 127:10
    rx 151:13             scenario 237:18         80:22 81:8,17          131:7,10,12 133:8
              s           scene 61:23 63:22       82:11 84:13 85:19      134:20,22 138:4
                            69:10 70:1 129:23     85:23 86:9 88:20       138:11 146:23
    s 3:2 5:1 8:1 206:8
                            132:7,11 183:25       92:4,6 94:7 95:13      150:10 167:6,11
      247:15 249:8,8
                            184:9,14,17,23,24     95:15,17 96:1,21       169:9,21 171:15
      250:3
                            185:4 186:10,15       96:25 97:4,23          171:16,23 186:9
    sack 74:12,12
                            186:16,17 187:10      98:1 99:15 101:18      212:1 213:4
    safe 91:7
                            187:25 188:6,8        101:20 106:1,16        221:19,21,22,25
    safety 44:17 86:20
                            189:20 190:10         108:17 109:6,16        222:2,13,14
      93:12,19 108:7
                            208:23                113:10,25 114:15       223:24 224:3
    sale 83:18
                          scenes 60:2 187:9       116:11,11 117:6        228:22 229:4,7,8,9
    sample 67:7
                            229:9,15,25 230:1     117:10 120:1           229:10,14,24
    san 4:8
                            230:5                 121:5 122:8,21         231:6 236:9,16,18
    save 162:8
                          schinner 3:13 10:2      124:8 125:2,13         237:16,19 238:1
    saves 160:6
                            10:2                  130:13,17 132:8      seized 122:11,25
    saving 134:8
                          school 49:15            136:3 138:16           125:5 167:19
    savings 134:7
                          scratching 188:21       140:13 141:16,21       168:1,1,8,9 169:3
    saw 59:7 74:20
                          screens 184:12          148:15,20,22         seizes 168:25
      97:20 105:22
                            229:21                167:20 168:3,5       seizures 124:21
      106:4 116:10
                          script 145:13,14        171:14 180:11          170:6
      163:3 226:18
                          sdo 209:23              181:17 186:4,7       sekerak 107:23
      230:4 232:25
                          se 129:22               189:1,5,10 191:18      108:5,11 160:19
    saying 46:25 62:12
                          seal 248:15 249:21      197:3 201:6,19,21      198:7 200:13,25
      77:17 94:8 111:6
                          search 69:15            202:18,25 203:4      self 209:12 210:12
      144:23 165:12,13
                            121:4                 218:6 222:7            212:14
      165:14,16 191:12
                          second 3:19 42:12       224:10 229:13        sell 110:11
      196:15,18 198:10
                            81:6 97:12 100:8      239:17               selling 54:19,22,23
      199:1
                            100:11,17 125:9     seeing 44:18 59:23       102:1,23,25
    says 16:8 30:16
                            135:14 138:17         69:12,13 84:24         103:10,11 104:10
      37:7,12 50:22
                                   Veritext Legal Solutions
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Case: 1:17-md-02804-DAP Doc #: 1974-9 Filed: 07/24/19 99 of 108. PageID #: 211403


   [selling - soon]                                                              Page 35

      104:24 107:2,9,11     150:4 152:13,21     shoot 161:19          sir 55:25 89:16
    seminar 147:2,4         162:22 170:1        shootings 243:21        100:6 101:8 103:2
    sen 229:21              194:18,21 214:1     shopping 145:3          117:7,12 245:11
    send 21:11,13,17        216:12 219:10,15      151:21                247:10
      121:25 122:5          244:25              short 65:12 76:22     sit 161:20 225:6
      195:3               series 185:11           142:20 156:7        sitting 12:12 50:14
    sending 160:20        served 18:15            213:23 236:5          50:20
      195:4 196:1         service 108:8         shorthand 246:3       situation 21:21
      200:22 202:3          127:14 214:25         246:19                22:22 57:14 182:2
    sense 23:2 51:13        215:23              show 15:7 16:7          237:12
      54:25 55:2 122:10   services 167:2          35:10 82:6 90:11    situations 182:14
    sensitive 34:13       sessions 13:9           97:17 143:13        six 23:18 25:8
    sent 27:7 78:21         14:15                 189:11 190:15         27:25 33:15,16,19
      85:21,25 108:1      set 57:22 87:5          233:13                33:22 35:14 36:6
      112:12 121:23         193:17 237:11,12    showed 15:11            41:23 54:17 61:8
      160:18,22,25          246:14                214:2                 67:14,14 141:20
      177:19 179:17,18    setting 195:17        showing 48:12         size 67:7 120:23
      179:25 192:11,16    seven 33:15,16,19       163:8               skips 187:24
      194:21 200:13         35:14 67:14         shown 247:16          slight 170:23
      201:9               severe 244:9          shows 200:10          slightly 111:4
    sentence 93:10        shaker 78:16          shut 77:6,10 79:10      218:1
      108:13 113:24       shannon 135:1,9       shutting 192:19       slower 159:5,19
      125:9 140:24          140:13              side 86:8 91:7        small 88:10
      148:11 180:5        shannon's 135:14        119:2,2 180:22      smart 18:22
    separate 142:8        share 31:21 60:13       205:14              smith 53:1
    sergeant 8:10,13      sharp 86:7 161:3      sign 130:4 147:14     sniff 121:3
      9:5 10:8 18:19        162:14,16,19          219:2               snort 161:20
      30:9,10,13,16,20    shattering 15:5       signature 147:11      sold 170:13 181:12
      30:22 31:5 35:21    sheet 247:13 249:7      147:15,19,21          216:25 217:2,2
      36:4 37:7 40:17       249:10,18 250:1       148:2,9,22 246:17     242:9,19 244:16
      41:21 64:10 65:15   shelly 213:21           247:14              solely 33:7
      68:10 80:3 82:7     shift 30:2 163:13     signed 147:16         solutions 3:12
      85:13 94:2 99:8       163:16,20             248:13 249:18         247:1 250:1
      99:18,23 101:4      shipments 177:7       signing 247:19        somebody 22:19
      102:5 107:16        shipped 175:4,13      signs 240:22            49:7 62:6 63:13
      112:2 113:12          176:3,6,18,21,25    similar 212:2           71:7 218:4,17
      116:5 119:13          177:11              simply 78:25          someone's 56:20
      123:18 127:6        shirt 30:16,19          101:24                56:21 217:1
      131:3 133:4,19      shoe 227:8            sincerely 247:21      somewhat 40:17
      134:16 137:4,25     shoes 227:8           single 19:20 59:1     soon 156:6 208:16
      142:22 146:19                               74:12 92:16           208:19

                                   Veritext Legal Solutions
    www.veritext.com                                                         888-391-3376
Case: 1:17-md-02804-DAP Doc #: 1974-9 Filed: 07/24/19 100 of 108. PageID #: 211404


   [sooner - subsequently]                                                        Page 36

    sooner 123:21           149:21 189:4,6,19   started 24:15          steps 166:2,12,18
    sorry 9:24 31:5         201:12 203:22         35:24 49:13,19       stick 91:6
      43:13,15 80:16        214:13 216:20         50:1,4 51:10,21      sticking 130:5
      81:10 87:14 89:13     217:11,14 227:18      52:7,8,23 53:11,22   stolen 145:13
      125:21 131:15       specifics 20:1          54:10,10,13 55:14      222:19
      139:6 148:4           143:7                 55:17 56:2,7 63:8    stop 49:20 241:22
      159:25 206:14       spell 35:22             64:12,13,15 67:16    stopgaps 185:22
      207:18 226:15       spend 33:17 51:1        68:14 69:6,13        stopped 55:6
      238:4 245:8           120:16                71:20 73:5 114:24    stores 226:25
    sort 14:24 203:9      spending 112:24         118:4,5 123:15,20      242:21
      221:3 224:2         spent 12:24             145:25 163:2         straight 28:8
      237:17              spike 86:16             164:2,4,5 201:25     strategy 36:18
    sound 199:23          spinning 50:23          202:2 211:1            37:17
    source 72:8,9         splashed 68:13,13       235:23               straw 187:2
      222:11,14           spoke 38:12 39:8      starting 54:4          street 4:8 15:23
    south 17:14           sponsored 20:6        starts 62:6 63:13        19:17 29:19 47:16
    space 31:22             157:4,6,7             66:8 110:8 125:24      102:17 174:21
    speak 38:16 126:6     spray 222:3             163:8                  216:4
      126:12 140:20       spreadsheet 15:10     stat 182:24 197:7      streets 69:13
      169:18              spreadsheets          state 9:19 50:25         115:20
    speaking 229:3          14:23                 157:8 191:21         stressed 241:3
    spec 228:20           spring 114:3            232:1,21 233:18      strictly 137:10
    special 17:21         spurt 242:25,25         233:20 248:10        strike 16:1 51:9
      127:14 167:1        spurts 242:24           249:15                 80:11 102:11
    specialist 218:11     squad 32:1 33:14      statement 8:14           108:19 112:17
    specialized 18:15     squares 96:1            235:18 248:13,14       129:2 137:1 168:6
      19:1,3,16 21:22     stand 191:20            249:19,19              229:18 238:5
      174:22                207:3               states 1:1 231:14      stroke 40:8
    specializing          standard 184:25         244:13               stuff 18:13,13 74:5
      174:23                185:3,3             stations 242:20          149:18 160:1
    specific 105:11       stands 124:11         statistics 7:3 64:24     172:12,12,13,15
      141:23 169:14         131:23 208:5          127:12 130:11          201:22 203:12,17
      204:17 215:3,7,13     209:23 210:1          167:2 169:20           240:23
      215:16 236:6,7      start 26:12 50:3        178:9,25 197:3       subject 36:17,21
      237:7 238:15          52:4 62:11,12         232:5                  81:22,25 102:2
      239:25                66:24,25 69:7,9     stats 82:1 195:1         127:23,25 151:11
    specifically 12:9       105:9 111:8,13,19   stay 125:24 219:23       183:24 190:24
      19:8,23 47:6 55:7     133:22 150:15,18    stealing 156:7         subscribed 248:10
      88:20 90:22           161:22 176:19       steam 56:8               249:14 250:21
      103:23 134:22         212:18 237:20       step 37:25             subsequently 90:6
      140:18 143:8

                                   Veritext Legal Solutions
    www.veritext.com                                                          888-391-3376
Case: 1:17-md-02804-DAP Doc #: 1974-9 Filed: 07/24/19 101 of 108. PageID #: 211405


   [substance - telephonic]                                                        Page 37

    substance 15:6           71:24 72:19 81:3    switched 54:17          185:7,10 196:25
      70:7 172:20            82:10 84:12,15      switchover 55:1         220:3 222:23
      217:21 218:4,18        87:17 90:10 91:2    sworn 8:5 246:5         226:3
      225:16,21 242:13       101:1 102:8 103:5     248:10,13 249:14    talked 63:6 79:12
    substances 151:19        111:24 116:10         249:18 250:21         208:2 219:20
    substandard              119:8 134:21,23     symbols 96:5            222:22 225:15,19
      118:24                 134:23 141:8        synthetic 46:11         225:20 232:12
    substantial 14:20        142:6 143:13          91:24                 234:1,6
      177:5                  144:20 145:18       syringe 130:5         talking 21:14 52:5
    substantive              149:16 151:20         186:25 187:1          60:23 61:3 74:14
      172:17                 153:21 155:2        system 114:6            82:3 93:12 103:17
    subtype 209:25           157:6 158:18          132:23 151:13         138:15 139:19
    successful 77:3          160:6,22 166:18       188:23              talks 44:9 109:17
    sudden 111:19            169:6,9 175:19      systems 186:2         tampering 191:16
    sued 214:16,17,21        176:23,24 177:8               t           tar 84:5,7
      214:25                 181:2 183:5                               target 101:19,22
                                                 t 5:1,1 124:8 227:5
    suggest 168:7            190:12 191:24                               102:12,21,22
                                                   246:1,1
    suggests 136:24          196:6,13 198:13                             104:23 105:5,10
                                                 tablet 60:3,4
    suite 247:2              199:13 203:10                               105:20,24 106:7
                                                   224:12
    summary 7:15             209:4,7 210:2,5                             109:20 222:23
                                                 tactical 44:13,25
      205:13                 220:21 223:13                               223:2,6,6,10
                                                   112:9,18
    summit 1:12              227:8 228:7 232:9                         targeting 108:15
                                                 take 12:1 19:25
    super 241:3              232:14,16 234:11                            109:4
                                                   20:2 31:8 42:2
    superior 247:1           234:12,13 236:3                           targets 101:25,25
                                                   61:17 63:20 65:9
    supervise 35:9         surgeries 64:17                               102:10,13 103:4,6
                                                   68:7 79:20 83:16
      143:10,12              229:11                                      103:6,19 107:2
                                                   95:19 100:4
    supervisor 28:2        surgery 49:18                                 234:7
                                                   109:19 111:14,18
      31:10 35:8 40:15       53:12 229:12                              task 16:23 34:4,17
                                                   114:11 122:21
      58:25 70:19          surprisingly                                  34:22 45:18,20
                                                   137:10 142:17
      184:16,19 185:2        135:23                                      105:12 124:12,15
                                                   152:7 160:8 166:3
      185:23               suspect 132:1,3                               124:17 220:6,10
                                                   166:13 211:17
    supply 14:10           suspected 107:6                               220:15 233:23
                                                   213:22 235:15,25
    support 7:3 167:2        184:23 186:15                               234:10,13,20
                                                   236:14 242:6
    supposed 30:5          suspects 66:12                              teaching 17:21
                                                 taken 10:18 11:3,3
      59:6,8 143:14          99:16 102:13                              team 113:20
                                                   14:2 20:9 22:1
      153:15 208:14          104:4                                     technically 40:19
                                                   65:12 106:19
      241:6                suspicious 170:20                             218:19
                                                   142:20 213:23
    sure 15:2,16 18:22       170:24,25 174:4                           teleconference
                                                 takes 32:24 166:19
      30:4,5 35:10,11,12   swallowed 236:2                               3:13
                                                   236:25
      38:25 41:7 57:7      swear 226:8                                 telephonic 13:13
                                                 talk 74:11 113:2
      58:17 59:4 63:4
                                                   140:2 160:23
                                    Veritext Legal Solutions
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Case: 1:17-md-02804-DAP Doc #: 1974-9 Filed: 07/24/19 102 of 108. PageID #: 211406


   [tell - titled]                                                                 Page 38

    tell 10:12 15:24      testimony 10:15          62:19 67:2 75:22    tie 216:19 217:9
      20:18,22 21:3         13:16,23 14:17         77:3 78:15 79:8     time 16:24 23:12
      49:12 60:3,5 63:5     217:8,17 246:8         87:19 89:17 96:2       23:23 24:5 25:1
      74:1 87:16 89:4       248:6,7 249:6,9,12     96:6 99:2,21           28:23 32:25 33:17
      90:1 91:16 95:25    teva 3:17 9:13           105:23 106:2           39:4,7,8 42:2
      102:8 103:22          219:13,19 227:4        110:7 115:1,11,12      46:23 49:7 50:23
      104:5 118:7,12      text 140:24              117:19,25 124:25       56:4,8 60:22,25
      119:2 120:19,20     thank 10:5 42:22         134:12 136:22          64:7 67:22 68:3,4
      129:12 143:20         65:11 100:6 117:3      137:11,11 138:15       68:5,6,21 69:17,19
      158:12,13 159:20      119:18 142:19          140:21 148:25          69:24 70:15 71:6
      161:10 168:18,20      148:4 152:12           152:24 157:7,14        74:19 89:10 90:4
      176:13 181:18         219:10 220:12          160:4,5,5 161:2        92:17 95:22
      186:20 189:12       that'd 137:18            162:5,15 164:1,1       102:11,21 119:23
      194:3 201:6 206:4   theft 77:23 83:11        171:19 176:1           120:16 121:6
      217:1 218:8,8,21      212:21                 177:24 178:14          123:18 126:2,20
      226:11              theory 73:9              182:8 184:20           139:11 143:13
    telling 193:23          115:21 136:8           193:1 198:17           147:8 152:10,11
    tells 103:22 143:15   therapists 218:15        208:6 221:13,14        154:5,8 155:3
      143:15 193:14       therefrom 131:18         225:12,12 232:21       160:21 163:17,19
    ten 13:1 60:20        thing 31:14 49:22      thinking 38:4            171:25 177:9
      88:3,6,22 89:24       55:12 65:1 74:10       53:22 117:17           188:15 189:10,15
      163:18 211:17         77:21 78:6 83:10       146:10 211:19          197:8 200:2,6,6
    term 21:5 48:22         136:10 137:8         third 27:25 28:16        201:22 209:13
      76:13                 144:22 147:14          29:23 30:2 31:5,7      210:23 219:11
    terminals 120:17        153:16 174:22          58:21 92:4 108:13      226:19 230:3
    terms 18:1 29:20        180:17 183:7           113:24 207:22          234:21 236:17
      48:5 59:14 68:1       218:6 224:10         thirty 3:19 247:18       238:13 242:1
      98:14 133:15        things 18:10 20:24     thought 38:11            243:10
      141:21 143:12         21:3 33:25 57:24       136:23 172:4        timeline 67:25
      159:19 176:17         75:4 92:15 103:22    thoughts 134:4        times 4:4 12:21,22
      182:5                 110:8 111:19         three 9:8 12:20,22       38:20 43:22 56:20
    terrible 238:16         129:6 130:1 154:4      31:12,15 55:20         106:15 144:10
    terribly 181:18         154:15 159:11          58:10 66:18 67:7       164:18 188:25
    tested 60:7 118:11      163:17,24 186:3        67:9,20 70:13          203:17 204:20
    testified 8:6 11:8      189:25 201:18          98:18,24 103:8         205:21 218:7
      11:12 72:20 99:24     202:23 219:21          104:20 119:15          222:5
      111:7 115:1           224:13,15 225:6        159:15 161:18       timing 68:2
      136:22 162:24         234:3 242:24           212:20 242:1,5      title 29:24 30:8
      164:18 201:15       think 23:15 24:14      throwing 195:14       titled 45:13 166:24
      209:15 210:13         39:6 40:1 48:8       thrown 69:5              167:1 205:12
      221:3                 54:4 55:14 62:18                              211:21

                                    Veritext Legal Solutions
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Case: 1:17-md-02804-DAP Doc #: 1974-9 Filed: 07/24/19 103 of 108. PageID #: 211407


   [today - understand]                                                            Page 39

    today 8:21 10:15        204:21,23            treatment 161:11        153:7 161:19
      12:7 13:16 14:17    tracked 190:8            217:20 240:7,14       172:13 188:5
      15:7 16:18 27:15    tracker 7:18             241:13,19 242:9       209:11
      27:16 30:13 31:17     211:22               tremendous 56:19      twofold 117:19
      164:18 198:23       tracking 95:22         trend 54:3 118:8      type 62:16 91:8
      214:1 217:17          158:11 176:2         trends 68:12 74:5       133:15 167:7,11
      221:4 222:5,22,25     178:24 182:12          113:2,24 125:10       172:24 199:24
      226:12,16,19          193:10,16 197:13       126:17 141:21         201:25 205:16,23
      232:5,12 245:2      tracks 76:3 158:13       170:5                 209:21 212:19
    told 13:17,20           158:18 177:12,17     trial 11:8              221:15,16 242:20
      38:19 62:2 103:23     190:8                triangles 96:1        types 25:12 63:2
      161:16 196:17       traffickers 125:12     true 28:9 215:22        66:11,22 78:12
      226:2                 125:17                 218:16,18 246:7       94:9 132:10
    toledo 17:14          trafficking 81:15      trumbull 233:12         133:15 153:19
    tomba 80:20             85:4 150:21          trusted 117:21          154:11 171:8
    tommy 123:14          trained 149:8          truthful 10:15          211:2
    tool 79:18              189:4,7                128:16              typical 88:9 89:1
    top 36:9 37:11,12     training 17:23         try 39:18 40:9,9      typically 125:19
      95:11 96:18,19        18:4,16 19:2,3,5,8     41:7 43:8,15                  u
      108:11 116:16         19:10,11,11,16,19      145:7 164:7
                                                                       u.s. 231:17
      148:3 183:22          19:19,20 21:23         197:16,21,22
                                                                       uh 15:9 16:10
      191:6 192:16          22:13 23:3 148:14      202:15 216:6
                                                                         25:14 28:22 30:18
      205:13                149:2,18 157:1,4       219:5,23 220:3
                                                                         37:5,10,16 38:14
    topics 219:24           157:12 217:19          224:14 242:7
                                                                         42:15,19 43:3
    total 12:23 70:24     trainings 19:22        trying 21:1 28:5
                                                                         60:21 80:15 81:9
      141:22                22:1,3,5               37:22 65:4,4 97:9
                                                                         148:16 164:22,25
    totally 83:9 118:2    transcribed 248:7        141:19 162:13
                                                                         180:12 186:8
    touch 86:23           transcript 7:25          196:12
                                                                         191:10,19 195:20
    touched 142:23          247:11,12 248:5      turn 55:21 164:23
                                                                         195:25 202:8
      161:6 170:22          248:12 249:5,11        241:4
                                                                       ultimate 56:23
    town 141:19             249:17               turning 93:10
                                                                       unaware 94:17
    toxicology 188:22     transcripts 14:1       tv 74:2 224:7,8
                                                                         99:4 215:19
    track 12:25 38:22     transferred 27:10      two 9:7 10:21
                                                                       uncommon 145:14
      40:10 75:3 122:18     209:19 223:17          12:17 25:22 33:25
                                                                         168:5 197:13
      122:22 141:14,19    travel 6:18              34:5 41:12 62:23
                                                                         233:11 238:16,17
      151:20 154:16       traveling 147:14         68:22 70:12,14
                                                                       undercover 50:13
      158:7,17,21         treading 193:6           85:20 87:17 98:18
                                                                         65:19 78:13 238:2
      162:10 180:9        treat 217:22             98:23 99:10
                                                                         238:6,19,24
      189:21,25 190:1     treated 93:15            102:25 103:8,19
                                                                       understand 8:25
      190:11 193:17       treating 157:10          104:4,19,20 107:1
                                                                         9:4 11:17,23 12:4
      196:4 203:9 204:5                            116:7 150:6,7
                                                                         46:6,15,18 47:7,11
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Case: 1:17-md-02804-DAP Doc #: 1974-9 Filed: 07/24/19 104 of 108. PageID #: 211408


   [understand - want]                                                            Page 40

     47:14,19 48:1          211:21 220:7,9,14   users 20:18 235:10    violence 146:8,13
     55:25 58:4 71:1        223:18,18 241:1     uses 12:13 38:21      violent 29:17,19
     84:14 101:23           243:13,14             63:1,13 143:22        159:16
     151:5 216:8,12       unit's 220:10           170:17 189:20       virginia 147:6
     217:8 220:1          united 1:1 231:14     usually 26:3 35:5     virtually 79:21
    understanding           244:13                71:17 129:23          86:22 136:12
     21:9 46:3,5 49:2,6   units 169:19,23         185:16 188:3          231:1
     73:12 83:22          university 17:6,7       198:24 208:17       visits 76:22
     130:21 134:1           23:11                 237:22              vs 1:10
     136:6 143:5 144:5    unknown 175:24                  v           vsdl 191:17,20
     168:15 170:23        unlawful 41:9                                 192:2,18
                                                v 1:8,12 35:23
     206:21 209:9           56:14 57:1                                vsdls 192:10
                                                  227:5
     214:9 231:18         unprecedented                                        w
                                                vaguely 37:19
    understood 11:22        141:1,5
                                                  184:7               w 190:25
     81:19 105:14         unrelenting 141:1
                                                valid 56:18           wait 155:24 156:4
     155:17                 141:6
                                                various 177:1         waiting 123:19
    unfortunately         unsure 102:6
                                                  234:3                 161:23
     64:14 186:22         untruthful 21:1
                                                verbally 193:20       waived 247:19
     245:5                update 5:20
                                                verify 196:12         wal 9:17 213:24
    unit 7:2,17 26:6,10     183:25 190:25
                                                veritext 247:1,7        214:16,17 215:3
     26:13,21 27:8,15     updated 105:24
                                                  250:1                 226:25
     27:16,21,22,23,24    updates 158:3
                                                veritext.com.         walgreens 83:2
     28:2,4,10,14,20,24     195:3
                                                  247:17                214:22 215:12,23
     28:25 29:2,2,4       upper 62:22 216:7
                                                versed 143:3          walk 13:4
     30:17,21,23,25       upset 183:13
                                                versus 46:12 52:13    walked 45:8
     31:1,4,10,13,15,16   uptick 86:7
                                                  109:13 118:3,16     walks 111:17
     31:21,21 32:9,14     usage 39:15 158:4
                                                  120:12 168:9        walmart 3:6
     33:3,5,9,19 40:16      158:7,17,21
                                                  209:1               want 20:25,25
     40:21,22,25 41:11    use 18:16,17 21:20
                                                vice 7:2 26:6 167:3     34:12 36:16 38:23
     41:15 54:14 58:7       39:23 48:5,9,22
                                                  167:12,15,15          40:10 57:23 69:4
     59:1 61:1 103:7        56:14,14 70:15
                                                  168:18 169:19,23      69:12 82:6,10
     120:7,14 123:11        94:18 134:10
                                                  170:1 243:13          85:2,21 100:17
     123:21 124:1           152:1 156:10
                                                vicodin 47:12 73:3      102:17 128:14,15
     125:11,16 126:22       157:25 165:20
                                                  126:23 229:22         142:14 155:24,25
     128:13 146:11,12       185:4 187:1 189:9
                                                victim 63:23,24         156:1 178:19
     154:2 156:19           202:11,15 203:9
                                                  164:11                180:4 181:10,11
     158:23 159:12          203:25 218:25
                                                victims 15:20           181:14 190:15
     167:3,15,15            219:1 235:20
                                                view 145:20 152:3       196:20 202:17,24
     168:18 170:1         useful 79:17
                                                viewer 205:15           202:24 203:1,2,6
     172:5 174:10           177:24
                                                violation 191:21        216:6 222:23
     177:24 210:7
                                                                        227:2 234:5
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Case: 1:17-md-02804-DAP Doc #: 1974-9 Filed: 07/24/19 105 of 108. PageID #: 211409


   [want - yeah]                                                                Page 41

     241:20,21,22        weapons 18:14         witness 18:20 22:7   word 140:21 189:9
    wanted 27:5           29:22 146:7           23:8 32:17 46:22    words 193:24
     109:19 245:12       wear 87:2 93:16        47:23 53:2 56:10    work 10:9 17:25
    ward 40:17           wearing 30:15          57:7,20 58:14         18:3 33:6 56:13
    wards 180:18         web 81:15 85:4         61:15,19 63:17        83:7,14 171:21
    warning 231:9        wednesday 86:6         64:11 65:11 68:11     172:3 194:22
    warrant 121:5        week 141:15,15         72:4,16 73:8,14       220:15 224:9
    warrants 69:15        176:25 202:5,6        76:9 81:25 83:20      226:11 236:23
    washington 3:15      weekly 158:3           85:7 87:8 88:13     worked 23:24,25
    waste 241:25         weeks 35:25 60:7       95:4 97:6 98:8        28:25 30:2 146:15
    watch 74:3 161:21     223:23                99:16 102:6 105:8     172:9 173:2 226:5
     224:7,9             weight 176:22          110:5 122:15          233:19
    water 193:6          wellness 43:1          123:5,24 126:11     working 23:13
    watson 228:3         went 23:16 27:14       128:22 137:5,7,18     24:10 77:23
    wavelength 11:20      27:25 28:15 31:11     137:21 140:16         120:13
    way 23:24 29:10       31:16 37:13,21        142:19 149:16       works 76:4 121:16
     38:19 41:9 43:10     49:18 53:20 55:12     152:16 153:21         143:19 144:13
     43:16 60:18 61:4     66:4 68:24 69:3       158:10 159:8        worlds 62:24
     69:3 91:21 117:23    120:12,13 123:17      162:18 163:6          172:14
     118:13 120:24        131:17 136:23,25      164:16 165:10       worse 54:12
     121:24 126:8         155:14,20 156:17      166:6,10 167:14     wrapper 189:2
     128:14 129:12,19     165:15 169:14,14      168:12 169:6,25     write 50:7 51:5
     137:2 145:20         172:5 196:21,22       170:15 174:9,18       112:16,22 160:23
     147:18 151:20        202:1 238:19          175:8,22 178:11       232:1
     155:10 162:10       wesley 4:18            181:10 182:8,17     writing 112:19
     185:20 190:1        west 68:23 180:22      186:19 189:24       written 231:25
     193:17 195:15       western 17:12          192:22 196:6          238:4,8
     208:23 211:7,10      244:13                197:16 200:16       wrong 60:15 97:7
     216:9 222:16,18     what'd 97:7            201:3 207:15          151:23 157:8
     233:8 246:12        whereof 246:14         210:5,20 211:9      wrote 162:13
    ways 84:16 143:1     white 118:15,17        212:13 213:2,14       180:6
     143:6 144:3,4        187:2,4               216:23 220:5                  y
    we've 9:22 53:25     whitney 146:1          230:8 231:11
                                                                    yeah 35:24 36:22
     54:1 79:12 86:6     wife 13:17             235:2 238:11
                                                                      39:7 40:18 60:16
     92:12 100:22        winning 163:23         239:13 243:6
                                                                      92:15 96:2 136:7
     114:20 153:8        wires 34:24            245:7 246:8,14
                                                                      139:4 140:16
     158:22 159:1         220:16                247:8,11 248:1,4
                                                                      153:5 155:20
     177:7 219:20        wise 49:24 54:19       248:11 249:1,4,15
                                                                      158:12 161:2
     221:3 229:24         59:3 159:21          witness’ 247:14
                                                                      163:22,23 170:22
     232:11 234:1,4      wish 123:1 163:18     woman 139:9
                                                                      171:2 181:1,2,4,17
                          168:21
                                                                      183:13 184:8
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Case: 1:17-md-02804-DAP Doc #: 1974-9 Filed: 07/24/19 106 of 108. PageID #: 211410


   [yeah - zones]                                                           Page 42

      202:1 209:17,17     zones 25:10
      236:5 241:24
    year 17:17 25:22
      28:1,3 31:8 54:5
      74:18 115:2,3
      118:6 130:12,16
      133:11,23 136:24
      159:3,15 168:2,19
      169:2,8 172:6
      192:13 193:3,12
      195:16
    years 10:23,24
      19:4 20:3,22
      24:25 25:22 27:13
      28:16 31:15 46:1
      54:17 61:3,8
      67:14 69:5 71:25
      78:18 89:19
      128:13 146:10
      159:15 162:23,24
      163:18 171:24
      172:4 173:2
      174:19 185:19
      230:23 233:3
      239:3,3
    yep 17:10 37:4
      191:2
    yesterday 8:16
      14:19 37:8 81:13
    yo 228:10
    york 4:4,5,5
              z
    zarzaur 3:3
    zarzaur.com 3:5
    zashin 2:5
    zero 180:7
    zimmerman 247:5
    zimmermann 3:2
    zip 201:6
    zone 25:6,11,11
      205:21
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Case: 1:17-md-02804-DAP Doc #: 1974-9 Filed: 07/24/19 107 of 108. PageID #: 211411



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Case: 1:17-md-02804-DAP Doc #: 1974-9 Filed: 07/24/19 108 of 108. PageID #: 211412

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